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            1                    UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
            2           BEFORE THE HONORABLE MIRANDA DU, DISTRICT JUDGE
                                           ---o0o---
            3

            4    AMARIN PHARMA, INC., and          :
                 AMARIN PHARMACEUTICALS            :
            5    IRELAND LIMITED,                  :
                                                   :   No.   2:16-cv-02525-MMD-NJK
            6                    Plaintiffs,       :
                                                   :   January    27, 2020
            7             -vs-                     :
                                                   :   Reno, Nevada
            8    HIKMA PHARMACEUTICALS USA         :
                 INC., et al.,                     :   Volume 6
            9                                      :
                                 Defendants.       :
           10                                      :

           11

           12                        TRANSCRIPT OF BENCH TRIAL

           13   APPEARANCES:

           14   FOR THE PLAINTIFFS:            MEAGAN P. KEANE, CHRISTOPHER N.
                                               SIPES, MICHAEL KENNEDY, JEFFREY
           15                                  ELIKAN, JOSEPH KENNEDY, ELAINA M.
                                               WHITT, BARBARA KURYS, HAN PARK,
           16                                  DANIEL J. FARNOLY and ERIC R.
                                               SONNENSCHEIN
           17                                  Attorneys at Law,
                                               Washington, D.C.
           18

08:37:23   19   FOR DEFENDANT HIKMA:           CHARLES B. KLEIN and
                                               CLAIRE A. FUNDAKOWSKI,
           20                                  Attorneys at Law
                                               Washington, D.C.
           21

           22   Reported by:                   Kathyrn M. French, CCR #392, RPR
                                               Official Reporter
           23                                  US District Court
                                               Reno, Nevada
           24

           25   (Appearances continue on next page.)
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            1   APPEARANCES CONTINUED:

            2

            3   FOR DEFENDANT HIKMA:         ALISON M. HEYDORN
                                             Attorney at Law
            4                                Chicago, Illinois

            5                                EIMERIC REIG-PLESSIS
                                             Attorney at Law
            6                                San Francisco, California

            7                                W. WEST ALLEN
                                             Attorney at Law
            8                                Las Vegas, Nevada

            9

08:37:38   10   FOR DEFENDANT DR.            CONSTANCE S. HUTTNER and
                REDDY'S LABORATORIES:        JAMES BARABAS
           11                                Attorneys at Law
                                             Madison, New Jersey
           12
                                             MICHAEL D. ROUNDS
           13                                Attorney at Law
                                             Reno, Nevada
           14

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08:06:14    1            RENO, NEVADA, MONDAY, JANUARY 27, 2020, 8:30 A.M.

08:06:23    2                                      --o0o--

08:06:27    3

08:30:01    4                       THE COURT:    Good morning, please be seated.

08:30:10    5                       Good morning, counsel.     You ready to proceed

08:30:19    6   with plaintiffs' next witness?

08:30:20    7                       MR. ELIKAN:    Yes, Your Honor.   This is Jeffrey

08:30:23    8   Elikan on behalf of Amarin, and we call Dr. Peter Toth.
08:30:23
08:30:23    9                         PETER PAUL TOTH, M.D.,
08:30:23                 called as a witness on behalf of the Plaintiffs,
08:30:44   10                   was sworn and testified as follows:

08:30:44   11                       THE CLERK:    Please be seated.

08:30:45   12                       Please state your full name and spell your last

08:30:49   13   name.

08:30:55   14                       THE WITNESS:   My full name is Peter Paul Toth,

08:31:03   15   T-o-t-h.

08:31:05   16                       THE CLERK:    Thank you.

08:31:34   17                       MR. ELIKAN:    May I proceed, Your Honor?

08:31:35   18                       THE COURT:    Yes.

08:31:35   19                               DIRECT EXAMINATION

08:31:35   20   BY MR. ELIKAN:

08:31:39   21    Q      Good morning.    Could you state your name for the record.

08:31:41   22    A      Peter Paul Toth.

08:31:43   23    Q      Are you currently employed?

08:31:44   24    A      Yes, sir.

08:31:45   25    Q      And where are you employed?
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08:31:46    1    A   At the Community General Hospital Medical Center in

08:31:51    2   Sterling, Illinois.

08:31:52    3    Q   Can you tell us a little bit about the hospital.

08:31:54    4    A   Sure.   It's a 160-bed hospital.      It's in Sterling,

08:31:59    5   Illinois, which is in northwestern Illinois, and it also has a

08:32:05    6   variety of satellite clinics to serve different communities.

08:32:09    7    Q   What's your current position there at CGH?

08:32:14    8    A   I'm the Director of Preventive Cardiology.        I'm also on

08:32:17    9   staff as a primary care physician.

08:32:20   10    Q   And how long have you held the position of Director of

08:32:23   11   Preventive Cardiology at CGH?

08:32:27   12    A   Approximately ten years.

08:32:29   13    Q   What are you duties and responsibilities in that role?

08:32:32   14    A   Well, my role is to make sure that the care of patients

08:32:36   15   who have risk factors for cardiovascular disease is kept

08:32:41   16   up-to-date, and so I provide physicians periodic updates on

08:32:47   17   guidelines and I'm also a resources for other people to reach

08:32:50   18   out to.

08:32:51   19    Q   Do you also see patients?

08:32:53   20    A   Yes, counsel.

08:32:53   21    Q   And on average, how many patients do you see per month?

08:32:57   22    A   I see between 4 and 500 and last year in the year 2019, I

08:33:03   23   managed 500 -- excuse me, 5,143 patient visits.

08:33:09   24    Q   And for how long have you treated patients?

08:33:12   25    A   I'm in my 24th year of practice.
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08:33:18    1    Q      And you've been seeing patients continuously during that

08:33:21    2   time?

08:33:21    3    A      Yes, counsel.

08:33:22    4    Q      How did you become involved in the field of preventive

08:33:26    5   cardiology?

08:33:26    6    A      Well, it was an area that drew me very strongly.      It's an

08:33:31    7   area where you can make a big difference in terms of patient

08:33:36    8   outcomes, in terms of helping to maintain quality of life and

08:33:42    9   preventing cardiovascular morbidity and mortality, and it's

08:33:48   10   something I feel very passionate about.

08:33:49   11    Q      And what percentage of the patients that you see present

08:33:53   12   with cardiovascular issues?

08:33:56   13    A      Seventy-five to 80 percent.

08:33:57   14    Q      Now, this case involves hypertriglyceridemia or -- and

08:34:03   15   specifically severe hypertriglyceridemia.       Do you treat

08:34:06   16   patients with hypertriglyceridemia?

08:34:08   17    A      Yes, counsel.

08:34:09   18    Q      And do you treat patients with severe

08:34:12   19   hypertriglyceridemia?

08:34:12   20    A      I do.

08:34:13   21    Q      And for how long have you treated patients with those

08:34:19   22   conditions?

08:34:19   23    A      Since I've been in practice.

08:34:21   24    Q      Can you estimate, over the course of your career, how

08:34:28   25   many patients you've treated with severe hypertriglyceridemia?
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08:34:33    1    A   It would be in the hundreds.

08:34:37    2    Q   I want to talk more about your qualifications now.

08:34:40    3               Can you please --

08:34:42    4                    MR. ELIKAN:    Can we please turn to PX 1172.    And

08:34:45    5   Dr. Toth it's in your binder I'll be showing you things on the

08:34:50    6   screen as well.

08:34:51    7                    THE WITNESS:   Thank you.

08:34:51    8   BY MR. ELIKAN:

08:34:51    9    Q   Do you recognize this document?

08:34:52   10    A   Yes, sir, it's my curriculum vitae.

08:34:56   11    Q   Does it accurately set forth your education, training,

08:34:59   12   and experience?

08:35:00   13    A   Yes.

08:35:02   14                    MR. ELIKAN:    Your Honor, we move for admission

08:35:05   15   PX 1172.

08:35:06   16                    MR. KLEIN:    No objection.

08:35:06   17                    THE COURT:    PX 1172 is admitted.

08:35:06   18                           (Plaintiffs' Exhibit 1172 received in
08:35:06                                 evidence.)
08:35:12   19   BY MR. ELIKAN:

08:35:12   20    Q   In addition to your CV have you had the opportunity to

08:35:15   21   assist in preparing the slides that illustrate aspects of your

08:35:15   22   professional background as well as other testimony you'll be

08:35:23   23   offering today?

08:35:23   24    A   Yes, counsel.

08:35:24   25    Q   In addition to your position at CGH medical center do you
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08:35:30    1   hold any positions in medical schools?

08:35:32    2    A   Yes.

08:35:33    3                    MR. ELIKAN:   Can we have PDX 6-2, Mr. Brooks.

08:35:39    4   BY MR. ELIKAN:

08:35:39    5    Q   What are those positions?

08:35:40    6    A   I am a professor of clinical family and community

08:35:44    7   medicine in the department of family and community medicine at

08:35:48    8   the University Illinois School of Medicine in Peoria,

08:35:52    9   Illinois.

08:35:52   10               I am also a professor of clinical medicine in the

08:35:52   11   Department of Medicine, Division of Cardiology Michigan State

08:35:58   12   University, College of Osteopathic Medicine, in East Lansing,

08:36:00   13   Michigan.

08:36:01   14               And I'm also an adjunct associate professor of

08:36:05   15   Medicine in the Department of Medicine, Division of Cardiology

08:36:10   16   at the Ciccarone, and I'll spell that for the court reporter,

08:36:15   17   C-i-c-c-a-r-o-n-e, Center for the Prevention of Cardiovascular

08:36:17   18   Disease at the Johns Hopkins University School of Medicine in

08:36:22   19   Baltimore, Maryland.

08:36:23   20    Q   Can you briefly describe your role or your position as a

08:36:28   21   professor of clinical family and community medicine at

08:36:33   22   Michigan State.

08:36:34   23    A   At Michigan State University --

08:36:36   24    Q   I'm sorry at the University of Illinois School of

08:36:39   25   Medicine.
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08:36:40    1    A   Sure.    It is my role to teach medical students.       Medical

08:36:45    2   students come to my clinic and shadow me and I instruct them

08:36:48    3   about how primary care medicine works.       They are also

08:36:52    4   introduced not preventive cardiology.       And so medical students

08:36:59    5   shadow me, meaning they're with me for weeks at a time.

08:37:02    6    Q   And at Michigan State, what do you do there?

08:37:05    7    A   Yes.     I participate in continuing medical education, and

08:37:11    8   I have also been asked to co develop a new textbook on

08:37:16    9   cardiovascular pathophysiology with the division chief of

08:37:21   10   cardiology.

08:37:22   11    Q   And can you briefly describe your position at Johns

08:37:28   12   Hopkins.

08:37:28   13    A   Yes.     It's a collaborative position where we engage in a

08:37:33   14   great deal of research and part of my role in addition to

08:37:37   15   performing research is to also mentor medical students and

08:37:42   16   cardiology fellows in being able to synthesize data, prepare

08:37:46   17   manuscripts, submit them to journals, attend conferences and I

08:37:51   18   mentor them in performing that type of research, clinical

08:37:55   19   research.

08:37:55   20    Q   And are your roles at Hopkins and at Michigan State

08:38:06   21   focused on cardiovascular prevention issues?

08:38:06   22    A   Yes.

08:38:06   23    Q   I want to talk a little bit with your involvement in

08:38:12   24   professional organizations now.      Have you held leadership

08:38:14   25   positions in any professional organizations?
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08:38:19    1    A   Yes, counsel.

08:38:19    2    Q   I want to look at page 1 of your CV.       At number four.

08:38:20    3              It states that you're president elect American

08:38:25    4   Society of Preventive Cardiology 2018 to 2020.

08:38:30    5              What is the American Society of Preventive

08:38:33    6   Cardiology?

08:38:33    7    A   The American Society of Preventive Cardiology is an

08:38:38    8   association of healthcare professionals who are committed to

08:38:42    9   preventive cardiology.

08:38:43   10    Q   About how many members are there?

08:38:46   11    A   I believe about 2000.

08:38:49   12    Q   And moving -- an item down I see that you're listed as

08:38:54   13   past president National Lipid Association, 2013, 2014.            What

08:39:00   14   is the National Lipid Association?

08:39:02   15    A   The National Lipid Association is an association of

08:39:09   16   healthcare professionals who are committed to the treatment of

08:39:11   17   dyslipidemia.

08:39:14   18    Q   Then looking at item 7, past president American Board of

08:39:18   19   Clinical Lipidology, what is the American Board of Clinical

08:39:27   20   Lipidology?

08:39:28   21    A   The American Board of Clinical Lipidology is a body that

08:39:33   22   provides certification in the practice of the clinical

08:39:37   23   lipidology.

08:39:38   24              So its role is to foster a program that is

08:39:41   25   comprehensive in scope in terms of continuing medical
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08:39:44    1   education, but also a formal 200 questions exam that

08:39:50    2   applicants must pass in order to achieve certification in

08:39:55    3   clinical lipidology.     And while I was president, it was my

08:39:59    4   role to completely redo the exam and update the criteria for

08:40:04    5   certification.

08:40:05    6    Q   And by updating the criteria for certification and

08:40:10    7   managing the process of certification, are you essentially

08:40:13    8   acting as a gatekeeper?

08:40:14    9    A   Yes.

08:40:17   10    Q   Let's talk about your editorial positions.         Have you held

08:40:21   11   editorial positions at any scientific journals?

08:40:24   12    A   Yes counsel.

08:40:25   13                    MR. ELIKAN:   Can we have PDX 6-3.

08:40:25   14   BY MR. ELIKAN:

08:40:28   15    Q   What editorial positions have you held?

08:40:31   16    A   I was I believe for three-and-a-half years,

08:40:34   17   editor-in-chief of the Journal of Applied Research and

08:40:37   18   Experimental Therapeutics.

08:40:40   19               Currently I'm editor in chief of the Contemporary

08:40:43   20   Cardiology series by the publisher Springer Verlag.         This is a

08:40:46   21   130-volume library of books that are subspecialized in

08:40:53   22   cardiology, and it is my role to not only recruit authors but

08:40:58   23   I also have to review every volume that comes in and it is my

08:41:03   24   role to further develop this into a 200-book collection.

08:41:09   25               I am also co editor-in-chief of the Archives of the
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08:41:13    1   Medical Science Atherosclerotic Diseases, and for five years I

08:41:18    2   served as an associate editor of the Year Book of

08:41:26    3   Endocrinology section on lipids, lipoproteins, atherosclerosis

08:41:34    4   and coronary artery disease.

08:41:37    5               And I'm also an associate editor for the Journal of

08:41:41    6   Clinical Lipidology.

08:41:43    7    Q   Do you have experience as a peer reviewer of scientific

08:41:48    8   journals?

08:41:48    9    A   Yes, sir.

08:41:49   10                    MR. ELIKAN:   Can we have the next slide PDX 6-4.

08:41:49   11   BY MR. ELIKAN:

08:41:52   12    Q   And can you highlight some of the journals to which

08:41:56   13   you've served as a peer reviewer.

08:41:58   14    A   Yes, Circulation, Journal of the American College of

08:42:02   15   Cardiology, Journal of Clinical Lipidology, the New England

08:42:09   16   Journal of Medicine and the Lancet.

08:42:12   17    Q   Have you been involved in the conduct and administration

08:42:16   18   of clinical trials?

08:42:17   19    A   Yes.

08:42:18   20    Q   Turning to page 7 of your CV, I want to look at the

08:42:22   21   section titled clinical investigation experience.

08:42:26   22    A   Yes.

08:42:27   23    Q   And if we look at 7 and 8 together I see you're listed as

08:42:42   24   a primary investigator in nine clinical trials is that right?

08:42:46   25    A   Yes.
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08:42:47    1    Q   And what is primary investigator.

08:42:50    2    A   Well, a primary investigator would be someone who manages

08:42:52    3   the clinical trial at the local level.

08:42:55    4               There are many centers around the world or in some

08:42:58    5   studies just in the U.S., but typically there are numerous

08:43:02    6   centers that enroll patients into the clinical trial and at

08:43:07    7   each site someone is the project leader.

08:43:10    8               And at each site the primary investigator would not

08:43:13    9   only assume responsibility for the appropriate conduct of the

08:43:18   10   trial, but also would be responsible for the care of that

08:43:21   11   patient if there was an adverse event or an adverse reaction

08:43:25   12   in response to the medication that was being studied.

08:43:28   13    Q   In general, in terms of subject matter, what did these

08:43:34   14   nine clinical trials concern?

08:43:36   15    A   They concerned management of dyslipidemia, hypertension,

08:43:41   16   diabetes.

08:43:42   17    Q   Cardiovascular disease?

08:43:44   18    A   Yes, cardiovascular risk factors.

08:43:47   19    Q   Now, item number eight that's listed here is the STRENGTH

08:43:54   20   trial?

08:43:54   21    A   Yes.

08:43:55   22    Q   What's the STRENGTH trial?

08:43:56   23    A   Well, the STRENGTH trial was a clinical trial that

08:44:00   24   evaluated the efficacy of Epanova over and above statin

08:44:07   25   therapy compared to a statin, and for the court reporter
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08:44:15    1   Epanova is E-p-a-n-o-v-a and that trial was recently

08:44:17    2   terminated.

08:44:17    3    Q     And what's the active ingredient in Epanova or

08:44:23    4   ingredients?

08:44:24    5    A     It would be a formulation of EPA and DHA.      And if I may,

08:44:29    6   counsel, with the Court's permission, instead of always saying

08:44:34    7   icosapentaenoic add and docosahexaenoic acid, would it be

08:44:40    8   permissible for me to just say EPA and DHA.

08:44:41    9                    THE COURT:    I think that's entirely permissible.

08:44:44   10   We've been using other acronyms as well.        Thank you.

08:44:46   11                    THE WITNESS:   Thank you, Your Honor.

08:44:46   12   BY MR. ELIKAN:

08:44:48   13    Q     Does it contain other omega-3 fatty acids or just EPA and

08:44:55   14   DHA?

08:44:55   15    A     Yes, it's virtually impossible to purify these down to

08:44:59   16   100 percent purity.

08:45:00   17    Q     And you said it's been terminated.      Do you have an

08:45:03   18   understanding as to why it's been terminated?

08:45:05   19                    MR. KLEIN:    Objection.   Beyond the scope of the

08:45:09   20   report, Your Honor.

08:45:10   21                    THE COURT:    Counsel?

08:45:15   22                    MR. ELIKAN:    Your Honor, it was just terminated

08:45:18   23   recently.   It's listed as a current clinical trial in his CV.

08:45:22   24   He just said it was terminated.      It seems to me it's just

08:45:26   25   recent events of the last few weeks and it just seems
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08:45:29    1   informative on background.

08:45:31    2                    MR. KLEIN:    I have no objection to him saying it

08:45:33    3   was terminated but I have no idea what answer is coming.

08:45:36    4   We've had no notice that there was going to be any discussion

08:45:38    5   as to why it was terminated.

08:45:40    6                    THE COURT:    And Mr. Elikan, I sympathize with

08:45:44    7   Mr. Klein's objection because they -- he would have no way of

08:45:47    8   verifying the answer because there's no background information

08:45:52    9   that he's aware of relating to the termination.         And I'm not

08:45:56   10   sure it's that relevant so --

08:45:58   11                    MR. ELIKAN:    I can move on, Your Honor.

08:45:59   12                    THE COURT:    All right.   The objection is

08:46:01   13   sustained.

08:46:01   14   BY MR. ELIKAN:

08:46:02   15    Q   Are you author of any publication in the field --

08:46:05   16   publications in the field of lipidology and in the field of

08:46:10   17   cardiovascular disease prevention?

08:46:14   18    A   Yes, counsel.

08:46:15   19    Q   I want to turn to page -- to the section in your CV

08:46:18   20   addressing publications.       And am I correct that that bridges

08:46:23   21   from the bottom of page 11 to page 70?

08:46:26   22    A   Yes.

08:46:27   23    Q   How many total publications do you have?

08:46:31   24    A   I have 14 textbooks addressing -- there are two that

08:46:37   25   address preventive cardiology, and then there are multiple,
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08:46:41    1   but there's two volume work on hypertension, multiple works on

08:46:47    2   dyslipidemia.    There's another one on glucolipotoxicity

08:46:50    3   toxicity in the heart.     I'm sorry Madam court reporter I'll

08:46:55    4   spell that for you.     G-l-u-c-o-l-i-p-o-t-o-x-i-c-i-t-y.

08:47:02    5               Then there's also a text book on diabetes.       There

08:47:07    6   are 14 -- there are two more books coming later this year.

08:47:10    7   One called Therapeutic Lipidology and the other one called the

08:47:14    8   Preventive Cardiology Handbook.

08:47:17    9               I have 376 published papers, nearly 300 published

08:47:22   10   abstracts, 77 book chapters.

08:47:26   11    Q   Was that a -- I lost track of the math but it seemed like

08:47:31   12   we were around 700 or thereabouts.       What's your best estimate?

08:47:35   13    A   Yes, sir, that's fine.

08:47:37   14    Q   In general terms, what do these publications all of them

08:47:41   15   together, generally concern?

08:47:43   16    A   They concern different facets of either cardiovascular

08:47:49   17   disease prevention or established cardiovascular disease.

08:47:53   18   They can address lipids, diabetes, hypertension, metabolic

08:47:59   19   syndrome.   The range is wide.

08:48:01   20    Q   And do you consult with pharmaceutical companies?

08:48:04   21    A   Yes, sir.

08:48:04   22    Q   I don't need an exhaustive list but what are some of the

08:48:08   23   pharmaceutical companies with which you've consulted?

08:48:11   24    A   Amarin, Amgen, Merck, Regenera.

08:48:17   25    Q   And in general terms what does your consulting work
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08:48:22    1   involve?

08:48:22    2    A   It involves performing research.       It involves speaking.

08:48:28    3   There are specific pharmaceutical drugs that I have also

08:48:32    4   lectured on.    And it's pretty much a balance between the two.

08:48:37    5    Q   Why do you choose to do consulting work with

08:48:41    6   pharmaceutical companies?

08:48:42    7    A   Because I think it's obviously extremely important to

08:48:47    8   advance medical science, and they need to partner with

08:48:50    9   physicians who are committed to research.        If we don't do

08:48:54   10   research, nothing is going to move forward.

08:48:57   11                And progress in medicine is tantamount in being able

08:49:01   12   to deliver good effective medical care.       And patients are

08:49:04   13   willing to participate in clinical trials because they

08:49:07   14   understand that as well.

08:49:08   15    Q   Okay.     And the speaking engagements, why do you choose to

08:49:12   16   speak about drugs for pharmaceutical companies?

08:49:16   17    A   Because I love teaching.      I love teaching my peers.       And

08:49:20   18   it's extremely important that they be provided with up to date

08:49:25   19   accurate information on what these medications do and how they

08:49:31   20   are best applied in everyday medical care.

08:49:34   21    Q   Let's turn to your educational background.         Where did you

08:49:37   22   receive your medical training?

08:49:39   23    A   I went to medical school at the Wayne State University

08:49:44   24   School of Medicine in Detroit, Michigan, and I did my

08:49:48   25   residency training at the University of Iowa, hospitals and
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08:49:54    1   clinic.   I did two years in obstetrics and gynecology and two

08:49:58    2   years in family medicine.

08:50:02    3    Q   And where did you receive your undergraduate degree and

08:50:06    4   in what discipline did you major?

08:50:08    5    A   I received my undergraduate degree at Princeton

08:50:15    6   University in Princeton, New Jersey, in biochemistry.

08:50:15    7    Q   Did you get a further degree aside from medical school

08:50:19    8   another graduate degree?

08:50:21    9    A   Yes, sir.    I have a doctorate in biochemistry from

08:50:28   10   Michigan State University in East Lansing, Michigan.

08:50:29   11                    MR. ELIKAN:   Your Honor, we offer Dr. Toth as an

08:50:33   12   expert in lipidology, the treatment of hypertriglyceridemia,

08:50:35   13   including severe hypertriglyceridemia and the prevention and

08:50:39   14   treatment of cardiovascular disease.

08:50:40   15                    MR. KLEIN:    No objection.

08:50:41   16                    THE COURT:    The request to certify Dr. Toth as

08:50:45   17   an expert in those three areas is granted.

08:50:49   18                    MR. ELIKAN:   Thank you, Your Honor.

08:50:49   19   BY MR. ELIKAN:

08:50:51   20    Q   We'll be talking about Vascepa today.        Is that a drugs

08:50:55   21   that you prescribe?

08:50:55   22    A   Yes.

08:50:56   23    Q   In your opinion, is it an important addition to the

08:51:01   24   armamentarium, the treatments available for physicians to

08:51:07   25   treat hypertriglyceridemia?
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08:51:08    1    A   Yes, counsel.

08:51:09    2    Q   And why?

08:51:10    3    A   Because it's solved a very important problem in clinical

08:51:13    4   lipidology and cardiovascular medicine, namely, that it is a

08:51:17    5   medication that can be used in patients with severe

08:51:21    6   hypertriglyceridemia to lower triglycerides without raising

08:51:28    7   the LDL cholesterol or the so-called bad cholesterol.

08:51:32    8    Q   Did review Dr. Heinecke's testimony?

08:51:35    9    A   I did.

08:51:35   10    Q   Do you recall that Dr. Heinecke testified that the

08:51:38   11   asserted claims would have been obvious to a person of

08:51:44   12   ordinary skill in the art in March of 2008?

08:51:46   13    A   Yes.

08:51:47   14    Q   Do you agree with him?

08:51:49   15    A   No, sir.

08:51:49   16    Q   Now, before we get further into the substance of your

08:51:55   17   opinion that the asserted claims would not have been obvious,

08:51:58   18   I want to touch upon some scientific background issues.

08:52:03   19                    MR. ELIKAN:   Can we have PDX 6-5, Mr. Brooks.

08:52:03   20   BY MR. ELIKAN:

08:52:08   21    Q   Can you explain what PDX 6-5 shows.

08:52:12   22    A   Yes, counsel.     This is a schematic that summarizes the

08:52:17   23   metabolism of lipoproteins, namely the conversion of VLDL or

08:52:22   24   very low density lipoproteins to LDL or low density

08:52:28   25   lipoproteins.
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08:52:29    1                If we go all the way to the left, under number one,

08:52:36    2   we see that the VLDL particles which are highly enriched in

08:52:43    3   triglyceride are produced and secreted by the liver into the

08:52:46    4   bloodstream.

08:52:47    5                Now, this is very important because the VLDL

08:52:51    6   particles are enriched with triglyceride and cholesterol and

08:52:56    7   it is the role of these particles to distribute stored energy

08:53:00    8   to various cells of the body.

08:53:03    9                Think of the triglyceride as something of a gasoline

08:53:06   10   that can be combusted in the engine of a vehicle, which in the

08:53:11   11   case of the cell, would be the mitochondria.

08:53:16   12                The triglycerides can't be transported in blood by

08:53:21   13   themselves because they're fats and fats do not dissolve in

08:53:27   14   water.    Oil and water don't mix.    The lipoprotein is able to

08:53:32   15   carry these triglycerides and cholesterol through the blood

08:53:36   16   and get them to the cells that need this form of stored

08:53:41   17   energy.

08:53:42   18    Q      So they basically act like -- you analgized to gas before

08:53:47   19   in saying the triglyceride are like gas, and the lipoproteins

08:53:50   20   the gas truck.

08:53:50   21    A      Yes, that is a very apt analogy.

08:53:52   22    Q      And can you explain what the squiggly lines and dots are

08:53:58   23   in 2.

08:53:58   24    A      Yes, the squiggly lines in red represent triglycerides

08:54:02   25   and the yellow globules represent cholesterol of course highly
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08:54:08    1   schematically.

08:54:09    2               So these VLDL particles are in the blood after

08:54:13    3   they're secreted, and as we move to number 3, the

08:54:18    4   triglycerides have to be removed so that they can be processed

08:54:21    5   by cells.   And there's an enzyme in the body called

08:54:27    6   lipoprotein lipase and that's l-i-p-o-p-r-o-t-e-i-n new word

08:54:27    7   l-i-p-a-s-e.

08:54:34    8               This enzyme removes the triglycerides and

08:54:38    9   facilitates their breakdown into their constituent fatty

08:54:45   10   acids.   The fatty acids can be burned as fuel and they drive

08:54:49   11   intermediary metabolism.

08:54:52   12               Now, what happens here as the triglycerides are

08:54:55   13   removed, the particle gets smaller and the large VLDL particle

08:55:05   14   under number 2 becomes and IDL particle in number 3.

08:55:09   15    Q   What does that stand for?

08:55:10   16    A   Intermediate density lipoprotein.       This is still

08:55:15   17   relatively enriched with triglyceride as you can see, but as

08:55:18   18   more and more of the triglyceride is removed, the particle

08:55:21   19   becomes yet smaller.

08:55:24   20               And under 4 this is an LDL particle, the low density

08:55:29   21   lipoprotein particle, and this is a particle that is the

08:55:33   22   so-called bad cholesterol.      It carries cholesterol, but this

08:55:38   23   LDL, if it's not cleared, can also wind up in blood vessel

08:55:45   24   walls leading to the development of atherosclerotic disease or

08:55:50   25   hardening of the arteries.
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08:55:54    1    Q   And this whole process a metabolism of lipoproteins?

08:55:57    2    A   Yes, this is a high schematic of lipoprotein physiology.

08:55:57    3   As the triglyceride enriched lipoprotein is progressively

08:56:06    4   converted into a triglyceride depleted lipoprotein leading to

08:56:14    5   the formation of LDL.

08:56:14    6    Q   And all things being equal, as the VLDL particles change

08:56:19    7   and become IDL and then LDL, how does that impact how much LDL

08:56:25    8   or low density lipoprotein cholesterol is present in the

08:56:31    9   blood?

08:56:31   10    A   Well, if there's a large backlog of this VLDL say because

08:56:38   11   someone has a logjam, they don't express lipoprotein lipase

08:56:45   12   appropriately, then they have impaired capacity to drive this

08:56:49   13   conversion to allow for this physiologic flow of the large

08:56:55   14   VLDL down to the LDL.

08:56:58   15               But if you break that logjam and suddenly you

08:57:01   16   activate the enzyme somehow, then you can see a large surge in

08:57:05   17   the production of that LDL and the LDL levels would rise.

08:57:10   18    Q   And what does that mean for the amount of LDL-C or LDL

08:57:15   19   cholesterol in the blood?

08:57:16   20    A   It increases.

08:57:17   21    Q   And was all of this understood as of March 2008?

08:57:23   22    A   Yes.

08:57:24   23    Q   Now, we've been talking about three different

08:57:30   24   lipoproteins, VLDL, IDL, LDL.      Have you prepared a slide

08:57:37   25   showing these three different types of lipoproteins in greater
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                                                                                   1565



08:57:42    1   detail.

08:57:43    2    A     Yes, counsel.

08:57:45    3                      MR. ELIKAN:   Can we have PDX 6-6.

08:57:45    4   BY MR. ELIKAN:

08:57:48    5    Q     Can you explain what is depicted PDX 6-6.

08:57:52    6    A     Yes.    This schematic demonstrates very nicely that as you

08:57:56    7   convert a VLDL particle to the IDL particle in the middle, you

08:58:03    8   will decrease the triglyceride content of the VLDL which

08:58:07    9   begins at around 55 to 80 percent, and this will decrease to

08:58:13   10   approximately 20 to 50 percent.

08:58:13   11                  At the same time it becomes more cholesterol

08:58:16   12   enriched going from 5 to 15 percent of total content up to 20

08:58:22   13   to 40 percent.

08:58:23   14    Q     Are you describing the passage from VLDL to IDL right

08:58:29   15   now?

08:58:29   16    A     Yes.

08:58:30   17    Q     Okay.    Can you walk us through the LDL.

08:58:33   18    A     Yes.    So as we go from IDL to LDL, there is even more

08:58:42   19   reduction of triglyceride content within the core of the

08:58:46   20   particle and the cholesterol becomes even more enriched within

08:58:50   21   the core of that particle.

08:58:52   22    Q     And what levels of triglycerides and cholesterol are

08:58:55   23   present in the low density lipoprotein?

08:58:59   24    A     It would be 5 to 15 percent triglyceride and 40 to

08:59:04   25   50 percent cholesterol.
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                                                                                   1566



08:59:05    1    Q   And would all this been understood as well by the person

08:59:09    2   of ordinary skill in the art in March 2008?

08:59:11    3    A   Yes, counsel.

08:59:12    4    Q   Now, I want to talk about severe hypertriglyceridemia.

08:59:15    5   As of March 2008, was there a standard definition of severe

08:59:19    6   hypertriglyceridemia?

08:59:21    7    A   There was.

08:59:21    8    Q   What was it?

08:59:22    9    A   It was based on the third adult treatment panel sponsored

08:59:27   10   by the National Heart Lung and Blood Institute of the National

08:59:30   11   Institutes of Health and this was published in 2001 and it was

08:59:36   12   published in multiple journals in 2002.

08:59:39   13    Q   And my question is what was the definition.

08:59:41   14    A   The definition of very high triglycerides was a

08:59:46   15   triglyceride level that was greater than or equal to

08:59:50   16   500 milligrams per deciliter.

08:59:51   17    Q   And when you answered my question, you said very high

08:59:54   18   triglycerides.    Is that one in the same as severe

08:59:57   19   hypertriglyceridemia?

08:59:59   20    A   Yes.

08:59:59   21    Q   Can I use those terms interchangeably?

09:00:07   22    A   Yes.

09:00:07   23    Q   And when I use those terms, you'll understand then that

09:00:14   24   I'm talking about someone whose fasting triglyceride levels

09:00:19   25   are at least 500 milligrams per deciliter?
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09:00:22    1    A   Yes.

09:00:24    2    Q   Was it understood as of March 2008, that very high levels

09:00:29    3   of triglycerides cause health problems?

09:00:32    4    A   Yes.

09:00:32    5    Q   What types of health problems?

09:00:34    6    A   There were two principle health problems.        The first and

09:00:38    7   foremost one was the heightened risk of developing

09:00:42    8   pancreatitis.    Pancreatitis is an acute inflammatory condition

09:00:46    9   of the pancreas.

09:00:50   10                The pancreas is a vital organ, it's located behind

09:00:54   11   your stomach, and it's role is to produce digestive enzymes

09:00:54   12   that are secreted into the gastrointestinal tract, but

09:00:54   13   importantly the pancreas plays a critical role in regulating

09:01:07   14   glucose metabolism because it also is responsible for

09:01:07   15   producing insulin and glucagon.

09:01:13   16                In the setting of severe hypertriglyceridemia

09:01:13   17   inflammatory changes an occur within the pancreas that can

09:01:20   18   lead to sudden devastating injury to the pancreas leading to

09:01:24   19   the dissolution of pancreatic tissue resulting in severe pain,

09:01:31   20   inability to eat, to drink, and it constitutes a medical

09:01:37   21   emergency.    But even more importantly in some cases it request

09:01:41   22   even result in death.

09:01:45   23                The second potential complication of severe

09:01:48   24   hypertriglyceridemia is heightened risk for the development os

09:01:53   25   atherosclerotic disease, cardiovascular disease.
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09:01:57    1                   MR. ELIKAN:    Please turn, and you can do so in

09:01:58    2   your binder or on the screen, to PX 989, the ATP III2 which is

09:02:10    3   what we've been calling it.      Which the parties, Your Honor,

09:02:14    4   have stipulated as prior art to the asserted.

09:02:17    5                   And, Your Honor, either I -- since there's a

09:02:17    6   stipulation as to which documents, some of them are stipulated

09:02:20    7   to as prior art, would you -- would you like me to refer to

09:02:25    8   the document and the paragraph number or is it sufficient to

09:02:28    9   just mention the document?

09:02:30   10                   THE COURT:    It's sufficient to just mention the

09:02:32   11   document via the exhibit number.

09:02:35   12                   MR. ELIKAN:    Okay.   It's 324 is the joint

09:02:37   13   stipulations of fact in which the stipulations are contained.

09:02:41   14                   THE COURT:    Yes, what I mean is I realize this

09:02:43   15   is a stipulated document, you can just refer to the exhibit

09:02:47   16   when you reference the document.

09:02:49   17                   MR. ELIKAN:    Okay.   I understand but this is

09:02:51   18   going to different issue, Your Honor.

09:02:51   19                   There's stipulation as to certain articles that

09:02:54   20   they constitute prior art and that's what I'm asking Your

09:02:57   21   Honor is whether I ought to recite the paragraph and the

09:03:02   22   document which those occur or is it sufficient for me to just

09:03:05   23   say that it's the subject of a stipulation as prior art.

09:03:09   24                   THE COURT:    You could just refer to the latter

09:03:11   25   that it's subject of stipulation as to the prior art.
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09:03:14    1                    MR. ELIKAN:   Okay.

09:03:14    2   BY MR. ELIKAN:

09:03:20    3    Q   Was ATP III, was this considered an authoritative text by

09:03:25    4   clinicians treating hypertriglyceridemia and severe

09:03:29    5   hypertriglyceridemia as of March 2008?

09:03:31    6    A   Yes.    It was a national guideline, a national standard

09:03:35    7   put together by a broad range of experts by the National

09:03:39    8   Institutes of Health.

09:03:40    9    Q   Let's go to page 194, to table 7.2-4 titled "Treatment

09:03:49   10   Considerations For Elevated Serum Triglycerides."

09:03:53   11                Can you explain in general what this table concerns.

09:03:56   12    A   Yes.    It summarizes the triglyceride categories as well

09:04:02   13   as special treatment considerations.

09:04:05   14    Q   And looking at the left-hand column, this page lists

09:04:11   15   different serum triglyceride categories, do you see that?

09:04:14   16    A   I do.

09:04:15   17    Q   And what were the different classifications or the

09:04:19   18   different categories of elevated serum triglycerides that were

09:04:25   19   recognized by ATP III?

09:04:27   20    A   There are three; borderline high triglycerides, which

09:04:31   21   range from 150 to 199; high triglyceride, which range from 200

09:04:37   22   to 499, and very high triglycerides or severe

09:04:44   23   hypertriglyceridemia, greater than 500 milligrams per

09:04:49   24   deciliter.

09:04:49   25    Q   And starting with the very high triglycerides group, what
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09:04:54    1   did ATP III state were the goals of therapy?

09:04:58    2    A   There are two; number one, to reduce the triglycerides to

09:05:02    3   prevent the development of acute pancreatitis, that was

09:05:06    4   priority number one.

09:05:08    5              Priority number two was, once that was under

09:05:10    6   control, to prevent the development of coronary heart disease.

09:05:20    7    Q   So were these -- you said once it's under control.            Were

09:05:20    8   these considered to be goals to be pursued from the get-go, or

09:05:23    9   is it a chronological thing?

09:05:24   10    A   You mean were the goals to be achieved simultaneously?

09:05:29   11    Q   In the ideal world?

09:05:32   12    A   Well, sure.    We would love to prevent everything we can,

09:05:36   13   but, in the real world, getting the triglycerides down was

09:05:44   14   priority number one because you wanted to make sure you did

09:05:48   15   everything possible to prevent the risk of pancreatitis.           Once

09:05:51   16   you had that under control, then you can go ahead and chase

09:05:56   17   down the risks for the coronary heart disease.

09:05:59   18    Q   So that's the second priority then.

09:06:01   19    A   Yes, sir.

09:06:01   20    Q   And moving on to the borderline high and high groups,

09:06:05   21   what did ATP III state were the goals or goal of therapy?

09:06:09   22    A   For both of those groups, the primary goal was to achieve

09:06:14   23   what they called the risk stratified LDL cholesterol goal.

09:06:20   24              Allow me to explain.     When a patient walks through

09:06:24   25   the door, if they were in primary prevention, meaning they did
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09:06:28    1   not yet manifest evidence of heart disease, then you would

09:06:33    2   evaluate their risk factor burden.

09:06:36    3               You would then calculate a ten-year projected risk

09:06:39    4   score, which at the time was the Framingham risk score, and

09:06:43    5   that would help you to determine what their level of risk was,

09:06:47    6   let's say low or moderate or high.

09:06:50    7               And those different strata of risk dictated that you

09:06:57    8   reduced LDL progressively more aggressively because the higher

09:07:02    9   the risk, the lower the LDL that was targeted.        So that's what

09:07:07   10   that means.

09:07:09   11               And in secondary prevention since everyone is high

09:07:12   12   risk, there was an established LDL goal.

09:07:16   13    Q   So the primary goal for both according to ATP III is

09:07:20   14   achieve LDL-C goal?

09:07:31   15    A   Yes.

09:07:32   16    Q   In March 2008, was there a physiological understanding as

09:07:36   17   to why patients might suffer from severe hypertriglyceridemia?

09:07:40   18    A   Yes.

09:07:43   19                    MR. ELIKAN:   Let's turn to page 190, to table

09:07:46   20   VII.2-1, and can we highlight the title of the table,

09:07:46   21   Mr. Brooks.

09:07:46   22   BY MR. ELIKAN:

09:07:59   23    Q   What does this table concern?

09:07:59   24    A   The classification and causes of elevated serum

09:08:02   25   triglycerides.
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09:08:03    1    Q   Okay.    I want to look at the very high triglycerides

09:08:06    2   portion.

09:08:08    3                Do you see that one the causes listed for very high

09:08:12    4   triglycerides is familial lipoprotein lipase deficiency?

09:08:18    5    A   Yes.

09:08:18    6    Q   What is that?

09:08:20    7    A   Familial lipoprotein lipase deficiency is a deficiency

09:08:27    8   state that is genetically determined for that enzyme

09:08:31    9   lipoprotein lipase that we discussed earlier.        It's the enzyme

09:08:33   10   that extracts and metabolizes triglycerides from the VLDL, the

09:08:40   11   IDL, and there are patients who have inborn errors in the gene

09:08:45   12   for that enzyme, and they either underexpress the enzyme or

09:08:48   13   they express a faulty version of it and they have reduced

09:08:53   14   activity of the enzyme.

09:08:54   15    Q   So how does that cause very high triglycerides?

09:08:58   16    A   They have inadequate capacity to convert the VLDL to IDL

09:09:04   17   and then to LDL.

09:09:06   18    Q   Earlier you mentioned I think a logjam?

09:09:08   19    A   Yes.

09:09:08   20    Q   Does that occur with somebody with this condition?

09:09:11   21    A   Yes.    The VLDLs, the triglycerides are increased in blood

09:09:17   22   because these patients have impaired capacity to break the

09:09:22   23   VLDLs and triglycerides down.

09:09:25   24    Q   Do you see right underneath the entry that we've been

09:09:27   25   looking at it says familial apolipoprotein C-II deficiency?
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09:09:34    1    A      Yes.

09:09:34    2    Q      What is that?

09:09:35    3    A      Familial apo C-II deficiency is a deficiency state in apo

09:09:44    4   C-II.    Apo C-II is a naturally occurring activator of

09:09:47    5   lipoprotein lipase.

09:09:48    6                   Many enzymes have complex regulation, lipoprotein

09:09:53    7   lipase is one of them.       It has both intrinsic activators and

09:09:59    8   inhibitors in the body and apo C-II is an activator, and when

09:10:04    9   there isn't enough available because the patient

09:10:07   10   underexpresses it, there may be less activity of the enzyme

09:10:12   11   available to do the work of breaking the VLDL down to IDL and

09:10:18   12   then LDL.

09:10:19   13                   Similarly, there's another one called apo C-III

09:10:25   14   overexpression which is the inhibitor of the enzyme, and then

09:10:28   15   you get a functional deficiency in the enzyme.

09:10:31   16    Q      Let's focus on apo C-II, I've abbreviated it.      You

09:10:38   17   understand though what I'm referring to?

09:10:38   18    A      Yes, of course.

09:10:38   19    Q      How does that in a nutshell cause very high

09:10:41   20   triglycerides?       If you can use an analogy like a logjam or the

09:10:44   21   like that would be appreciated.

09:10:46   22    A      Sure.    So if the activator of the enzyme is less

09:10:49   23   available, the activity of the lipoprotein lipase is reduced

09:10:54   24   and there isn't enough of it to drive that conversion of VLDL

09:10:59   25   to IDL and VLDL will accumulate.
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09:11:04    1    Q   Let's talk now about the approved treatments for severe

09:11:09    2   hypertriglyceridemia available before Vascepa.

09:11:12    3               As of March 2008, what were the FDA approved

09:11:18    4   treatments for very high triglycerides?

09:11:20    5    A   They would have been Lovaza.       It would have been fibrate

09:11:25    6   drugs like fenofibrates and niacin or nicotinic acid was also

09:11:32    7   approved.

09:11:35    8    Q   Did these prior approved triglyceride-lowering products

09:11:39    9   raise LDL-C in patients with very high triglycerides?

09:11:44   10    A   They did.

09:11:44   11    Q   That's true of all these treatments?

09:11:47   12    A   Yes.

09:11:48   13    Q   As of March 2008, did the prior art reflect that all

09:11:53   14   these treatments increased LDL-C in patients with very high

09:11:59   15   triglycerides?

09:11:59   16    A   It did.

09:12:00   17    Q   Did they reflect a substantial rise in LDL-C or simply

09:12:07   18   something small-ish?

09:12:08   19    A   Well, typically substantial because the rise was

09:12:11   20   proportional to the magnitude of the elevation of the

09:12:15   21   triglycerides.

09:12:17   22    Q   As of March 2008 for how long had it been recognized that

09:12:22   23   triglyceride-lowering agents could produce large LDL-C rises

09:12:28   24   in patients with very high triglycerides?

09:12:31   25    A   Well, depending upon the drug, anywhere from one to
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09:12:34    1   three decades.

09:12:35    2    Q   Let's turn to PX 1026.

09:12:47    3              And this is an article that's been admitted, that

09:12:53    4   Dr. Heinecke discussed at his -- during his testimony, and the

09:12:57    5   parties have stipulated that it's prior art to the asserted

09:13:00    6   patents.

09:13:01    7                    THE COURT:    And I just realized that it would be

09:13:04    8   helpful to have the paragraph number in the stipulation if you

09:13:09    9   have it because I remember my comment at the start of the

09:13:12   10   trial as to the number of paragraphs.

09:13:14   11                    I did find the stipulation relating to ATP III

09:13:19   12   and that's paragraph 47.       So for this article, what paragraph

09:13:23   13   of the stipulation.     Do you have that number?

09:13:26   14                    MR. ELIKAN:    Paragraph 95.

09:13:27   15                    THE COURT:    Thank you.

09:13:27   16   BY MR. ELIKAN:

09:13:29   17    Q   Looking at the top of the first page, what's -- what was

09:13:32   18   the date of publication?

09:13:34   19    A   This was published in Atherosclerosis in 1977.

09:13:38   20    Q   And what triglyceride lowering drug, if any is -- was the

09:13:45   21   subject of this paper?

09:13:47   22    A   Niacin.

09:13:49   23    Q   And I want to look at the summary on the first page.          And

09:13:52   24   in the first sentence there's reference to Type V

09:14:01   25   hyperlipoproteinemia?     Did I pronounce that right?
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09:14:05    1    A   Yes, you did great, counsel.

09:14:06    2    Q   Okay.    And you recall that Dr. Heinecke testified that

09:14:08    3   Type V -- can we call it HLP?

09:14:12    4    A   Yeah.

09:14:12    5    Q   That Type V HLP is very high triglycerides.         Do you

09:14:17    6   recall that testimony?

09:14:18    7    A   I do.

09:14:19    8    Q   Do you agree with him?

09:14:21    9    A   I do agree with him.

09:14:22   10    Q   Turning back to Carlson, the next sentence makes

09:14:25   11   reference to nicotinic acid.      What's nicotinic acid?

09:14:30   12    A   It's the same as niacin.

09:14:32   13    Q   And what does this sentence say about the effect of

09:14:36   14   nicotinic acid or niacin on LDL in Type V HLP?

09:14:42   15    A   That it increases LDL.

09:14:46   16    Q   I want to turn to page 3 now, to the second paragraph

09:14:50   17   under Results.

09:14:54   18                What did the authors observe about the effect of

09:15:01   19   nicotinic acid or niacin on LDL cholesterol in patients with

09:15:09   20   Type V HLP?

09:15:10   21    A   Well, I quote,

09:15:11   22                   "That the rise in LDL and HDL cholesterol is

09:15:11   23        a general phenomenon when Type V HLP is treated is

09:15:19   24        apparent from the results of nine patients with Type

09:15:22   25        V HLP who were treated with diet alone or with
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09:15:25    1        nicotinic acid.     All four patients treated with diet

09:15:28    2        and all five treated with nicotinic acid had

09:15:32    3        pronounced increases in LDL cholesterol when VLDL

09:15:36    4        fell towards normal values and all about two had

09:15:40    5        increases in HDL cholesterol."

09:15:43    6    Q   And what in plain English does this mean?

09:15:46    7    A   That means that as the VLDL decreased with the niacin

09:15:51    8   therapy, the LDL shot up.

09:16:00    9                    MR. ELIKAN:   Let's turn to the last page,

09:16:03   10   page 7.   Can we pull up the second paragraph and highlight the

09:16:12   11   first sentence of the paragraph.

09:16:12   12   BY MR. ELIKAN:

09:16:14   13    Q   What do the authors conclude by the clinical implications

09:16:18   14   of where we saw what Carlson called the general phenomenon

09:16:21   15   that LDL-C increases were observed?

09:16:24   16    A   Well, just a quick reminder it's LDL the cholesterol

09:16:29   17   that's the bad cholesterol.      The finding of major clinical

09:16:32   18   concern in this report is the sometimes quite substantial rise

09:16:36   19   in LDL cholesterol.

09:16:40   20    Q   There's italicized major clinical concern there.

09:16:42   21    A   Yes.

09:16:42   22    Q   Is that something that's of considerable importance in

09:16:46   23   practicing medicine and of import to the readers?

09:16:48   24    A   Yes, because if the LDL shoots up, this would heighten

09:16:52   25   risk for the development of the cardiovascular disease.
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09:16:56    1                    MR. ELIKAN:   Can we highlight the next sentence

09:16:58    2   now.

09:16:58    3   BY MR. ELIKAN:

09:17:00    4    Q     What do the authors explain as the reason why an LDL

09:17:05    5   increase would be -- or would have been a major clinical

09:17:09    6   concern?

09:17:10    7    A     They note that this may be quite atherogenic which just

09:17:16    8   means it potentiates the development of heart disease and

09:17:19    9   theoretically the benefit of lowering VLDL in these patients

09:17:25   10   may be overridden by the potential danger due to the rise in

09:17:29   11   LDL.

09:17:30   12    Q     Before March of 2008, did subsequent experience with

09:17:35   13   fibrates further inform the perception that large increases in

09:17:40   14   LDL-C were a general phenomenon when lowering triglycerides in

09:17:45   15   patients with very high triglycerides?

09:17:47   16    A     Yes, counsel.

09:17:48   17    Q     And very generally, what were or what are fibrates?

09:17:52   18    A     The fibrates are what we call fibric, f-i-b-r-i-c, acid

09:18:00   19   derivatives.    They are molecules that exert effects on lipid

09:18:05   20   and lipoprotein metabolism and they help to reduce VLDL and

09:18:13   21   triglycerides and modestly increase the good or HDL

09:18:17   22   cholesterol.

09:18:17   23    Q     As of March 2008 had fibrates been widely used as a lipid

09:18:22   24   altering drug including for severe hypertriglyceridemia?

09:18:25   25    A     Yes.
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09:18:25    1    Q   And what did the experience with fibrates teach about

09:18:33    2   what happened to LDL-C when triglycerides were lowered in

09:18:38    3   patients with very high triglycerides?

09:18:41    4    A   The LDL increased in proportion to the baseline

09:18:44    5   triglyceride levels.

09:18:45    6    Q   Let's turn to PX 388.

09:18:55    7                Let me ask a question before we look there.       This

09:18:59    8   rise, was it observed in patients with very high triglycerides

09:19:03    9   even when the drug didn't rise to a -- or rise or rise

09:19:09   10   dramatically in patients with lower triglycerides?

09:19:12   11    A   Counsel, could you pleads repeat that.

09:19:14   12    Q   Sure.    We were talking about the rise in LDL-C.

09:19:20   13    A   Yes.

09:19:21   14    Q   So in the very high triglyceride population, you talked

09:19:28   15   about a rise.    Was there a large rise in the very high

09:19:35   16   triglyceride population even when the drug didn't do that in

09:19:39   17   patients with lower triglycerides?

09:19:41   18    A   Yes, that's correct.

09:19:44   19    Q   Now, let's turn to PX 388, this is the Tricor label

09:19:51   20   previously admitted and discussed during Dr. Heinecke's

09:19:56   21   testimony, is that right?

09:19:57   22    A   Yes.

09:19:57   23                    MR. ELIKAN:   And the parties, Your Honor, have

09:19:59   24   stipulated that PX 388 is prior art and that's in paragraph

09:20:05   25   105 of the joint stipulations.
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09:20:07    1                    THE COURT:    Thank you.

09:20:07    2   BY MR. ELIKAN:

09:20:07    3    Q   Do you recognize this as the product label for the

09:20:16    4   fenofibrates Tricor?

09:20:17    5    A   I do.

09:20:18    6                    MR. ELIKAN:   Can we turn to Table 1 on page 6

09:20:22    7   and highlight the title.

09:20:22    8   BY MR. ELIKAN:

09:20:24    9    Q   In general terms what information it contained in this

09:20:27   10   table?

09:20:27   11    A   It contains mean percent changes in lipid and lipoprotein

09:20:34   12   parameters at the end of treatment with Tricor.

09:20:38   13    Q   I want to look at the bottom row of the table.         Do you

09:20:41   14   see this table describes lipid effects for a group having

09:20:45   15   triglycerides of at least 150?

09:20:48   16    A   Yes.

09:20:48   17    Q   And LDL-C exceeding 160?

09:20:57   18    A   Yes.

09:20:57   19    Q   Looking at the far right of the bottom row, what does the

09:21:01   20   table indicate was the mean baseline triglyceride value of

09:21:05   21   this group?

09:21:06   22    A   It was 231.9 milligrams per deciliter.

09:21:10   23    Q   And does the table provide information about the effect

09:21:13   24   of Tricor on LDL-C in those patients?

09:21:18   25    A   It does.
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09:21:19    1                    MR. ELIKAN:   Now, I want to turn to page 7,

09:21:21    2   Table 2.    And can we highlight the title again.

09:21:21    3   BY MR. ELIKAN:

09:21:31    4    Q   What information is in this table?

09:21:33    5    A   This is a summary of the effects of Tricor in patients

09:21:36    6   with Frederickson Type IV and Type V hyperlipidemia.

09:21:42    7               So consistent with what has previously been noted

09:21:46    8   here at trial, the Type V hyperlipidemia would be patients

09:21:52    9   with severe hypertriglyceridemia, and the Type IVs typically

09:21:55   10   have not as severe.     They were typically, typically under 500.

09:21:59   11    Q   Let's look at the table itself.       In the top half of the

09:22:03   12   table do you see a reference to Study 1?

09:22:06   13    A   Yes.

09:22:06   14    Q   And looking at the left-hand column under Study 1, what's

09:22:10   15   the range of triglycerides of patients in Study 1?

09:22:14   16    A   350 to 499.

09:22:16   17    Q   And looking at the row labeled triglycerides, what does

09:22:20   18   the table indicate was the mean baseline triglyceride level of

09:22:24   19   the patients in the treatment arm in Study 1?

09:22:27   20    A   432.

09:22:30   21    Q   Does this table provide information about the effect of

09:22:34   22   fenofibrates on the LDL-C levels in this patient population?

09:22:40   23    A   Yes, counsel.

09:22:42   24    Q   In the bottom half the paper there's reference to Study

09:22:45   25   2, do you see that?
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09:22:46    1    A   I do.

09:22:47    2    Q   And looking to the left, directly under Study 2, what's

09:22:51    3   the range of baseline triglycerides of patients in Study 2?

09:22:55    4    A   500 to 1500.

09:22:57    5    Q   So are those patients with very high triglycerides?

09:23:00    6    A   Yes.

09:23:00    7    Q   Did this table provide information about the effect of

09:23:04    8   fenofibrate on the LDL-C in patients with very high

09:23:08    9   triglycerides?

09:23:09   10    A   It did.

09:23:10   11    Q   Have you prepared a demonstrative summarizing the

09:23:13   12   information of the Tricor label showing the effects of

09:23:17   13   fenofibrate on LDL-C in these different patient populations?

09:23:21   14    A   Yes.

09:23:22   15                    MR. ELIKAN:   Can we have PDX 6-7.

09:23:22   16   BY MR. ELIKAN:

09:23:25   17    Q   What does this illustrate?

09:23:26   18    A   Well, moving from left to right, the patients with mixed

09:23:31   19   dyslipidemia with triglycerides greater than or equal to 150

09:23:35   20   but a mean of 231.9, we see that there is a 20.1 percent

09:23:42   21   reduction in LDL cholesterol compared to baseline.

09:23:47   22    Q   A reduction.

09:23:49   23    A   Yes.    And moving to the middle histogram, the orange one,

09:23:55   24   these were the patients were high triglycerides, 350 to 499,

09:24:00   25   with a mean of 432.     And there's a nonsignificant 14
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09:24:04    1   and-a-half percent rise in the LDL compared to baseline or

09:24:09    2   two-and-a-half percent compared to placebo.

09:24:13    3                And moving all the way to the right, this purple

09:24:17    4   histogram for the patients with very high triglyceride,

09:24:23    5   triglycerides 500 to 1500 with mean of 726, the LDL

09:24:29    6   cholesterol increased 45 percent compared to baseline,

09:24:33    7   49 percent compared to placebo.

09:24:36    8    Q   And putting this all together, does this mean that

09:24:40    9   fenofibrate lowered LDL-C in patients with moderately elevated

09:24:46   10   triglycerides?    Is that right?

09:24:48   11    A   Yes.

09:24:48   12    Q   And did not cause a statistically significant rise in

09:24:52   13   LDL-C with patients with high triglyceride, the 350 to 499.

09:24:58   14    A   That's correct.

09:24:59   15    Q   But caused large statistically significant increases in

09:25:07   16   LDL-C in patients with very high triglycerides.

09:25:08   17    A   That is also correct.

09:25:11   18                    MR. ELIKAN:   Your Honor, we move PDX 6-7 as a

09:25:13   19   summary under rule 1006, if this would help, Your Honor.           It

09:25:17   20   is in the documents we looked at, and it's a compilation of

09:25:22   21   that data.

09:25:22   22                    THE COURT:    Mr. Klein?

09:25:23   23                    MR. KLEIN:    I don't object.

09:25:24   24                    THE COURT:    That request is admitted, PDX 6-7

09:25:28   25   will be admitted as summary exhibit.
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09:25:28    1                           (Plaintiffs' Exhibit 6-7 received in
09:25:28                                 evidence.)
09:25:31    2                    THE COURT: And this is part of -- I don't know

09:25:38    3   that I have designated -- well, I just need a way to keep

09:25:47    4   track of demonstrative evidence offered that I admitted as a

09:25:53    5   summary exhibit and I think reference to PDX 6-7 will suffice.

09:26:01    6   Thank you.

09:26:01    7   BY MR. ELIKAN:

09:26:07    8    Q   What if anything would these LDL-C effects have told a

09:26:09    9   person of ordinary skill in the art in March 2008 about

09:26:11   10   whether LDL-C effects observed in patients with less than 500

09:26:16   11   would be predictive, absolutely predictive of LDL-C effects in

09:26:23   12   patients with very high triglycerides?

09:26:26   13    A   Well, that would be an incorrect conclusion to draw

09:26:29   14   because clearly in the patients with more moderate

09:26:33   15   hypertriglyceridemia with a mean of 232 actually LDL

09:26:37   16   decreased.

09:26:38   17                350 to 500 there's no statistically significant rise

09:26:44   18   though there slight right, there's directional increase.           But

09:26:46   19   then when you go above 500 you zoom up.

09:26:51   20    Q   Was there other prior art that reported that fibrates had

09:26:56   21   different effects on LDL-C depending upon the patient's

09:27:02   22   baseline triglyceride levels?

09:27:04   23    A   Yes.

09:27:06   24                    MR. ELIKAN:   Let's turn to PX 1027.

09:27:11   25                    And, Your Honor, this is the 2006 chapter by
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09:27:17    1   Dr. Mahley in Goodman & Gilman's that Dr. Heinecke testified

09:27:21    2   about.   It's pre-admitted, and in the joint stipulations of

09:27:25    3   fact the parties agreed that it was prior art in the asserted

09:27:31    4   patents, and the citation of that is 96.

09:27:33    5                    THE COURT:    Eighty-six?

09:27:35    6                    MR. ELIKAN:   Ninety-six.

09:27:38    7                    THE COURT:    Ninety-six, thank you.

09:27:38    8   BY MR. ELIKAN:

09:27:39    9    Q    What is Goodman & Gilman?

09:27:41   10    A    Goodman & Gilman is a widely recognized textbook on

09:27:46   11   pharmacology.

09:27:47   12    Q    I want to turn to page 6.

09:27:51   13              What is this chapter in Goodman & Gilman directed

09:27:55   14   to?

09:27:55   15    A    The drug therapy for hypercholesterolemia and

09:28:01   16   dyslipidemia.

09:28:02   17                    MR. ELIKAN:   I now want to turn to page 31, and

09:28:05   18   I want to direct your attention to the left-hand column and

09:28:09   19   looking at the second full paragraph, let's highlight the

09:28:13   20   sentence starting with "The second generation agents."

09:28:13   21   BY MR. ELIKAN:

09:28:20   22    Q    What does this sentence say about the LDL-C effects of

09:28:24   23   second generation fibrates on LDL-C levels in patients

09:28:28   24   depending on baseline triglyceride levels?

09:28:31   25    A    I quote,
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09:28:32    1                  "The second generation agents, such as

09:28:36    2        fenofibrate, bezafibrate, and ciprofibrate, lower

09:28:45    3        VLDL levels to a degree similar to that produced by

09:28:50    4        gemfibrozil, but they also are more likely to

09:28:54    5        decrease LDL levels by 15 to 20 percent.        In patients

09:28:58    6        with more marked hypertriglyceridemia, for example,

09:29:02    7        400 to 1000, a similar fall in triglycerides occurs,

09:29:08    8        but LDL increases of 10 to 30 percent are seen

09:29:12    9        frequently."

09:29:15   10    Q   What, generally, does this reference tell us about

09:29:19   11   whether the effects of a triglyceride lowering agent on LDL-C

09:29:25   12   in patients with lower baseline triglycerides would be

09:29:29   13   predictive of the LDL-C effects of a triglyceride lowering

09:29:33   14   patients in patients with very high triglycerides?

09:29:36   15    A   Well, it instructs us that it's two very different

09:29:41   16   clinical scenarios, because in patients with more mild

09:29:47   17   hypertriglyceridemia, the LDL decreases 15 to 20 percent, but

09:29:52   18   in patients with triglycerides that are more markedly

09:29:57   19   elevated, 400 to a thousand, there's the opposite effect where

09:30:00   20   the LDL increases.

09:30:03   21    Q   And is this phenomenon with fibrates, is this a similar

09:30:09   22   or the same phenomenon or a different one as we saw with

09:30:13   23   niacin in the Carlson paper?

09:30:15   24    A   It is similar.

09:30:16   25    Q   You also mentioned Lovaza when you were listing the
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09:30:27    1   approved triglyceride lowering agents approved for very high

09:30:33    2   triglycerides as of March 2008.      I want to turn to that now.

09:30:36    3    A   Yes.

09:30:36    4    Q   Did Lovaza show differential effects on LDL-C depending

09:30:41    5   on the baseline triglyceride levels of the patients?

09:30:44    6    A   Yes, counsel.

09:30:45    7                    MR. ELIKAN:   Let's turn to PX 939.

09:30:52    8                    This is the Lovaza statistical review which has

09:30:55    9   been pre-admitted, Your Honor, and the parties have stipulated

09:30:59   10   that it's prior art in paragraph 87?

09:31:04   11                    THE COURT:    Thank you.

09:31:04   12   BY MR. ELIKAN:

09:31:06   13    Q   Do you understand this to be the statistical review that

09:31:09   14   was generated in conjunction with the development of Lovaza?

09:31:12   15    A   I do, counsel.

09:31:13   16    Q   I want to turn to page 5 and the first paragraph under

09:31:19   17   executive summary.

09:31:20   18               Do you see a reference to K85?

09:31:28   19    A   Yes.

09:31:28   20    Q   What is that?

09:31:29   21    A   K85 is the something developmental designation for

09:31:29   22   Lovaza.

09:31:33   23    Q   Is that the same thing as Omacor?

09:31:33   24    A   Yes.

09:31:36   25                    MR. ELIKAN:   I want to look now at the next
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09:31:38    1   paragraph in executive summary and can we highlight the first

09:31:42    2   two sentences.

09:31:42    3   BY MR. ELIKAN:

09:31:45    4    Q     What does the statistical review state were the

09:31:49    5   category 1 studies that were conducted as part of the review?

09:31:53    6    A     It says,

09:31:53    7                     "The efficacy of the 4-gram per day K85 is

09:31:58    8          based on eight double-blind, placebo-controlled,

09:32:02    9          randomized, parallel group studies or parts of study

09:32:05   10          that used K85 4-milligram dose per day.      These

09:32:14   11          Category 1 studies included a eight week dose

09:32:16   12          response study, five European studies that had

09:32:20   13          dietary run-in phase, 9 or 10 weeks, and a 12-week

09:32:25   14          double-blind treatment phase, and two U.S. studies in

09:32:28   15          patients with severe hypertriglyceridemia,"

09:32:31   16   which they defined as triglycerides greater than or equal to

09:32:34   17   500.

09:32:34   18    Q     So that's five European studies and two U.S. studies?

09:32:38   19    A     Yes, counsel.

09:32:39   20                      MR. ELIKAN:   Now, I want to turn to page 6,

09:32:42   21   Table 2.   Can we highlight the entries for baseline

09:32:46   22   triglycerides for the treatment arms in the European and US

09:32:51   23   studies, Mr. Brooks.

09:32:51   24   BY MR. ELIKAN:

09:32:57   25    Q     What were the baseline triglyceride levels for these two
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09:33:01    1   groups?

09:33:01    2    A   For the European group it was 275 milligrams per

09:33:05    3   deciliter, and for the United States group it was 816.

09:33:10    4    Q   So was the US population a population of severely

09:33:15    5   hypertriglyceridemic patients?

09:33:18    6    A   Yes.

09:33:18    7    Q   Does the table report the percent change in both

09:33:23    8   triglycerides and LDL-C for these groups?

09:33:26    9    A   Yes.

09:33:27   10    Q   Have you prepared a slide that shows what these Lovaza

09:33:30   11   studies revealed about the different LDL-C effects of Lovaza

09:33:35   12   in patients with very high triglyceride, compared to the

09:33:38   13   patients with lower triglycerides?

09:33:40   14    A   Yes, counsel.

09:33:41   15                    MR. ELIKAN:   Can we have PDX 6-8.

09:33:41   16   BY MR. ELIKAN:

09:33:45   17    Q   And what does this illustrate about the effects of Lovaza

09:33:48   18   on LDL-C in these two groups?

09:33:51   19    A   If we begin with the left-hand blue histogram, this

09:33:57   20   represented the high triglyceride group with median of 275.

09:34:04   21    Q   So is that the European group?

09:34:06   22    A   Yes.   And what we find is that the LDL cholesterol

09:34:10   23   increased four-and-a-half percent compared to baseline or

09:34:16   24   6.9 percent compared to placebo.

09:34:17   25               And as we move to the right looking at the orange
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09:34:19    1   histogram, these were the patients in the United States with

09:34:22    2   very high triglycerides median of 816 milligrams per

09:34:26    3   deciliter.

09:34:26    4                You see there is a ten-fold higher increase in the

09:34:29    5   LDL-C compared to baseline at 44.15 percent or 49.3 percent

09:34:40    6   compared to placebo.

09:34:41    7    Q   And what if anything does this show about the

09:34:43    8   relationship between LDL-C and patient baseline triglyceride

09:34:51    9   levels?

09:34:51   10    A   That the two groups are very different in terms of how

09:34:53   11   they behave, with their LDL responses.

09:34:57   12    Q   And in view of the earlier -- the experience with the

09:35:02   13   earlier approved triglyceride lowering agents, including

09:35:06   14   fibrates, to what would a person of ordinary skill in the art

09:35:10   15   have attributed the large rise on the right observed with

09:35:15   16   Lovaza as administered to patients with very high

09:35:19   17   triglycerides?

09:35:19   18    A   As an increase in conversion of VLDL to LDL.

09:35:24   19    Q   And to what would they have attributed that?

           20                You said VLDL to LDL, is that the metabolic pathway

           21   that you described before?

           22    A   Yes.

           23    Q   Would they have see that as part of the -- that's

           24   specific to the drug that's administered, or is it more

           25   generally part of the general way in which triglycerides are
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09:35:48    1   lowered?

09:35:48    2    A   Well, because we see it with the niacin, the fibrates as

09:35:53    3   well as the Lovaza, it would have been seen as part of the

09:35:56    4   general means by which triglycerides and VLDLs are reduced

09:36:02    5   when using a drug.

09:36:05    6    Q   So the metabolic pathway that we discussed, is that the

09:36:09    7   same thing as -- you also used the term of backlog I think or

09:36:13    8   a logjam.

09:36:14    9                    MR. ELIKAN:    Your Honor --

09:36:14   10                    THE WITNESS:    Breaking the logjam.

09:36:17   11   BY MR. ELIKAN:

09:36:17   12    Q   Is that breaking the logjam phenomenon something that's

09:36:23   13   discussed in the literature existing in March 2008?

09:36:26   14    A   Yes, widely discussed.

09:36:27   15                    MR. ELIKAN:    I want to go to PX 923.    This is

09:36:32   16   the McKenney and Sica reference from 2007.        It's been

09:36:38   17   pre-admitted, and, Your Honor, the parties have stipulated

09:36:41   18   that it's prior art in paragraph 85.

09:36:41   19                    THE COURT:    Thank you.

09:36:49   20                    MR. ELIKAN:    Can we go to page 3?    We're there

09:36:51   21   already.

09:36:51   22   BY MR. ELIKAN:

09:36:52   23    Q   Looking at the title what's the general subject matter of

09:36:54   24   this paper?

09:36:55   25    A   It's the prescription of omega-3 fatty acids for the
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09:36:57    1   treatment of hypertriglyceridemia.

09:37:01    2                    MR. ELIKAN:   Can we pull up page 5, and I want

09:37:04    3   to highlight the first sentence of the paragraph that starts

09:37:07    4   at the lower left-hand column.

09:37:07    5   BY MR. ELIKAN:

09:37:14    6    Q   What does McKenney have to say here in the first sentence

09:37:18    7   of this paragraph?

09:37:18    8    A   Dr. Kennedy notes,

09:37:20    9                  "The triglyceride reducing effects of EPA and

09:37:23   10        DHA have been detailed in numerous studies among a

09:37:27   11        wide range of patient types."

09:37:28   12    Q   And looking a little further down this paragraph, but in

09:37:32   13   the middle column of the same page, I want to highlight the

09:37:36   14   first full sentence six lines down starting with "as with

09:37:43   15   fibric acid derivatives."

09:37:45   16              What does Dr. McKenney state here about omega-3

09:37:53   17   fatty acids and how they compare to the earlier -- the

09:37:55   18   other -- the drugs that you discussed earlier the fibric acid

09:37:58   19   derivatives and nicotinic acid.

09:38:01   20    A   He notes,

09:38:01   21                  "As with fibric acid derivatives (fibrates)

09:38:05   22        and nicotinic acid (niacin), reductions in

09:38:08   23        triglycerides and very low density lipoprotein or

09:38:13   24        VLDL are generally greater in patients with higher

09:38:19   25        baseline triglyceride levels."
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09:38:20    1    Q   Can we continue on to the next sentence.        What does he

09:38:23    2   report there?

09:38:24    3    A   I quote,

09:38:26    4                   "An increase in LDL and HDL cholesterol can

09:38:31    5        accompany a reduction in triglycerides.        The higher

09:38:34    6        the baseline triglyceride level, the greater these

09:38:36    7        lipids may be increased."

09:38:39    8    Q   So is this the same phenomenon that you've been

09:38:43    9   discussing now and that you've observed in numerous places

09:38:46   10   we've looked through?

09:38:47   11    A   Yes.

09:38:48   12    Q   And in a nutshell, how does Dr. McKenney understand

09:38:48   13   omega-3 fatty acids to perform with regard to LDL-C levels,

09:38:59   14   like fibrates and niacin or differently?

09:38:59   15    A   Like fibrates and niacin.

09:39:03   16                    MR. ELIKAN:   Now, I want to look at the last

09:39:05   17   paragraph in the right-hand column of page 5.        Can we

09:39:09   18   highlight the first sentence, Mr. Brooks.

09:39:09   19   BY MR. ELIKAN:

09:39:15   20    Q   What does this sentence indicate the paragraph is

09:39:17   21   generally about?

09:39:19   22    A   He's going to discuss the pharmacokinetics of

09:39:25   23   lipoproteins in response to omega-3 fatty acids.

09:39:27   24    Q   Okay.   And I want to look down to the middle of paragraph

09:39:30   25   to the fourth sentence starting with "importantly."         What does
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09:39:33    1   Dr. McKenney report about the reports about the

09:39:39    2   pharmacokinetic study on omega-3 fatty acids?

09:39:40    3    A   That the conversion of VLDL to LDL particles increased 93

09:39:52    4   percent under the influence of the omega-3 fatty acids.

09:39:52    5    Q   What does that mean in nutshell as far as your logjam

09:39:56    6   analogy?

09:39:56    7    A   That means that the omega-3s break the logjam and

09:39:56    8   increase the conversion of the VLDL to the LDL.

09:40:02    9    Q   I want to highlight the rest of the paragraph now.

09:40:05   10                And as you what conclusion does Dr. McKenney draw

09:40:12   11   about the consequence of this increased conversion of VLDL to

09:40:18   12   LDL as far as LDL-C levels are concerned?

09:40:22   13    A   He notes that,

09:40:23   14                   "These results illustrate that the enhanced

09:40:26   15        catabolism of triglycerides produced by the omega-3

09:40:28   16        fatty acids results in less secretion and more rapid

09:40:32   17        removal of VLDL particles.      The results also show

09:40:37   18        that VLDL particles are rapidly converted to LDL

09:40:42   19        particles, thus explaining why LDL cholesterol levels

09:40:47   20        may rise in patients with very high triglycerides

09:40:49   21        when given omega-3 fatty acid therapy."

09:40:52   22    Q   And can you explain what that is -- what he's saying

09:40:55   23   there in less technical language.

09:40:57   24    A   Sure.    He is saying that the omega-3 fatty acids decrease

09:41:03   25   the secretion of VLDL particles, facilitate their removal from
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09:41:10    1   serum, but also that for VLDLs in serum the omega-3 fatty

09:41:16    2   acids increase their rate of conversion to LDL, which is why

09:41:21    3   the LDL zooms up.

09:41:24    4    Q   In your work on this case, did you review other

09:41:26    5   literature existing as of March 2008 that showed that omega-3s

09:41:34    6   increased the conversion rate of VLDLs to LDL?

09:41:39    7    A   Yes.

09:41:39    8                    MR. ELIKAN:   Can we have PX 562.

09:41:42    9                    And this, Your Honor, has been pre-admitted.

09:41:45   10   It's a 2006 article by Dr. Balk, and the parties have

09:41:51   11   stipulated that it is prior art and that's in paragraph 73.

09:41:58   12                    THE COURT:    Thank you.

09:41:58   13   BY MR. ELIKAN:

09:42:01   14    Q   What does this reference concern?

09:42:02   15    A   This is a paper published in Atherosclerosis in 2006 and

09:42:06   16   it's review article.

09:42:08   17               It evaluates the effects of omega-3 fatty acids on

09:42:13   18   serum markers of cardiovascular disease risk.

09:42:16   19    Q   I want to turn to page 9, in the upper left-hand corner.

09:42:21   20   What does the final sentence of this paragraph, the one

09:42:24   21   beginning with "additionally," what does it state about the

09:42:27   22   mechanism of omega-3 fatty acids?

09:42:31   23    A   It states,

09:42:32   24                  "Additionally, there is some evidence that

09:42:34   25        omega-3 fatty acids increase the conversion rate of
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09:42:38    1        VLDL to LDL, similar to fibrate drugs."

09:42:43    2    Q   And is Balk in his review article saying the same or

09:42:49    3   something different from what we just saw in Dr. McKenney's

09:42:53    4   paper?

09:42:53    5    A   The same.

09:42:53    6    Q   And did you consider other prior art attributing the

09:42:57    7   increase in LDL-C seen in patients with very high

09:43:01    8   triglycerides as something that results from the conversion of

09:43:05    9   VLDL to LDL?

09:43:07   10    A   Yes, counsel.

09:43:08   11                    MR. ELIKAN:   Can we have PX 486, please.

09:43:12   12                    This is a Bays 2008 article, Dr. Bays is the

09:43:19   13   author, Prescription Omega-3 Fatty Acids, it's been

09:43:23   14   pre-admitted and the parties stipulated that it's prior art

09:43:27   15   that's in paragraph 69.

09:43:27   16   BY MR. ELIKAN:

09:43:33   17    Q   Dr. Toth very briefly what does this publication concern?

09:43:36   18    A   This publication looks at the impact of the omega-3 fatty

09:43:43   19   acids on lipid effects with emphasis on physiologic mechanisms

09:43:49   20   of action.

09:43:50   21                    MR. ELIKAN:   Let's go to page 10 and I want to

09:43:55   22   highlight the second to last sentence on page ten as well as

09:44:00   23   the next two sentence which carry over to page 12.

09:44:00   24   BY MR. ELIKAN:

09:44:05   25    Q   In these two sentences, what does Dr. Bays report about
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                                                                                   1597



09:44:10    1   the effect of fibrates in omega-3 fatty acids on LDL-C?

09:44:17    2    A             "As with fibrates, the degree of LDL-C

09:44:21    3        elevations observed with omega-3 treatment is

09:44:25    4        generally related to the pretreatment triglyceride

09:44:27    5        levels.    Omega-3 fatty acids increase LDL cholesterol

09:44:32    6        levels the most in patients with the highest

09:44:36    7        pretreatment triglyceride levels.       The reason for the

09:44:38    8        increased LDL cholesterol levels with omega-3 fatty

09:44:44    9        acids is related to the increased conversion of VLDL

09:44:48   10        particles to LDL particles."

09:44:51   11    Q   Is this the same or a different phenomenon from what we

09:44:55   12   saw in Dr. McKenney's paper and Dr. Balk's paper?

09:45:00   13    A   It's the same counsel.

09:45:01   14    Q   Do you recall that Dr. Heinecke testified that some prior

09:45:05   15   art references showed that triglyceride-lowering agents

09:45:08   16   administered to patients who have elevated triglycerides, did

09:45:11   17   not have substantial increases in their LDL-C levels.         Do you

09:45:18   18   recall that testimony?

09:45:19   19    A   Say that again, counsel.

09:45:20   20    Q   Do you recall that Dr. Heinecke testified that some prior

09:45:24   21   art references showed that triglyceride-lowering agents

09:45:28   22   administered to patients who have elevated triglycerides did

09:45:33   23   not have substantial increases in their LDL-C levels?

09:45:40   24    A   Yes.

09:45:40   25    Q   Okay.   Now, I want to focus not merely on elevated
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09:45:46    1   triglycerides but on severe hypertriglyceridemia.

09:45:48    2               Would a person of ordinary skill in the art in

09:45:53    3   March 2008 have viewed the LDL-C effects of those agents in

09:45:59    4   patients with triglyceride levels below 500, as informative

09:46:06    5   about the LDL-C effects expected in patients with triglyceride

09:46:10    6   levels of at least 500?

09:46:12    7    A   No.

09:46:13    8    Q   And why not?

09:46:16    9    A   Well, we just reviewed some of the evidence here with

09:46:19   10   Lovaza, with niacin, with fenofibrate or fibrates, and the

09:46:24   11   populations below and above 500 clearly behave very

09:46:30   12   differently when it comes to the expected or observed change

09:46:33   13   in LDL cholesterol.

09:46:36   14    Q   In putting this all together as of March 2008, did any

09:46:40   15   agents, any approved for severe hypertriglyceridemia, avoid

09:46:46   16   these increases in LDL-C?

09:46:48   17    A   They did not.

09:46:50   18    Q   Do you recall that Dr. Heinecke testified that the LDL-C

09:46:56   19   increases with Lovaza and other triglyceride lowering agents

09:47:00   20   could be addressed by adding a statin which had been shown to

09:47:03   21   decrease LDL-C?

09:47:05   22    A   Yes.

09:47:06   23    Q   Is it always possible to add a statin?

09:47:12   24    A   Well, it's not always possible to add a statin because

09:47:18   25   some patients are simply statin intolerant.        This is
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09:47:21    1   well-established in the literature.

09:47:23    2              But even in some situations where you can add a

09:47:27    3   statin, there may be those limitations as to what a patient

09:47:31    4   can tolerate because of side effects.

09:47:34    5              And the other concern here is, and believe me, we do

09:47:38    6   what we have to do, sure, we can add statins, but one of the

09:47:43    7   biggest concerns with patients with severe

09:47:46    8   hypertriglyceridemia is we saw that with Lovaza, with

09:47:50    9   fibrates, these increases in LDL can approach 50 percent, but

09:47:55   10   that's the average.     It can be significantly higher than that

09:47:59   11   if you look at the distribution of the values.

09:48:03   12              Currently available high dose high potency statins

09:48:07   13   can reduce LDL about 55 percent.      So if a patient did tolerate

09:48:11   14   a high dose high potency statin and their LDL went up 50, 55

09:48:17   15   percent, you just burned all your statin lowering capacity

09:48:22   16   just to get them back to baseline.

09:48:24   17              So it's not always possible for these different

09:48:29   18   reasons, but we do the best we can.

09:48:37   19    Q   Now, we've been discussing the -- triglyceride lowering

09:48:42   20   agents that were approved as of 2008 substantially raised

09:48:48   21   LDL-C in patients with very high triglycerides.

09:48:55   22              Beyond that drawback, did these approved

09:48:56   23   triglyceride lowering agents have other draw backs?

09:48:57   24    A   Yes, side effects.

09:48:59   25    Q   Let's talk about niacin.      So other than the LDL-C
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                                                                                   1600



09:49:04    1   increase, what drawbacks did niacin have?

09:49:08    2    A   Well, niacin was challenging to use because niacin could

09:49:13    3   induce head to toe flushing, which is where the small blood

09:49:19    4   vessels in the skin dilate and the patient actually looks red

09:49:24    5   because their skin is so engorged with blood from this

09:49:28    6   flushing.

09:49:28    7                This can result in a very intense sensation of heat,

09:49:33    8   itching, tingling.     And for anyone who has experienced that at

09:49:38    9   2 in the morning, you might not want to do it again.

09:49:43   10                And niacin also was shown subsequently to increase

09:49:48   11   risk for some types of infection.       So, yes, there were

09:49:52   12   drawbacks.

09:49:53   13    Q   Would you say that niacin had a good side effect profile

09:49:57   14   or not so good?

09:49:58   15    A   Not so good.    And not that many, not a very high

09:50:02   16   percentage of patients could tolerate it.

09:50:04   17    Q   Is that something you observed in your own practice?

09:50:07   18    A   Yes.

09:50:08   19    Q   And was that reflected in the prior art?

09:50:12   20    A   Yes.

09:50:12   21    Q   Let's go to PX 883.

09:50:18   22                And do you recognize PX 883?

09:50:22   23    A   Yes, counsel.

09:50:23   24    Q   What is it?

09:50:23   25    A   It's Goodman & Gilman's, The Pharmacological Basis of
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09:50:28    1   Therapeutics.

09:50:29    2    Q   And if we look at the copyright date on page 2 --

09:50:34    3    A   It's --

09:50:35    4    Q   When was it published?

09:50:36    5    A   1980.

09:50:38    6    Q   Could we look at the next page.       And what is this

09:50:46    7   chapter?

09:50:47    8    A   It's a chapter by Bob Levy on drugs used in the treatment

09:50:53    9   of hyperlipoproteinemias.

09:50:55   10    Q   We saw before a copyright date 1980, was this then

09:50:59   11   publically available as of March 2008?

09:51:02   12    A   Most certainly.

09:51:07   13                    MR. ELIKAN:    We move to move PX 883 into

09:51:10   14   evidence.

09:51:10   15                    MR. KLEIN:    No objection.

09:51:11   16                    THE COURT:    PX 883 is admitted.

09:51:11   17                           (Plaintiffs' Exhibit 883 received in
09:51:11                                 evidence.)
09:51:15   18                    MR. ELIKAN: Thank you, Your Honor.

09:51:16   19                    Can we turn to page 8, the right-hand column

09:51:20   20   under untoward effects.       Can we highlight the first three

09:51:20   21   sentences.

09:51:20   22   BY MR. ELIKAN:

09:51:29   23    Q   What does?

09:51:30   24    A   He states,

09:51:31   25                   "There are several untoward effects of
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09:51:34    1        nicotinic acid that limit its usefulness.        Notably,

09:51:39    2        the drug produces intense cutaneous flush and

09:51:44    3        pruritus.    While these reactions" --

09:51:45    4    Q   Hold on one second.       What's pruritus?

09:51:48    5    A   Pruritus is itching of the skin.

09:51:51    6    Q   Okay.    I'm sorry.

09:51:53    7    A   I'll spell it for the court reporter, p-r-u-r-i-t-i-s.

09:51:57    8                And I'll continue, counsel.

09:51:57    9                    MR. ELIKAN:    Thank you.

09:52:00   10                    THE WITNESS:    "While these reactions

09:52:01   11          decrease in intensity in most individuals after

09:52:05   12          they have been on therapy for several weeks, they

09:52:07   13          are unpleasant and result in poor patient

09:52:11   14          compliance."

09:52:11   15   BY MR. ELIKAN:

09:52:11   16    Q   The author of this chapter Dr. Levy, who is or was he?

09:52:20   17    A   He was a very prominent lipidologist at the National

09:52:24   18   Institutes of Health and he's also the same Dr. Levy of the

09:52:29   19   Levy-Fredrickson dyslipidemia classification.

09:52:32   20    Q   And it would include the Type V HLP that we looked at

09:52:38   21   earlier?

09:52:38   22    A   Yes.

09:52:38   23    Q   I want to ask you about some of the other limitations.          I

09:52:42   24   want to ask you now about limitations of fibrates.

09:52:45   25                In addition to LDL-C increases in patients with very
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                                                                                    1603



09:52:50    1   high triglycerides, did fibrates have other drawbacks?

09:52:53    2    A   Sure.

09:52:54    3    Q   What were they?

09:52:55    4    A   Well, the fibrates, if you take the example of

09:53:00    5   gemfibrozil which was widely available prior to the priority

09:53:06    6   date, its biggest drawback was that it strongly interacted

09:53:11    7   with the statins.    And by strongly interacted I mean it could

09:53:16    8   inhibit statin metabolism which could lead to a precipitous

09:53:21    9   rise in serum statin levels which could then precipitate the

09:53:26   10   most dreaded complication of statin therapy which is

09:53:30   11   rhabdomyolysis or what Dr. Fisher called Rhabdo.

09:53:32   12                And this is a diffuse dissolution of skeletal muscle

09:53:37   13   cells that could also result in acute renal failure.         So this

09:53:41   14   was truly a medical emergency.

09:53:44   15                But there were others, there could be elevation in

09:53:46   16   liver enzymes, there could be muscle aching.        There were

09:53:49   17   multiple side effects?

09:53:51   18                    MR. ELIKAN:   I want to look back at PX 923, the

09:53:56   19   McKenney article.    Could we have page 10 on the screen.          And I

09:53:59   20   want to highlight the second sentence in the first full

09:54:04   21   paragraph in the middle column.

09:54:04   22   BY MR. ELIKAN:

09:54:09   23    Q   What does Dr. McKenney say here about fibrates?

09:54:12   24    A   Fibrates can cause myopathy or injury to muscle and

09:54:16   25   rhabdomyolysis, and court reporter -- let me spell that.
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                                                                                   1604



09:54:20    1   R-h-a-b-d-o-m-y-o-l-y-s-i-s.      And should be used in caution

09:54:28    2   with individuals at a high risk of these problems.

09:54:30    3    Q   He says fibrates in the plural.       Is he limiting his

09:54:35    4   observation to gemfibrozil?

09:54:36    5    A   No, counsel.

09:54:39    6    Q   I want to turn now to Vascepa.       Has Vascepa addressed the

09:54:43    7   limitations of these earlier products?

09:54:45    8    A   Yes.

09:54:46    9    Q   How?

09:54:46   10    A   Vascepa was the first pharmacologic intervention in the

09:54:52   11   setting of severe hypertriglyceridemia which provided the

09:54:56   12   clinical meaningful reductions in triglycerides without

09:54:59   13   increasing LDL cholesterol, and it had a very favorable side

09:55:04   14   effect profile.

09:55:06   15    Q   Can it be administered a statin?

09:55:09   16    A   Yes.

09:55:10   17    Q   None of the safety concerns that you spoke of moment ago.

09:55:17   18    A   No.

09:55:18   19    Q   I want to turn now to clinical trials involving Vascepa

09:55:21   20   starting with MARINE.

09:55:23   21                   MR. ELIKAN:    Can we turn to PX 807, the clinical

09:55:29   22   study report of MARINE.

09:55:30   23                   And this was pre-admitted and the subject of

09:55:33   24   testimony by Dr. Ketchum, Your Honor.

09:55:35   25                   THE COURT:    Is this the MARINE study?
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09:55:41    1                    MR. ELIKAN:   Yes.

09:55:42    2                    THE COURT:    Thank you.

09:55:43    3                    MR. ELIKAN:   It's indicated in last line of the

09:55:46    4   title.

09:55:46    5   BY MR. ELIKAN:

09:55:48    6    Q   Turning to page 11 there's section titled Conclusions.

09:55:51    7   What does the first sentence say about the triglyceride levels

09:55:55    8   of the population studied?

09:55:59    9    A   "In a population of patients with very high

09:56:01   10   triglycerides," which would be greater than 500 --

09:56:04   11    Q   So that's the population that was studied, Doctor?

09:56:07   12    A   Yes sir.

09:56:07   13    Q   Okay.   I want to highlight the last sentence of the first

09:56:11   14   paragraph of this section beginning with "in contrast."

09:56:14   15    A   Yes.

09:56:14   16    Q   What did the MARINE trial report about the effects of

09:56:19   17   Vascepa on LDL-C?

09:56:21   18    A              "In contrast to other triglyceride lowering

09:56:23   19        agents, the reduction in triglyceride levels was not

09:56:26   20        associated with an elevation in LDL cholesterol

09:56:30   21        levels compared to placebo."

09:56:32   22                    MR. ELIKAN:   Now, I want to go to page 111, and

09:56:37   23   can we pull up table 29, Mr. Brooks, and highlight the title.

09:56:37   24   BY MR. ELIKAN:

09:56:43   25    Q   And what does table 29 generally concern?
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09:56:47    1    A   This is a Summary of the Treatment Emergent Adverse

09:56:52    2   Effects of Interest By System Organ Class and Preferred Term

09:56:56    3   During the Double-Blind Treatment Period - Safety Population.

09:57:00    4    Q   Do you see a column for AMR 101, 4 grams?

09:57:04    5    A   Yes.

09:57:05    6    Q   Do you recall what that refers to?

09:57:07    7    A   Yes, AMR 101 would be the developmental designation for

09:57:12    8   Vascepa.

09:57:13    9    Q   And in general, we don't need to go into the specific,

09:57:17   10   but in general what do the authors report here?         What does the

09:57:21   11   study report show about how Vascepa, at four grams compared to

09:57:25   12   placebo in terms of adverse events?

09:57:28   13    A   Very favorably.     In fact, for multiple side effects,

09:57:34   14   numerically Vascepa had a lower rate for some sigh effects

09:57:38   15   than did placebo.

09:57:39   16    Q   And following publication of the MARINE results, did you

09:57:43   17   begin to prescribe Vascepa for patients with very high

09:57:48   18   triglycerides?

09:57:48   19    A   Yes.

09:57:49   20    Q   Following announcements, announcement of the results of

09:57:54   21   the MARINE trial, have other clinicians recognized Vascepa as

09:58:00   22   an advance in the treatment of severe hypertriglyceridemia?

09:58:03   23    A   Yes, counsel.

09:58:04   24    Q   Let's turn to DX 1581.      This is the O'Riordan article

09:58:11   25   previously admitted that Dr. Heinecke discussed.         And I want
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09:58:15    1   to turn to the second paragraph on page 1?

09:58:19    2               And what does that first sentence state had been

09:58:24    3   reported that very day.

09:58:25    4    A   That top line results of the MARINE trial, a randomized

09:58:30    5   placebo-controlled trial testing ethyl EPA in 229 patients

09:58:36    6   with triglyceride levels greater then or equal to

09:58:39    7   500 milligrams per deciliter were announced by the Amarin

09:58:42    8   corporation.

09:58:43    9    Q   So it was the top line results announced that day?

09:58:46   10    A   Yes.

09:58:46   11    Q   And what are top line results?

09:58:49   12    A   Top line results would be the primary endpoint of the

09:58:51   13   study.

09:58:52   14    Q   Does this mean that a full study report had been

09:58:56   15   published or is this something preliminary?

09:58:58   16    A   No it's customary to only announce the top line results

09:59:02   17   prior to publication in a peer review journal where the more

09:59:06   18   comprehensive report would be provided.

09:59:08   19    Q   And in the next sentence of this paragraph, what had been

09:59:12   20   reported as far as the top line results are concerned?

09:59:16   21    A   That the 2 and 4-gram doses of Vascepa as the ethyl EPA

09:59:23   22   is currently known -- well, it was AMR 101 at the time,

09:59:27   23   reduced triglyceride levels 20 and 33 percent respectively all

09:59:32   24   without a significant increase in LDL cholesterol levels.

09:59:36   25    Q   I want to direct your attention to the paragraph
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09:59:38    1   immediately above that headed MARINE trial to quote from a

09:59:44    2   person named McGuire.     Do we have that on the screen?

09:59:50    3    A   Yes.

09:59:50    4    Q   Who is McGuire?

09:59:53    5    A   Dr. Daren McGuire is a prominent cardiologist at VT

09:59:55    6   Southwestern in Dallas.

09:59:55    7    Q   And that's indicated in the paragraph immediately above?

09:59:59    8    A   Yes.

10:00:00    9    Q   In the paragraph that we were looking at right above the

10:00:04   10   heading MARINE trial, what did Dr. McGuire have to say in this

10:00:10   11   statement?

10:00:10   12                   MR. KLEIN:    Objection, Your Honor.     I'll object

10:00:12   13   on hearsay.    To the extent they're not offering it for the

10:00:16   14   truth of the matter asserted therein, I'm okay.         But it's

10:00:21   15   obviously hearsay.

10:00:22   16                   THE COURT:    Well, the document is already

10:00:24   17   admitted, isn't it?

10:00:26   18                   MR. KLEIN:    The document is admitted, but to the

10:00:29   19   extent he's asking specific questions about the comments, the

10:00:33   20   statements from someone else, I just want to clarify for the

10:00:38   21   record that we object on hearsay grounds to that type of

10:00:43   22   testimony.

10:00:44   23                   THE COURT:    Counsel, what's your response?

10:00:46   24                   MR. ELIKAN:    Well, Your Honor, I believe

10:00:49   25   Dr. Heinecke discussed statements in this same article and
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10:00:54    1   there was no issue with defendants' put being forward those

10:00:58    2   statements.    The document is already been admitted.

10:01:00    3                    THE COURT:    I'm assuming you're just

10:01:03    4   highlighting the statement.

10:01:04    5                    MR. ELIKAN:   Correct.

10:01:05    6                    THE COURT:    In other words you're not going to

10:01:06    7   go into details what the statement means.        You're just asking

10:01:08    8   him to read --

10:01:08    9                    MR. ELIKAN:   I'm going to go into detail.

10:01:10   10                    THE COURT:    You are or are not?

10:01:12   11                    MR. ELIKAN:   Yes, I am but not after offering it

10:01:14   12   for the truth of the matter asserted.

10:01:16   13                    THE COURT:    Then there's no -- that would

10:01:17   14   resolve any objection.

10:01:18   15                    MR. KLEIN:    Yes.

10:01:19   16                    MR. ELIKAN:   I think it would.

10:01:20   17                    THE COURT:    All right.

10:01:20   18   BY MR. ELIKAN:

10:01:24   19    Q   So in the paragraph right above the heading MARINE Trial,

10:01:28   20   what did Dr. McGuire have to say here?

10:01:32   21    A   He notes,

10:01:32   22                  "At the end the day, if you can have

10:01:34   23        favorable cardiovascular effects without raising LDL

10:01:39   24        cholesterol, that's going to be an advantage.

10:01:41   25        There's a lot of enthusiasm for this compound, but
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10:01:45    1        this it really early in development and I would

10:01:48    2        insert a note of caution here the early results are

10:01:51    3        intriguing."

10:01:52    4    Q   And how do you understand this statement the early

10:01:55    5   reports are intriguing?

10:01:56    6    A   Well, the full report hadn't been published yet.         He's

10:02:01    7   responding to the top line results which he finds intriguing.

10:02:04    8    Q   And how do you understand his statement about the need

10:02:06    9   for a dose of caution?

10:02:08   10    A   Because he wants to see the full report.        He wants to see

10:02:12   11   if there's any side effects.      He wants to see exactly what

10:02:16   12   happened to the full range of the lipid profile.

10:02:18   13    Q   And turning to the next page, let's look at the paragraph

10:02:24   14   starting with Dr. Steven Nissen.      Do you see that, Doctor?

10:02:29   15    A   I do.

10:02:30   16    Q   Who is Dr. Steven Nissen.

10:02:32   17    A   Steve was the former chief of the cardiology at the

10:02:35   18   Cleveland Clinic in Cleveland Ohio.

10:02:38   19    Q   Now, the last sentence notes that and I quote,

10:02:42   20                  "'The semi synthetic ethyl EPA which does not

10:02:48   21        include DHA in the formulation and has no effect on

10:02:51   22        LDL cholesterol levels is a real advance in the

10:02:54   23        treatment of elevated triglycerides,' he told Heart

10:02:57   24        Wire."

10:02:58   25                   How do you understand his statement that Vascepa
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10:03:00    1   is a real advance in the treatment of elevated triglycerides?

10:03:04    2    A   Because this hadn't been shown before.        Steve is a

10:03:07    3   clinical trialist.     He knew the landscape and he's just

10:03:12    4   acknowledging excitement over a development where no one had

10:03:21    5   previously found a solution.

10:03:23    6    Q   What are you referring to, to the development that nobody

10:03:26    7   had found a solution to?

10:03:27    8    A   The Vascepa being able to reduce triglycerides in

10:03:30    9   patients with severe hypertriglyceridemia without raising LDL.

10:03:34   10    Q   Now, in the first sentence, Dr. Nissen noted some caveats

10:03:43   11   about trial size and duration of the MARINE trial about which

10:03:47   12   Dr. Heinecke testified as well as the lack of peer review.          Do

10:03:51   13   you recall Dr. Heinecke's testimony about this?

10:03:53   14    A   Yes.

10:03:53   15    Q   I want to look at those caveats now.

10:03:56   16               Did FDA proceed to approve Vascepa for very high

10:04:01   17   triglycerides based on the MARINE trial, irrespective of

10:04:07   18   Dr. Nissen's concerns?

10:04:08   19    A   Yes.

10:04:08   20    Q   They didn't have an issue with the sample size?

10:04:10   21    A   No.

10:04:11   22    Q   Or its study design?

10:04:13   23    A   No.    If they did they wouldn't have approved it.

10:04:16   24    Q   And how did the sample size of the MARINE trial compare

10:04:20   25   to the number of subjects that received EPA in the Mori
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10:04:25    1   reference that Dr. Heinecke discussed in his testimony?

10:04:29    2    A     There are three-and-a-half to four times as many patients

10:04:32    3   per group.

10:04:33    4    Q     And how does the number of subjects in MARINE compare to

10:04:37    5   the number of subjects in Hayashi?

10:04:41    6    A     It's significantly greater.

10:04:43    7    Q     Let's talk about peer review.     At the time the article

10:04:48    8   was published, I think we already covered this, but had this

10:04:54    9   been published in a peer review journal?

10:04:57   10    A     Not yet.

10:04:58   11    Q     At a later juncture did the final results, were the final

10:05:02   12   results published in a peer review publication?

10:05:05   13    A     Yes, in the American Journal of Cardiology.

10:05:09   14    Q     Turning to the next paragraph of this article what did

10:05:14   15   Dr. Nissen have to say about Vascepa?

10:05:16   16    A     He notes,

10:05:19   17                     "It gives you all the benefit without the

10:05:21   18          downside.    It's an interesting wrinkle, there's still

10:05:24   19          room for small companies to do innovative things in

10:05:27   20          this field."

10:05:27   21    Q     And how do you understand his statement that Vascepa

10:05:30   22   gives you all the benefits without the downside?

10:05:30   23    A     That it dropped the triglycerides without raising the

10:05:33   24   LDL.

10:05:34   25    Q     Since Vascepa entered the market has there been other
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10:05:39    1   recognition among clinicians that Vascepa lowers triglyceride

10:05:43    2   in patients with very high triglycerides without substantially

10:05:46    3   raising LDL-C or causing serious side effects?

10:05:50    4    A   Yes counsel.

10:05:51    5    Q   Have you prepared a slide summarizing some of that

10:05:54    6   recognition?

10:05:54    7    A   Yes.

10:05:55    8                    MR. ELIKAN:   Can we have PDX 6-9, please.

10:05:55    9   BY MR. ELIKAN:

10:05:59   10    Q   And before we talk about the contents, can you identify

10:06:02   11   the exhibits referenced in the slide.

10:06:05   12    A   Yes, there are two manuscripts the first is by Fialkow,

10:06:12   13   F-i-a-l-k-o-w, published in 2006 in the American Journal of

10:06:17   14   Cardiovascular Drugs and this is PX 852.

10:06:21   15    Q   Doctor, you said 2006 or at least that's what I heard.

10:06:24   16    A   2016.

10:06:27   17    Q   That's PX 582?

10:06:33   18    A   Yes.

10:06:34   19    Q   And on the right?

10:06:36   20    A   One on the right published by Castaldo 2016 in Drugs and

10:06:43   21   Therapy Perspective, and this PX 866.

10:06:44   22    Q   Did you review each of these articles and rely on them in

10:06:48   23   forming your opinions?

10:06:49   24    A   Yes.

10:06:49   25                    MR. ELIKAN:   We move for admission PX 852 and
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                                                                                   1614



10:06:53    1   866.

10:06:53    2                    MR. KLEIN:   No objection.

10:06:54    3                    THE COURT:   852 and 866 are admitted.

10:06:54    4                           (Plaintiffs' Exhibits 852 and 866
10:06:54                                 received in evidence.)
10:06:54    5   BY MR. ELIKAN:

10:06:59    6    Q     I want to walk through now what each of these articles

10:07:03    7   say about Vascepa.     Can you do that for us starting with

10:07:07    8   Fialkow.

10:07:07    9    A     Yes.   Dr. Fialkow notes,

10:07:07   10                   "Use of products containing both DHA and EPA

10:07:15   11          also require periodic monitoring of LDL-C during

10:07:17   12          therapy due to the potential for increases in this

10:07:20   13          lipid parameter while treatment with the EPA only

10:07:24   14          product, icosapent ethyl or Vascepa has no LDL-C

10:07:28   15          monitoring requirement."

10:07:29   16    Q     And Castaldo?

10:07:31   17    A     Dr. Castaldo notes,

10:07:33   18                   "Switching statin add-on therapy from

10:07:37   19          fenofibrates to icosapent ethyl or Vascepa maintained

10:07:40   20          or improved the lipid profile and was well-tolerated

10:07:43   21          with no adverse reactions in a series of patients

10:07:47   22          with hypertension and high cardiovascular risk.

10:07:50   23          Important differences between icosapent ethyl and

10:07:53   24          other add-on therapy options include its good safety

10:07:57   25          and tolerability profile and the fact that it does
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10:08:00    1        not increase LDL-C levels as supported by clinical

10:08:05    2        studies and the icosapent ethyl or Vascepa product

10:08:08    3        label."

10:08:08    4    Q   And tying these two articles together, what are the

10:08:13    5   authors saying here about the effect of Vascepa, if any, on

10:08:17    6   LDL-C in patients with very high triglycerides?

10:08:20    7    A   It's neutral.

10:08:22    8    Q   And by neutral, do you mean that it doesn't raise LDL-C?

10:08:31    9    A   Yes, and hence, does not require monitoring.

10:08:35   10    Q   Are the statements in these articles, to your view an

10:08:38   11   accurate reflection of the views of the medical community

10:08:43   12   about the effects of Vascepa on LDL-C?

10:08:45   13    A   Yes, this was widely acknowledged.

10:08:48   14    Q   Since you began prescribing Vascepa to patients has an

10:08:52   15   additional clinical trial provided further reasons for you to

10:08:57   16   prescribe Vascepa to your patients?

10:08:58   17    A   Yes.

10:08:59   18    Q   What trial?

10:09:00   19    A   REDUCE-IT.

10:09:01   20                   MR. ELIKAN:    Can we have PX 1189.

10:09:08   21                   And, Your Honor, this was previously admitted

10:09:11   22   with Dr. Ketchum it's the REDUCE-IT clinical study report.

10:09:13   23                   Let's turn to page 135 and I want to look at the

10:09:17   24   paragraph at the bottom.

10:09:17   25
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10:09:17    1   BY MR. ELIKAN:

10:09:19    2    Q   There's reference to Figure 11-3 in that paragraph, do

10:09:27    3   you see that?

10:09:27    4    A   I do.

10:09:29    5    Q   What does it say about Figure 3?

10:09:33    6    A   This is --

10:09:33    7    Q   What information does this paragraph say is contained in

10:09:37    8   Figure 11-3?

10:09:38    9    A              "A forest plot of the analyses of the

10:09:41   10        individual components of the primary and key

10:09:41   11        secondary endpoints, each analyzed as independent

10:09:49   12        endpoints namely time to first occurrence of nonfatal

10:09:51   13        myocardial," or heart attack, "regardless of the time

10:09:54   14        to first occurrence of any other endpoints for the

10:09:57   15        same patient) is presented."

10:09:59   16    Q   So all of that is in Figure 11-3?

10:10:01   17    A   Yes.

10:10:04   18                    MR. ELIKAN:   Let's see how primary and secondary

10:10:11   19   endpoints are defined.     Can we turn to page 131 under the

10:10:15   20   heading Primary Endpoint Analysis.

10:10:15   21   BY MR. ELIKAN:

10:10:18   22    Q   What does it state about how the primary composit

10:10:22   23   endpoint was defined.

10:10:26   24    A   It included five components, cardiovascular death,

10:10:29   25   nonfatal MI including silent MI.
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10:10:32    1    Q   That's a heart attack, MI?

10:10:34    2    A   Yes, sir.     EKGs were performed annually for the detection

10:10:40    3   of silent MIs or heart attacks, nonfatal stroke, coronary

10:10:46    4   revascularization would be lack stinting or bypass and

10:10:48    5   unstable angina determined do be caused by myocardial ischemia

10:10:54    6   by invasive-noninvasive testing and requiring emergent

10:10:59    7   hospitalization.

10:11:00    8    Q   So all of those together are the primary endpoint?

10:11:03    9    A   Yes.

10:11:03   10    Q   Now, let's turn to page 134 under 11.4.1.2.         What does

10:11:11   11   this indicate -- and we can highlight the first sentence --

10:11:14   12   about how the key -- the secondary endpoint was defined, the

10:11:21   13   key secondary composit endpoint.

10:11:23   14    A   The key secondary composite endpoint was from the time

10:11:28   15   from randomization to the first occurrence of the composite of

10:11:32   16   cardiovascular death, nonfatal MD or heart attack, including

10:11:35   17   silent MI, or nonfatal stroke.

10:11:43   18    Q   And with those definitions in mind, let's turn to

10:11:47   19   Figure 11-3 on page 137, the forest plot.

10:11:54   20               Do you understand this graph to be presenting a

10:11:57   21   comparison of the relative risk of cardiovascular events in

10:12:01   22   patients taking Vascepa and a statin as compared to patients

10:12:06   23   who were just taking a placebo and statin?

10:12:09   24    A   Yes, counsel.

10:12:09   25    Q   Let's run through this table quickly.
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10:12:12    1                Looking at this figure, how did Vascepa compare to

10:12:16    2   placebo in terms of the primary composite endpoint?

10:12:20    3    A   Well, the primary composite endpoint was reduced by

10:12:25    4   25 percent.    You notice that as we go across the figure, 705

10:12:30    5   people sustained a component of the primary composite endpoint

10:12:36    6   in the Vascepa group versus 901.      And those are the data used

10:12:40    7   to calculate that hazard ratio.

10:12:42    8    Q   Is that percentages afterwards?

10:12:44    9    A   Yes.

10:12:45   10    Q   So --

10:12:46   11    A   So the .75 arises from seven --

10:12:50   12    Q   Before we get to the .75, what is the percentage that the

10:12:56   13   705 over 4089 represents and what do we see as the percentage

10:12:59   14   in placebo?

10:13:02   15    A   That ratio would constitute the hazard ratio.

10:13:05   16    Q   Okay.    The 17.2 and the 22 percent together?

10:13:11   17    A   Yes.

10:13:11   18    Q   Okay.    Explain what a hazard ratio is.

10:13:15   19    A   A hazard ratio compares the incidence of an endpoint in

10:13:20   20   the treatment arm compared to the placebo group.

10:13:22   21    Q   And how is the hazard ratio here related to relative risk

10:13:29   22   reduction?

10:13:29   23    A   Well, in general, it would be one minus .75, or 25

10:13:38   24   percent.

10:13:38   25    Q   So is this a 25 percent relative risk reduction?
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10:13:41    1    A   Yes, it is statistically highly significant with a P

10:13:45    2   value of .0001.

10:13:48    3    Q   And what does this figure report for the relative risk

10:13:51    4   reduction for Vascepa in terms of the key secondary composite

10:13:56    5   endpoint?

10:13:56    6    A   It reports a 26 percent relative risk reduction also

10:14:01    7   statistically highly significant.

10:14:03    8    Q   What about for cardiovascular death?

10:14:06    9    A   20 percent, statistically significant, P equals .03.

10:14:13   10    Q   What about for nonfatal myocardial infarction?

10:14:17   11    A   That was reduced by 31 percent, P less than .0001.

10:14:26   12    Q   Nonfatal stroke.

10:14:28   13    A   Nonfatal stroke was reduced by 28 percent, P value .01.

10:14:36   14    Q   Doing the math, I came up with 29.        You came up with 28.

10:14:40   15    A   Yes, sir.    I'm sorry, The New England Journal of Medicine

10:14:43   16   paper reports 28 and here it reports 29.

10:14:46   17    Q   Coronary revascularization, what relative risk reduction

10:14:53   18   is reported?

10:14:53   19    A   That is 33 percent, P less than .0001.

10:14:59   20    Q   And are all of these statistically significant

10:15:03   21   differences?

10:15:04   22    A   They are across the board.

10:15:05   23    Q   I want to turn to page 195, Table 11-24.        And what in

10:15:15   24   general terms -- we can highlight the title.        What in general

10:15:19   25   terms does this table concern?
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10:15:20    1    A   This looks at stratified analysis of time to the primary

10:15:24    2   endpoint from date of randomization by baseline triglyceride

10:15:28    3   tertiles.

10:15:28    4

10:15:29    5               So what they did was they split the REDUCE-IT cohort

10:15:34    6   into thirds or tertiles to analyze different cut points on the

10:15:40    7   triglycerides.

10:15:41    8    Q   And what are the triglyceride ranges for each of the

10:15:45    9   tertiles in the table?

10:15:46   10    A   81 to less than 190.

10:15:48   11    Q   That's for the TG lowest tertile?

10:15:51   12    A   Yes, the lowest tertile.      The middle tertile was greater

10:15:55   13   than 190 to less than 0 equal to 250.

10:15:59   14               And the highest triglyceride tertile at baseline was

10:16:03   15   greater than 250 to less than 1401.

10:16:06   16    Q   Did the third tertile then contain patients with

10:16:09   17   triglycerides over 500?

10:16:11   18    A   Yes.

10:16:11   19    Q   Does the table report the hazard ratio for each of the

10:16:15   20   tertiles?

10:16:15   21    A   It does.

10:16:16   22    Q   And looking at the first tertile, do you see a hazard

10:16:23   23   ratio of?

10:16:24   24    A   21.

10:16:26   25    Q   That's the relative risk reduction.
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10:16:28    1    A     Yes, I'm sorry.

10:16:29    2    Q     Hazard --

10:16:30    3    A     Hazard ratio, .79.

10:16:34    4    Q     Sorry, Doctor?

10:16:35    5    A     .79.

10:16:36    6    Q     Thank you.

10:16:37    7                 Looking at the second tertile, does the hazard ratio

10:16:41    8   remain essentially flat or what happens there?

10:16:43    9    A     It's flat.    It's .80.

10:16:46   10    Q     And in the third tertile, do you see a hazard ratio of

10:16:51   11   .67?

10:16:52   12    A     Yes.

10:16:52   13    Q     And what does that mean in terms of relative risk

10:16:55   14   reduction?

10:16:56   15    A     That would be about 32.5 percent.

10:17:00   16    Q     And are each of these results statistically significant?

10:17:04   17    A     They are all statistically significant.

10:17:07   18    Q     And what does this table show about the relationship

10:17:10   19   between the triglyceride levels and cardiovascular risk

10:17:13   20   reduction between and among these different tertiles?

10:17:16   21    A     Well, if you look at the P value in upper right corner

10:17:20   22   it's .33 which is not statistically significant so the

10:17:24   23   conclusion here is that the benefit in each of these tertiles

10:17:28   24   was the same.      There isn't a greater benefit in the highest

10:17:33   25   tertile, but all three tertiles do manifest benefit.
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10:17:37    1    Q   So are the results obtained with these three different

10:17:43    2   sub populations or three tertiles dependent or independent of

10:17:49    3   their baseline triglyceride levels?

10:17:51    4    A   Independent.

10:17:53    5    Q   And what does that indicate, if anything, about the

10:17:57    6   relationship between baseline triglyceride levels and whether

10:18:00    7   or not patients derive cardiovascular benefits from Vascepa?

10:18:04    8    A   That there was benefit independent of baseline

10:18:07    9   triglycerides.

10:18:08   10    Q   Does that mean that regardless of the baseline

10:18:10   11   triglyceride levels, there's benefit?

10:18:12   12    A   Yes.

10:18:12   13    Q   And from this analysis, what do you conclude about

10:18:17   14   whether patients with very high triglycerides experience

10:18:21   15   cardiovascular risk reduction by being taking Vascepa?

10:18:26   16    A   They do.    An the FDA agreed with that evaluation as well.

10:18:29   17    Q   With Vascepa, after REDUCE-IT, wouldn't there still be

10:18:36   18   some concern that patients with very high triglycerides are

10:18:41   19   going experience this substantial increase, this zoom up in

10:18:45   20   their LDL-C levels that would negate the cardiovascular

10:18:50   21   benefits that are seen in patients with triglyceride levels

10:18:54   22   below 500?

10:18:55   23    A   Counsel I'm sorry.     Could you repeat that.

10:18:57   24    Q   After REDUCE-IT, wouldn't there still have been a concern

10:19:01   25   that patients with very high triglycerides would experience
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10:19:06    1   this substantial increase in LDL-C that would negate the

10:19:12    2   cardiovascular benefits that were seen in patients were

10:19:15    3   triglyceride levels below 500?

10:19:18    4    A   No.    And we clearly did not observe that in the REDUCE-IT

10:19:21    5   trial.

10:19:23    6    Q   And what, if anything did MARINE have to say about

10:19:26    7   whether that would occur in the 500 and above population?

10:19:31    8    A   MARINE showed that that would not occur.

10:19:34    9    Q   Have the results been published in a peer reviewed

10:19:47   10   publication?

10:19:48   11    A   For REDUCE-IT?

10:19:49   12    Q   For REDUCE-IT.

10:19:50   13    A   Yes.

10:19:51   14                    MR. ELIKAN:   Can we have PX 272.

10:19:57   15                    This is the -- has been previously admitted.

10:20:00   16   It's the publication by Dr. Bhatt and others.

10:20:04   17                    THE COURT:    Thank you.

10:20:05   18                    MR. ELIKAN:   Can we turn to page 10, figure 4.

10:20:05   19   BY MR. ELIKAN:

10:20:13   20    Q   And what's presented here in general terms.

10:20:15   21    A   This is once again a depiction of the endpoint analysis

10:20:19   22   from the REDUCE-IT trial.

10:20:23   23                    MR. ELIKAN:   And I want to direct your attention

10:20:24   24   to a passage on page 10 in the lower left hand corner.             Can we

10:20:30   25   highlight the sentence "in addition the significantly lower
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10:20:34    1   risk."

10:20:34    2   BY MR. ELIKAN:

10:20:40    3    Q      What do Dr. Bhatt and his fellow authors have to say

10:20:47    4   here?

10:20:47    5    A      I quote,

10:20:47    6                      "In addition the significantly lower risk of

            7           major adverse cardiovascular events with icosapent

            8           ethyl than with placebo appeared to occur

            9           irrespective of the attained triglyceride level at

           10           one year whether it's greater than or equal to 150 or

           11           less than 150 milligrams per deciliter, which

           12           suggests that the cardiovascular risk reduction was

           13           not associated with attainment of a more normal

10:21:13   14           triglyceride level."

10:21:13   15    Q      So what, if anything does this have to say about whether

10:21:17   16   patients with very high triglycerides experience

10:21:21   17   cardiovascular risk reduction?

10:21:25   18    A      That it didn't matter what your baseline triglyceride

10:21:29   19   level was and, moreover, even if you didn't normalize your

10:21:33   20   triglycerides in a trial, you still derive a benefit.

10:21:37   21    Q      In your opinion, will these results from the REDUCE-IT

10:21:43   22   trial have real world implications in the practice of

10:21:47   23   medicine?

10:21:47   24    A      They are tremendous real world value in the practice of

10:21:52   25   the medicine, yes.
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10:21:53    1    Q   Explain.

10:21:54    2    A   REDUCE-IT proved that when you take patients already on a

10:22:02    3   statin -- and these patients have remarkably well-controlled

10:22:07    4   LDL, with a mean baseline level of 75, median of 65, and if

10:22:15    5   they have hypertriglyceridemia above 150, there were

10:22:20    6   remarkable reductions in risk in all cardiovascular endpoints

10:22:25    7   evaluated.

10:22:26    8                This is a first in clinical trials looking at the

10:22:32    9   use of an adjunct therapy over and above statin in any patient

10:22:38   10   population not just high triglycerides.

10:22:41   11    Q   And will it have real word implications in treating

10:22:45   12   patients with severe hypertriglyceridemia?

10:22:47   13    A   Absolutely.

10:22:48   14    Q   You said, I believe, that no triglyceride lowering agent

10:23:00   15   had ever shown these cardiovascular benefits on top of statin

10:23:04   16   therapy; is that right?

10:23:05   17    A   That's correct.

10:23:06   18    Q   Had any approved triglyceride lowering agent shown such

10:23:06   19   cardiovascular benefits in patients with very high

10:23:13   20   triglycerides?

10:23:13   21    A   No, counsel.

10:23:14   22    Q   And how is the medical community responded to the

10:23:19   23   REDUCE-IT trial results?

10:23:21   24    A   With considerable enthusiasm.

10:23:25   25    Q   And has that enthusiastic response been -- has it been
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10:23:30    1   reflected in the medical and other literature?

10:23:33    2    A   Yes.

10:23:33    3    Q   And did you review some of that literature for your work

10:23:36    4   in this case?

10:23:36    5    A   I did.

10:23:38    6                    MR. ELIKAN:   Let's turn to PX 959.

10:23:38    7   BY MR. ELIKAN:

10:23:43    8    Q   What is PX 959, Doctor?

10:23:46    9    A   It's the editorial by John Kastelein and Erik Stroes that

10:23:46   10   accompanied publication of the REDUCE -IT trial in the New

10:23:58   11   England Journal of Medicine.

10:23:58   12    Q   Did you rely on it in forming your opinions?

10:24:01   13    A   Yes.

10:24:03   14                    MR. ELIKAN:   We move for admission of PX 959.

10:24:07   15                    MR. KLEIN:    No objection.

           16                    THE COURT:    959 is admitted.

           17                           (Plaintiffs' Exhibit 959 received in
                                         evidence.)
           18   BY MR. ELIKAN:

           19    Q   Let's look at a few passages from this editorial.             I'm

10:24:17   20   going to direct your attention to the last paragraph in the

10:24:17   21   left-hand column of the first page, continuing on to the

10:24:21   22   right-hand column.

10:24:24   23               In the first sentence the one beginning "we

10:24:27   24   welcome," how did the authors respond to the REDUCE-IT

10:24:31   25   results?
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10:24:32    1    A   Drs. Kastelein and Stroes noted "we welcome these results

10:24:38    2   with surprise, speculation, and hope."

10:24:39    3    Q   And what do they say was surprising?

10:24:42    4    A             "Most surprising was the difference between

10:24:44    5        the results of REDUCE-IT and those of many previous

10:24:47    6        trials of omega-3 fatty acids.       A meta-analysis of

10:24:52    7        ten randomized trials involving 78,000 patients did

10:24:57    8        not show that the groups that received omega-3 fatty

10:25:01    9        acids had a lower risk of major adverse

10:25:03   10        cardiovascular events than those receiving placebo,

10:25:06   11        nor did ASCEND," the acronym stands for A Study of

10:25:12   12        Cardiovascular Events in Diabetes, "which tested one

10:25:15   13        gram capsules containing 840 milligrams of Marine

10:25:19   14        omega-3 fatty acids daily in patients, with type 2

10:25:22   15        diabetes."

10:25:28   16    Q   You mentioned a meta-analysis.

10:25:31   17    A   Yes.

10:25:31   18    Q   What's that?

10:25:32   19    A   Well, a meta-analysis is a statistical tool that's used

10:25:37   20   to evaluate complex medical issues where perhaps clinical

10:25:43   21   trials have had difficulty showing a benefit.

10:25:46   22               The advantage of a meta-analysis is that it can take

10:25:49   23   large numbers of patients from many different trials and

10:25:53   24   combine them and come up with an answer, hopefully.

10:25:59   25                   MR. ELIKAN:    Let's look at one more passage in
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10:26:01    1   this editorial.    Can we pull up the last paragraph of the

10:26:05    2   article on page 2 and highlight the first sentence.

10:26:05    3   BY MR. ELIKAN:

10:26:09    4    Q   What do the authors note here?

10:26:12    5    A   They conclude,

10:26:13    6                  "After a parade of failed cardiovascular

10:26:16    7        outcome trials of fish oils, REDUCE-IT has shown a

10:26:19    8        substantial benefit with respect to major adverse

10:26:21    9        cardiovascular events."

10:26:22   10    Q   And I want to zero in on that phrase "parade of failed

10:26:28   11   cardiovascular trials of fish oils."       What do you understand

10:26:32   12   the authors to mean by the "parade of failed cardiovascular

10:26:36   13   outcome trials of fish oils"?

10:26:38   14    A   Well, we've seen a large number of prospective randomized

10:26:42   15   clinical trials using the omega-3s which have failed.

10:26:46   16    Q   Did you review other commentary elsewhere expressing

10:26:51   17   surprise and enthusiasm for the REDUCE-IT results?

10:26:55   18    A   Yes, counsel.

10:26:55   19    Q   Let's turn to PX 875.

10:26:59   20               What is PX 875?

10:27:01   21    A   This is an article by Ben Fidler published in September

10:27:08   22   of 2018 entitled, "Amarin Soars As Fish Oil Pill Cuts Risk of

10:27:13   23   Strokes in Long Awaited Study."

10:27:15   24    Q   And did you rely on it in forming your opinions?

10:27:18   25    A   Yes.
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10:27:20    1                    MR. ELIKAN:   We move for admission of PX 875.

10:27:23    2                    MR. KLEIN:    No objection.

10:27:23    3                    THE COURT:    875 is admitted.

10:27:23    4                           (Plaintiffs' Exhibit 875 received in
10:27:23                                 evidence.)
10:27:28    5                    MR. ELIKAN: If we can turn to page 2 and let's

10:27:30    6   a pull up the third and fourth paragraphs.

10:27:30    7   BY MR. ELIKAN:

10:27:32    8    Q   Do you see a reference to Dr. Norman Lepor?

10:27:36    9    A   Yes.

10:27:36   10    Q   Who is that?

10:27:37   11    A   Norm is a cardiologist at Cedars-Sinai Heart Institute at

10:27:37   12   UCLA in LA.

10:27:45   13    Q   Is he someone you know?

10:27:47   14    A   Yeah.

10:27:47   15    Q   Well-regarded?

10:27:47   16    A   Oh, yeah.

10:27:48   17    Q   Do you see that he says the data are a game changer?

10:27:52   18    A   Yes.

10:27:52   19    Q   What do you understand him to be referring to by the

10:27:56   20   data, that is, what data is he describing as a game changer?

10:28:01   21    A   The REDUCE-IT trial.

10:28:04   22    Q   And looking at the next paragraph, what else does

10:28:08   23   Dr. Lepor have to say?

10:28:09   24    A   Norm says, "The results will impact how I treat patients

10:28:13   25   starting tomorrow."
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10:28:14    1                    MR. ELIKAN:   Let's go to page 3 and pull up the

10:28:18    2   top paragraph.

10:28:18    3   BY MR. ELIKAN:

10:28:21    4    Q   What else does Dr. Norman Lepor at Cedars-Sinai have to

10:28:27    5   say about REDUCE-IT and Vascepa at the top of the page?

10:28:30    6    A   Dr. Lepor says,

10:28:31    7                   "The REDUCE-IT results confirm that Vascepa

10:28:34    8        has unique characteristics that will not allow me to

10:28:38    9        extrapolate the results from this trial to other

10:28:41   10        prescribed or over-the-counter fish oils."

10:28:45   11    Q   Are there other examples in the literature, commenting on

10:28:49   12   the REDUCE-IT results?

10:28:50   13    A   Yes.

10:28:50   14    Q   And have you prepared a slide summarizing some of that

10:28:54   15   commentary?

10:28:55   16    A   Yes.

10:28:56   17                    MR. ELIKAN:   Can we have PDX 6-10.

10:28:56   18   BY MR. ELIKAN:

10:29:00   19    Q   Can you identify the exhibits referenced in this slide?

10:29:04   20    A   Sure.    The first is one which quotes Dr. Michael Blaha,

10:29:10   21   in the New York Times dated September 2018 and it's PX 0952.

10:29:17   22                The second is one quoting Dr. Prakash, that's

10:29:21   23   P-r-a-k-a-s-h, Deedwania, D-e-e-d-w-a-n-i-a, and this was in

10:29:31   24   Chest Physician in November of 2018 and this is PX 0902.

10:29:37   25                The third is one by Dr. Michael Shapiro,
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10:29:41    1   S-h-a-p-i-r-o, this was a conference call on cardiovascular

10:29:46    2   drugs in December 2018 and it is PX 0714?

10:29:54    3                    MR. ELIKAN:   Your Honor, we move for admission

10:30:00    4   of PX 952, 902 and 714 into evidence.

10:30:01    5                    MR. KLEIN:    No objection, Your Honor.     I think

10:30:02    6   there's an agreement these statements are not being moved in

10:30:05    7   for the truth of the matter asserted therein.        If that's

10:30:08    8   correct, then no objection.

10:30:09    9                    THE COURT:    Is that correct, counsel?

10:30:11   10                    MR. ELIKAN:   Yes.

10:30:12   11                    THE COURT:    All right.   With that qualification,

10:30:14   12   the three exhibits are admitted, 952, 902 and 714.

10:30:14   13                           (Plaintiffs' Exhibits 952, 902 and 714
10:30:14                                 received in evidence.)
10:30:14   14   BY MR. ELIKAN:

10:30:22   15    Q   Can you take us, Doctor, through the commentary reflected

10:30:26   16   on this slide beginning with the statement of Dr. Michel

10:30:27   17   Blaha.

10:30:30   18    A   Yeah, Dr. Blaha notes,

10:30:32   19                  "I'm very surprised by the magnitude of the

10:30:35   20        results which, quite frankly, are large.        My

10:30:38   21        expectations were very low.       A lot of people are

10:30:43   22        legitimately surprised by this."

10:30:46   23    Q   And do you know Dr. Michael Blaha?

10:30:49   24    A   Oh, yeah.

10:30:50   25    Q   I see he's also at the Ciccarone Center; is that right?
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10:30:54    1    A   Yeah, we published a lot of papers together.

10:30:56    2    Q   What did Dr. Deedwania have to say in the Chest Physician

10:31:02    3   article?

10:31:02    4    A   Dr. Deedwania notes,

10:31:04    5                  "REDUCE-IT is a phenomenal trial and a game

10:31:08    6        changer because it has shown for the first time that

10:31:11    7        triglyceride reduction with an appropriate therapy,

10:31:14    8        in this case icosapent ethyl, when used in an

10:31:16    9        appropriate doses can make a significant difference."

10:31:20   10    Q   And Dr. Shapiro.

10:31:22   11    A             "So I think most people in this field would

10:31:25   12        look at this as a homerun and really view this as

10:31:29   13        being an inflection point in our ability to manage

10:31:35   14        atherosclerotic cardiovascular disease risk.         We have

10:31:38   15        a new option that impacts cardiovascular outcomes to

10:31:41   16        a greater extent than just throwing on more LDL

10:31:45   17        cholesterol lowering drugs.       So now we have a new

10:31:49   18        option for patients in this category who also happen

10:31:52   19        to have elevated triglycerides where you're going to

10:31:56   20        get more bang for your buck by using kind of an

10:32:01   21        orthogonal therapy."

10:32:02   22    Q   I asked you about Dr. Blaha, do you also know

10:32:06   23   Dr. Deedwania and Shapiro.

10:32:08   24    A   Yes, they're good friends.

10:32:10   25    Q   Are they, each of these three individuals well-regarded
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                                                                                   1633



10:32:13    1   cardiologists or preventive cardiologists?

10:32:16    2    A   Yes.

10:32:18    3    Q   Is the commentary that we've been looking at the full

10:32:21    4   extent of praise for the REDUCE-IT results or just examples?

10:32:25    5    A   These are examples.

10:32:31    6    Q   Let's now turn to the patents and the asserted claims.

10:32:34    7   Have you prepared a slide identifying the claims Amarin is

10:32:38    8   asserting in this case?

10:32:39    9    A   Yes, counsel.

10:32:39   10                   THE COURT:   And I think, counsel, this may be a

10:32:41   11   good time for us to take our morning recess since you are

10:32:44   12   moving to a different topic.

10:32:47   13                   We'll take our recess at this time.       I -- I

10:32:50   14   don't know if Ms. Vannozzi has advised you of a hearing I have

10:32:54   15   at 1:30 that I need to try to manage.       I'll figure out if we

10:32:59   16   should do it in this courtroom or another courtroom, but that

10:33:03   17   hearing I expect will be about 30 minutes.

10:33:03   18                   Thank you.

10:33:03   19                           (A recess was taken.)

10:53:57   20                   THE COURT:   Please be seated.

11:21:36   21                   Counsel, I apologize, I have to address an

11:21:39   22   emergency matter in our Las Vegas courthouse.        It's emergency

11:21:45   23   because there's no power so I had to close the courthouse.          I

11:21:48   24   may get interrupted again as we try to evacuate everybody from

11:21:53   25   the building.
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11:21:54    1                    So I apologize.

11:21:57    2                    MR. ELIKAN:   May I proceed, Your Honor?

11:21:58    3                    THE COURT:    Yes.

11:21:59    4                    MR. ELIKAN:   Can we have PDX 6-8, please.

11:22:06    5                    Your Honor, I neglected --

11:22:08    6                    THE COURT:    Is one that you wanted to move for

11:22:10    7   admission?

11:22:10    8                    MR. ELIKAN:   Yes, I moved in the other one and I

11:22:13    9   received a note saying I hadn't a moved in PDX 6-8 I will rule

11:22:18   10   it under rule --

11:22:20   11                    THE COURT:    Any objection?

11:22:21   12                    MR. KLEIN:    No objection.

11:22:21   13                    THE COURT:    PDX 6-8 is admitted.    I had a note

11:22:25   14   to remind you at the end as well, so I'm glad you remembered.

11:22:25   15                           (Plaintiffs' Exhibit 6-8 received in
11:22:25                                 evidence.)
11:22:25   16   BY MR. ELIKAN:

11:22:30   17    Q      When we were looking earlier, Doctor, at the Tricor and

11:22:33   18   Lovaza demonstratives, I asked you some questions about

11:22:37   19   predictability and I wanted to make sure we were on the same

11:22:40   20   page.

11:22:40   21                Would a person of ordinary skill in the art in 1998

11:22:43   22   have expected to see the same elevation of LDL-C when a

11:22:49   23   triglyceride-lowering agent is given to a very high

11:22:52   24   triglyceride population as is seen when a

11:22:57   25   triglyceride-lowering agent is given to a population with
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11:23:00    1   lower triglyceride levels?

11:23:02    2    A   No.

11:23:03    3    Q   What, instead, would the person of ordinary skill in the

11:23:06    4   art expect?

11:23:07    5    A   They would have expected that with baseline triglyceride

11:23:11    6   above 500, the elevation would have been much steeper, much

11:23:15    7   more substantial compared to less than 500.

11:23:18    8               And, in fact, if we look at patients with

11:23:25    9   triglycerides less than 500, as we saw with fenofibrate label,

11:23:32   10   if they were around 230, they might actually decrease.

11:23:36   11    Q   I would like to turn now to the patents and the asserted

11:23:40   12   claims.    Have you prepared a slide identifying the claims

11:23:45   13   Amarin is asserting?

11:23:46   14    A   Yes.

11:23:47   15                    MR. ELIKAN:   Can we have PDX 6-11.

11:23:47   16   BY MR. ELIKAN:

11:23:54   17    Q   Are these the same claims that Dr. Budoff identified in

11:23:57   18   his testimony?

11:23:58   19    A   Yes, counsel.

11:23:58   20    Q   And Dr. Budoff testified -- do you recall his testimony,

11:24:03   21   did you review it?

11:24:04   22    A   Yes.

11:24:04   23    Q   Do you recall that Dr. Budoff testified that use of

11:24:09   24   Vascepa, according to the product label, is covered by these

11:24:15   25   claims.    Will you be relying on that testimony today?
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11:24:17    1    A   Yes, I will be relying on that testimony.

11:24:19    2    Q   Let's cover a few preliminary before we get into the

11:24:23    3   heart of your opinions?

11:24:23    4               Were you instructed about the standard to be used in

11:24:27    5   evaluating whether a patent claim would be obvious.

11:24:29    6    A   Yes.

11:24:31    7                    MR. ELIKAN:   Can we have PDX 6-12, please.

11:24:31    8   BY MR. ELIKAN:

11:24:37    9    Q   What are the factors that you were informed must be

11:24:39   10   considered in an obviousness analysis?

11:24:42   11    A   There are four.     Scope and content of the prior art,

11:24:46   12   differences between the claimed invention and the prior art,

11:24:51   13   level of ordinary skill in the art, and objective evidence of

11:24:55   14   non-obviousness, including unexpected results, long felt need,

11:25:00   15   failure of others, skepticism and praise for or industry

11:25:05   16   recognition of the invention.

11:25:09   17    Q   And you just were telling us what's on the left side of

11:25:13   18   the legal standard slide.      What do you have on the right

11:25:16   19   there?

11:25:16   20    A   A claim may be obvious if a person of ordinary skill in

11:25:21   21   the art who have had, number one, been motivated to combine

11:25:24   22   prior art references to arrive at the claimed invention.

11:25:28   23               And number two, reasonably expected success in

11:25:31   24   making the claimed invention.

11:25:32   25    Q   And did you apply the standards that you've just
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11:25:35    1   testified to and that are displayed on PDX 6-12?

11:25:39    2    A   Yes.

11:25:40    3    Q   In evaluating whether the asserted claims would have been

11:25:47    4   obvious, did you consider the credentials of the person of

11:25:50    5   ordinary skill in the art?

11:25:52    6    A   Yes.

11:25:53    7                    MR. ELIKAN:   Can we have PDX 6-13.

11:25:53    8   BY MR. ELIKAN:

11:25:56    9    Q   Can you identify the qualifications that you used for the

11:26:03   10   person of ordinary skill in the art?

11:26:03   11    A   A clinician with M.D. or DO and at least 2 to 3 years in

11:26:09   12   the experience of diagnosis, evaluation, and treatment of

11:26:12   13   lipid blood disorders including severe hypertriglyceridemia

11:26:15   14   including triglyceride levels of at least 500, or,

11:26:19   15   alternatively, a clinician, such as a nurse practitioner or

11:26:23   16   physician's assistant with 3 to 5 years of experience in the

11:26:26   17   diagnosis, evaluation and treatment of lipid blood disorders

11:26:30   18   including severe hypertriglyceridemia.

11:26:32   19    Q   Do you recall that Dr. Heinecke used a different set of

11:26:35   20   credentials for the person of ordinary skill in the art than

11:26:39   21   you did?

11:26:39   22    A   Yes.

11:26:40   23    Q   Would your opinions that the asserted claims were not

11:26:42   24   obvious be any different if you used the set of credentials

11:26:47   25   that he used instead?
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11:26:48    1    A   No, counsel.

11:26:50    2    Q   And in evaluating whether the claims were obvious, are

11:26:55    3   you using the same March 2008 date that Dr. Heinecke did?

11:26:59    4    A   Yes.

11:26:59    5    Q   Do you recall that Dr. Heinecke testified that his

11:27:02    6   opinions would not be different if he used the date of

11:27:05    7   February 2009?

11:27:06    8    A   Yes.

11:27:06    9    Q   Would your opinions also remain the same?

11:27:09   10    A   Yes.

11:27:10   11    Q   Earlier in this case, the Court construed some of the

11:27:14   12   claim terms in the asserted patents, did you consider and

11:27:17   13   apply those constructions in your analysis?

11:27:20   14    A   Yes.

11:27:20   15    Q   Among the claim constructions it ruled upon, the Court

11:27:25   16   concluded that "substantially no DHA" means no more than four

11:27:30   17   percent DHA.    Do you understand that?

11:27:32   18    A   I do.

11:27:33   19    Q   And if I use that phrase substantially no DHA, will you

11:27:38   20   understand that I mean no more than four percent?

11:27:40   21    A   Yes, counsel.

11:27:41   22    Q   I want to turn now to your opinions that the asserted

11:27:46   23   claim were not obvious.

11:27:49   24                Dr. Heinecke testified that the asserted claims

11:27:53   25   would have been obvious over a combination of what he called
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11:27:58    1   key prior art references and I want to show you his

11:28:01    2   combination.

11:28:02    3                    MR. ELIKAN:   Can we have PDX 6-14.

11:28:02    4   BY MR. ELIKAN:

11:28:09    5    Q   And do you agree with Dr. Heinecke's contentions that --

11:28:13    6   contention that the asserted claims would have been obvious

11:28:16    7   over his proposed combination of what he calls the key prior

11:28:20    8   art Lovaza PDR, Mori 2000, Hayashi and Kurabayashi?

11:28:27    9    A   No.

11:28:28   10    Q   Let's start with the Lovaza PDR.

11:28:32   11                You previously testified the treatment with Lovaza

11:28:35   12   produces a large LDL-C increase in patients with very high

11:28:40   13   triglycerides.

11:28:40   14                    MR. ELIKAN:   I want to look at DX 1535, the PDR,

11:28:47   15   at page 3.    And can we blow up Table 2 and can we highlight

11:28:57   16   the LDL-C line.

11:28:57   17   BY MR. ELIKAN:

11:29:01   18    Q   Is that LDL-C increase reflected in the Lovaza PDR?

11:29:05   19    A   Yes.

11:29:05   20    Q   And what specifically is the difference between Lovaza

11:29:10   21   and placebo recorded?

11:29:11   22    A   For LDL, it's a 44.5 percent increase compared to

11:29:21   23   baseline.

11:29:21   24    Q   And adjusted for placebo?

11:29:23   25    A   Yes.
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11:29:24    1    Q      No, no, I'm asking you and what is the number adjusted

11:29:28    2   for placebo?

11:29:29    3    A      49.3.

11:29:31    4    Q      Is there any statement anywhere in the Lovaza PDR that

11:29:38    5   attributes the rise in LDL-C in severely hypertriglyceridemic

11:29:45    6   patients to either the DHA component alone or the EPA

11:29:50    7   component alone as opposed to the combination of the two and

11:29:55    8   other omega-3 fatty acids in Lovaza?

11:29:58    9    A      No, counsel.

11:29:59   10    Q      Let's turn now to Mori 2000, DX 1538.

11:30:13   11                   And looking at page 1 in the abstract, in the

11:30:16   12   section called Objective, what did Mori report was the purpose

11:30:22   13   of the study that's discussed in the article?

11:30:26   14    A      The study's aim was to determine whether EPA and DHA had

11:30:31   15   differential effects on serum lipids and lipoproteins, glucose

11:30:31   16   and insulin in humans.

11:30:40   17    Q      I want to look right below that to the section entitled

11:30:43   18   Design.    Can you briefly describe the design of the study in

11:30:48   19   Mori.

11:30:48   20    A      It's a double-blind, placebo-controlled trial of parallel

11:30:53   21   design including 59 overweight nonsmoking mildly

11:30:58   22   hyperlipidemic men who were randomly assigned to receive four

11:31:04   23   grams of purified EPA, DHA, or olive oil, which served as the

11:31:09   24   placebo daily while continuing their usual diets for six

11:31:13   25   weeks.
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11:31:13    1    Q   Did you say mildly hyperlipidemic?

11:31:17    2    A   Yes.

11:31:18    3    Q   What does that description indicate about whether

11:31:21    4   Dr. Mori believed he was reporting results relating to

11:31:26    5   treatment of patients with severe hypertriglyceridemia?

11:31:26    6    A   Well, he clearly was not treating patients with severe

11:31:30    7   hypertriglyceridemia.

11:31:31    8    Q   And were the 59 subjects that you mentioned divided into

11:31:36    9   smaller groups or treated all together?

11:31:39   10    A   They were divided into three separate groups.

11:31:43   11                    MR. ELIKAN:   Let's turn to Table 2 at page 4.

11:31:46   12   Can we highlight the title.

11:31:46   13   BY MR. ELIKAN:

11:31:51   14    Q   What type of information is in this table?

11:31:53   15    A   This is a summary of the fasting serum lipids, glucose

11:31:58   16   and insulin at baseline and postintervention in the three

11:32:02   17   groups.

11:32:03   18    Q   And do you see at the top of the treatment columns in

11:32:07   19   Table 2, what's reported there about how many study subjects

11:32:13   20   were in the different treatment arms of the study?

11:32:15   21    A   There were 20 in the olive oil control group, 19 in the

11:32:20   22   EPA group and 17 in the DHA group.

11:32:23   23    Q   How would you characterize the size of a study arm with

11:32:27   24   19 subjects?

11:32:29   25    A   It would be considered small.
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11:32:31    1    Q   Now, Table 2 reports several values including

11:32:37    2   triglycerides and LDL-C levels, right?

11:32:40    3    A   Yes.

11:32:41    4    Q   In what unit of measurement does Mori report these

11:32:45    5   values?

11:32:45    6    A   This is a paper from Australia and there they use

11:32:53    7   millimoles per liter.

11:32:54    8    Q   Have you converted the LDL-C and triglyceride values

11:33:00    9   reported in Mori from millimoles per liter to the milligrams

11:33:00   10   per deciliter that we've been talking about at trial?

11:33:02   11    A   Yes.

11:33:03   12                    MR. ELIKAN:   Can we have PDX 6-15.

11:33:03   13   BY MR. ELIKAN:

11:33:09   14    Q   What did Mori report was the effect on the LDL-C levels

11:33:13   15   in the patients taking EPA and DHA between baseline and

11:33:19   16   postintervention?

11:33:20   17    A   A three-and-a-half percent increase in the EPA group that

11:33:24   18   was not statistically significant and an eight percent rise in

11:33:28   19   the DHA group that was statistically significant.

11:33:32   20    Q   And as far as the numbers in milligrams per deciliter are

11:33:36   21   concerned, what was the shift in EPA from baseline to

11:33:41   22   postintervention?

11:33:42   23    A   LDL increased from 166 to 17, milligrams per deciliter.

11:33:48   24    Q   And in the DHA arm?

11:33:50   25    A   LDL increased from 165 to 179 milligrams per deciliter.
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11:33:55    1    Q    So did both raise LDL-C?

11:33:58    2    A    Numerically they both increased.

11:34:01    3    Q    And what were the baseline triglyceride levels of

11:34:04    4   patients who received EPA and DHA in Mori 2000 when expressed

11:34:10    5   in terms of milligrams per deciliter?

11:34:12    6    A    178 milligrams per deciliter.      And the DHA group was

11:34:19    7   199 milligrams per deciliter.

11:34:20    8    Q    And the 178 you mention is for the EPA group?

11:34:23    9    A    Yes.

11:34:27   10    Q    And were those patients I just want to make sure I'm

11:34:31   11   clear with severe hypertriglyceridemia?

11:34:33   12    A    No, counsel.

11:34:34   13    Q    Would a person of ordinary skill in the art in 2008

11:34:37   14   nevertheless have understood that the magnitude of LDL-C

11:34:42   15   increases reported in these patients would be applicable to

11:34:47   16   patients with very high triglycerides?

11:34:49   17    A    No, counsel.    These are borderline high triglyceride

11:34:53   18   patients, and we've already established that the patients with

11:34:56   19   very high triglycerides have a very different LDL response.

11:35:00   20    Q    So I believe you characterize the sample size at least in

11:35:08   21   the EPA arm as small, right?

11:35:11   22    A    Yes.

11:35:12   23    Q    How do the baseline triglyceride levels of the group

11:35:14   24   taking EPA compare with the group taking DHA?

11:35:18   25    A    It's lower.    The baseline for EPA is 21 milligrams per
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11:35:25    1   deciliter lower in the EPA group compared to the DHA group.

11:35:29    2    Q     So the person of ordinary skill in the art I take it

11:35:37    3   would have seen that while there's numerical, I think that's

11:35:41    4   the word you used, increase in LDL-C in both arms only in the

11:35:46    5   DHA arm was the difference significantly significant?

11:35:52    6    A     Yes, sir.

11:35:52    7    Q     Would the person of ordinary skill in the art have

11:35:53    8   attributed this difference to the intrinsic properties of EPA

11:35:57    9   or instead to other issues like sample size or difference in

11:36:00   10   baseline triglyceride levels between the two groups?

11:36:04   11    A     It would have been the latter.

11:36:11   12                      MR. ELIKAN:   I want to ask you about a few more

11:36:13   13   passages in Mori.      Could we turn to page 3, in the section

11:36:17   14   about serum lipids in the right hand column.         Can we highlight

11:36:23   15   the fifth sentence in that paragraph.

11:36:23   16   BY MR. ELIKAN:

11:36:29   17    Q     What triglyceride reductions did Mori report with EPA and

11:36:33   18   DHA?

11:36:34   19    A     The EPA group experienced an 18.4 percent reduction in

11:36:38   20   triglycerides and the DHA group experienced a 20 percent

11:36:42   21   reduction in triglycerides compared to placebo.

11:36:45   22    Q     And looking at this sentence, would the person of

11:36:48   23   ordinary skill in the art in March 2008 have believed that EPA

11:36:53   24   offered an advantage over DHA in terms of triglyceride

11:36:57   25   lowering?
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11:36:58    1    A     No.

11:36:58    2    Q     And more generally, looking at the article as a whole,

11:37:03    3   would a person of ordinary skill in the art viewed Mori as

11:37:07    4   teaching that EPA had advantages over DHA?

11:37:10    5    A     No.

11:37:11    6    Q     Let's look at some other passages in Mori.       I want to go

11:37:15    7   to page 4, the right-hand column under Discussion.

11:37:20    8                  In the first sentence, do you see that Dr. Mori

11:37:24    9   states that the study addressed whether purified EPA and DHA

11:37:30   10   have different effects on serum lipids and lipoproteins, LDL

11:37:37   11   particle size, glucose and insulin in mildly hyperlipidemic

11:37:43   12   men?

11:37:43   13    A     Yes.

11:37:44   14    Q     And is that, indeed, what the study addressed?

11:37:51   15    A     Yes.

11:37:52   16    Q     Okay.    I want to highlight the second sentence.

11:37:55   17                  Of the effects studied, what does Mori report about

11:37:59   18   the relative performance of EPA and DHA?

11:38:04   19    A     We found that DHA, but not EPA improved serum lipid

11:38:10   20   status, in particular a small increase in HDL cholesterol and

11:38:13   21   a significant increase in the HDL2 cholesterol sub fraction

11:38:18   22   without adverse effects on fasting glucose concentrations.

11:38:23   23    Q     In plain English what are they reporting there, the

11:38:25   24   authors of this paper?

11:38:26   25    A     Well, at the priority date HDL cholesterol was believed
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11:38:30    1   to be the good cholesterol.      The anti-atherogenic cholesterol

11:38:36    2   and it was believed that raising HDL cholesterol --

11:38:39    3    Q    More generally doctor, are the authors saying that EPA

11:38:45    4   has advantages over DHA or not?

11:38:47    5    A    Yes.

11:38:49    6    Q    I'm sorry I asked whether EPA is reported as showing

11:38:53    7   advantages over DHA.

11:38:55    8    A    No.    They specifically state that DHA but not EPA

11:39:04    9   improved serum lipid status.

11:39:06   10    Q    And how did you understand the authors saying that

11:39:11   11   increases in these parameters with DHA improved serum lipid

11:39:18   12   status?

11:39:18   13    A    In March of 2008, it would have been viewed as a

11:39:23   14   positive, if the HDL cholesterol level rose and specifically,

11:39:27   15   at the time, in general, the HDL-two cholesterol sub fraction

11:39:32   16   was viewed as the most beneficial sub fraction of HDL.          So

11:39:36   17   this would have been viewed in a positive light.

11:39:40   18    Q    Now, earlier we saw that LDL-C increased by 33.5 percent

11:39:45   19   -- I'm sorry, let me say that again.        By 3.5 percent in the

11:39:50   20   EPA arm and by eight percent in the DHA arm.         In view of that

11:39:55   21   difference, how do you make sense of Dr. Mori's conclusion

11:39:59   22   that DHA, but not EPA improved serum lipid status?

11:40:06   23    A    Well, he, here, notes the changes in HDL cholesterol and

11:40:11   24   HDL-two cholesterol.     They had an equal capacity to reduce

11:40:17   25   triglycerides.    Then he goes on to talk about other
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11:40:19    1   advantages.

11:40:20    2    Q    Do you regard this sentence as treating the overall serum

11:40:28    3   lipid status?

11:40:28    4    A    Yes.

11:40:29    5    Q    So given that, and given the difference between the LDL-C

11:40:41    6   performance in the two arms, how do you make sense of his

11:40:45    7   conclusion that DHA but not EPA improved serum lipid status?

11:40:50    8    A    Well, there's also an imbalance in the baseline

11:40:54    9   triglyceride level of 21 milligrams per deciliter, and I think

11:41:01   10   a POSA would have viewed that as enough to perhaps induce a

11:41:07   11   favor to EPA in terms of overall magnitude of LDL elevation.

11:41:13   12   A 21-milligram per deciliter difference could possibly account

11:41:17   13   for whether or not there was a statistically significant

11:41:21   14   difference or not in the EPA group.

11:41:25   15    Q    Would Dr. Mori's conclusion that DHA but not EPA improved

11:41:31   16   serum lipid status have led a person of ordinary skill in the

11:41:37   17   art in March 2008 to get rid of the DHA and use highly

11:41:41   18   purified EPA?

11:41:42   19    A    No.

11:41:44   20                    MR. ELIKAN:   Let's turn to page 8.     And I want

11:41:47   21   to look at the third full paragraph of the left-hand column.

11:41:51   22   Can we highlight the first sentence.

11:41:51   23   BY MR. ELIKAN:

11:41:57   24    Q    What did Mori report here about the effects of DHA and

11:42:01   25   EPA on fasting glucose?
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11:42:04    1    A    They both increased fasting insulin but only the EPA

11:42:10    2   increased fasting glucose.

11:42:11    3    Q    And would fasting glucose have been of significance, of

11:42:15    4   import to the person of person of ordinary skill in the art in

11:42:19    5   March 2008?

11:42:19    6    A    Yes, we don't like to see that.

11:42:22    7    Q    Why?

11:42:22    8    A    Because it could be a manifestation of insulin

11:42:26    9   resistance.    We know that glucose levels when they're

11:42:30   10   increased have adverse effects on arterial walls.         They can

11:42:34   11   also contribute to the development of atherosclerotic disease

11:42:38   12   by activating specific pathways.       So it's not something we

11:42:42   13   would -- we would think was a good change.

11:42:45   14    Q    Are there particular types of patients in whom this would

11:42:49   15   be seen as -- of greater importance?

11:42:53   16    A    Yes, patients with metabolic syndrome, prediabetics and

11:42:59   17   then patients who have established diabetes.

11:43:02   18    Q    Are many severely hypertriglyceridemic patients diabetic?

11:43:06   19    A    A good percentage are, yes.

11:43:08   20    Q    And are a good percentage prediabetic?

11:43:11   21    A    Yes because high triglycerides were a defining feature of

11:43:18   22   metabolic syndrome which was an indicator of insulin

11:43:22   23   resistance or pre diabetes.

11:43:25   24    Q    Would an increase in fasting glucose levels have been of

11:43:28   25   concern in the treatment of diabetics with severe
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11:43:32    1   hypertriglyceridemia?

11:43:32    2    A     Surely.

11:43:33    3    Q     And why would that be?

11:43:36    4    A     Because we don't want to do anything that's going to

11:43:40    5   antagonize glucose control.      Controlling glucose within

11:43:45    6   specific boundaries is a component of guidelines around the

11:43:51    7   world.

11:43:51    8    Q     Would Mori's conclusion that only EPA increased fasting

11:43:56    9   glucose have somehow motivated the person of ordinary skill in

11:44:04   10   the art in 2008 to get rid of the DHA and use highly purified

11:44:08   11   EPA?

11:44:09   12    A     No.

11:44:13   13                    MR. ELIKAN:    I want to turn to page 6, and the

11:44:16   14   last paragraph and highlight the first sentence.

11:44:16   15   BY MR. ELIKAN:

11:44:22   16    Q     Do you see a reference to LDL particle size?

11:44:25   17    A     Yes.

11:44:25   18    Q     What is that?

11:44:26   19    A     LDL particle size as this phrase denotes, defines

11:44:33   20   numerically the size of LDL particles circulating in the

11:44:39   21   blood.

11:44:39   22    Q     As of 2008, March 2008, would the person of ordinary

11:44:45   23   skill in the art have believed that LDL particle size was of

11:44:50   24   import to patient health?

11:44:52   25    A     Yes.   The Quebec Cardiovascular Study showed that LDL
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11:45:00    1   particle size was a factor.      Larger particles appeared so be

11:45:03    2   less atherogenic, smaller particles more atherogenic.

11:45:08    3                And there was also evidence that smaller particles

11:45:11    4   would go -- undergo changes such as oxidation that might make

11:45:15    5   them more atherogenic as well.       Smaller particles also have

11:45:20    6   greater difficulty being cleared.

11:45:23    7    Q     So in a nutshell would it be fair larger good, smaller

11:45:27    8   bad?

11:45:27    9    A     In, in general way, yes.

11:45:29   10    Q     And in this paragraph, what do the authors report about

11:45:34   11   the effect of DHA on LDL particle size?

11:45:38   12    A     That DHA reduced LDL particle size after omega-3 fatty

11:45:43   13   acid supplementation.

11:45:49   14    Q     Would this suggestion that DHA increased LDL particle

11:45:54   15   size have led the person of ordinary skill in the art in

11:45:57   16   March 2008 to say get rid of the DHA, use highly pure EPA?

11:46:03   17    A     No.   No.   At the time, it was important to try to get a

11:46:08   18   comprehensive inventory of risk factor burden and certainly

11:46:12   19   the changes wrought by DHA would not be ones that you wanted

11:46:18   20   to exclude from a therapy.

11:46:24   21    Q     Viewing the article as a whole would the person of

11:46:28   22   ordinary skill in the art have believed it was desirable to

11:46:30   23   get rid of the DHA and use highly purified EPA in patients

11:46:36   24   with very high triglycerides?

11:46:38   25    A     No, and Mori certainly does not signal that conclusion.
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                                                                                    1651



11:46:43    1    Q    And we've already addressed that Mori addressed mildly

11:46:50    2   hyperlipidemic patients, not the severely

11:46:55    3   hypertriglyceridemic.     Does Mori teach that DHA has beneficial

11:47:00    4   properties over EPA or the other way around?

11:47:03    5    A    Mori teaches that DHA as beneficial properties that

11:47:08    6   exceed those of EPA.

11:47:10    7    Q    And in light of that would the person of ordinary skill

11:47:12    8   in the art want to get rid of the DHA?

11:47:14    9    A    No.

11:47:15   10    Q    Let's turn --

11:47:15   11    A    It would be not be a logical choice.

11:47:18   12    Q    I'm sorry I missed that.

11:47:19   13    A    It would not be a logical choice.

11:47:22   14                    MR. ELIKAN:   Let's turn now to Hayashi DX 1532.

11:47:26   15   This is one the other references relied on by Dr. Heinecke in

11:47:31   16   his key prior art combination.       I want to go to page 4 and

11:47:36   17   highlight the first sentence of the section titled patients

11:47:40   18   and methods.

11:47:40   19   BY MR. ELIKAN:

11:47:47   20    Q    In that sentence what do the authors report was the

11:47:50   21   subject of the study?

11:47:51   22    A    The efficacy of ethyl icosapentate in the treatment of 28

11:47:55   23   patients with FCH, which is familial combined hyperlipidemia

11:48:03   24   and no other health problems or conditions was assessed.

11:48:06   25    Q    And ethyl icosapentate is EPA?
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                                                                                    1652



11:48:10    1    A    Yes.

11:48:10    2    Q    And what is FCH?

11:48:12    3    A    Familial combined hyperlipidemia is a state where both

11:48:18    4   LDL cholesterol and triglycerides are increased.

11:48:20    5    Q    And I want to turn to the fourth sentence of the

11:48:25    6   paragraph, the one beginning with "in the six-week period."

11:48:31    7    A    Yes.

11:48:32    8    Q    What do the authors state here about the required

11:48:36    9   baseline levels for inclusion of patients in the study?

11:48:40   10    A    They note in the six-week period before the start of the

11:48:43   11   study, a serum triglyceride concentration higher than

11:48:48   12   150 milligrams per deciliter or serum total cholesterol

11:48:53   13   concentration higher than 220 milligrams per deciliter had to

11:48:57   14   be maintained despite the dietary and lifestyle modifications

11:49:01   15   during that six-week period.

11:49:03   16    Q    You said or.    Is it sufficient to qualify and be included

11:49:07   17   in the study if you meet only one of those or do you have to

11:49:11   18   meet both of the lipid requirements?

11:49:14   19    A    One or the other.

11:49:15   20    Q    In this paragraph, is there any statement that any

11:49:23   21   subject in the study had triglycerides of at least 500?

11:49:28   22    A    No.

11:49:28   23    Q    And still in the same paragraph, looking at the

11:49:32   24   penultimate sentence what does the paragraph state was the

11:49:37   25   daily does of EPA studied?
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                                                                                    1653



11:49:39    1    A    1800 milligrams -- excuse me, 1.8 grams daily.

11:49:46    2    Q    Does the patient and methods -- patients and methods

11:49:49    3   section that we're looking at indicate that the study was

11:49:52    4   blinded?

11:49:53    5    A    No.

11:49:54    6    Q    And based on your review, was it?

11:49:57    7    A    No.

11:49:57    8    Q    Was the study placebo-controlled?

11:50:00    9    A    No.

11:50:00   10    Q    How many arms were in the study?

11:50:03   11    A    One.

11:50:05   12    Q    So it wasn't blinded or placebo-controlled, right?

11:50:10   13    A    No.

11:50:11   14    Q    Would the person of ordinary skill in the art have

11:50:13   15   believed that these study design characteristics impact the

11:50:17   16   reliability of the results reported?

11:50:19   17    A    The scientific method does require that there be a

11:50:23   18   control.     And randomized studies are, of course, better.

11:50:31   19    Q    I want to turn to the section on page 5 of Hayashi titled

11:50:37   20   Results and highlight the first line.

11:50:40   21                What was the duration of the study, how long?

11:50:43   22    A    Eight weeks.

11:50:44   23    Q    Let's go to Table 1.     What did this table report about

11:50:50   24   the effects of EPA on triglycerides?

11:50:54   25    A    That they decreased by 41 percent in a statistically
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                                                                                    1654



11:50:59    1   significant way with a P value less than 0.05 compared to

11:51:04    2   baseline.

11:51:05    3    Q      And you said statistically different.     How do you know

11:51:08    4   that?

11:51:08    5    A      Because there's a cross next to the 41 in the column

11:51:12    6   denoted mean change percent.

11:51:14    7    Q      And turning to LDL-C, what did Table 1 report about the

11:51:22    8   effect of EPA on LDL-C after eight weeks?

11:51:25    9    A      There was a nonstatistically significant 7 percent

11:51:29   10   reduction.

11:51:32   11    Q      Does this table provide any breakdown of LDL-C effects by

11:51:38   12   baseline triglyceride level?

11:51:39   13    A      No.

11:51:40   14    Q      Does it report results for any subjects with very high

11:51:44   15   triglycerides, individual subjects?

11:51:46   16    A      No.    No.

11:51:47   17    Q      Would a person of ordinary skill in the art in 2008 have

11:51:52   18   understood that the LDL-C results reported in this title would

11:51:57   19   be informative as to the LDL-C effects in patients with very

11:52:03   20   high triglycerides?

11:52:04   21    A      No.

11:52:05   22    Q      Do you recall that Dr. Heinecke testified that Hayashi

11:52:10   23   included at least one subject with triglyceride levels of at

11:52:14   24   least 500?

11:52:15   25    A      Yes.
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                                                                                    1655



11:52:16    1    Q    In your opinion, would that have been clear to the person

11:52:22    2   of ordinary skill in the art in March 2008?

11:52:23    3    A    Not even remotely.

11:52:24    4    Q    I want to direct your attention to Figure 2 on page 7.

11:52:32    5               In the legend at the bottom of the figure, what does

11:52:36    6   Hayashi state is covered by these three graphs?

11:52:39    7    A    He is evaluating the correlations between the activities

11:52:43    8   of two coagulation factors, 7 and 10, and also plasminogen

11:52:51    9   activator inhibitor one, and he's correlating these with

11:52:59   10   plasma triglycerides at baseline week zero.

11:52:59   11    Q    And what's reported on the Y axis of these three figures?

11:53:03   12    A    In the topmost figure it is coagulation factor seven, in

11:53:08   13   the middle coagulation factor ten.       And in the bottom figure

11:53:15   14   pi one or plasminogen activator inhibitor one.

11:53:21   15    Q    And what's reported on the X axis in these three graphs?

11:53:24   16    A    Serum triglyceride levels.

11:53:24   17    Q    At what week?

11:53:25   18    A    At baseline week zero.

11:53:27   19    Q    What do the dots in Figure 2 represent?

11:53:30   20    A    Those are the values of individual patients.

11:53:34   21    Q    Is there any indication on these graphs that show dots

11:53:40   22   for individual patients that any of the study subjects had

11:53:44   23   triglyceride levels of at least 500?

11:53:47   24    A    No, counsel.    As I go from the top to the bottom, the

11:53:52   25   topmost figure, it appears that the highest triglyceride was
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11:53:56    1   425.   For the middle figure, it was approximately 375.         For

11:54:02    2   the bottom figure it was once again approximately 375.

11:54:07    3    Q     And what's the highest number of subjects reported in

11:54:10    4   these three graphs?

11:54:12    5    A     In the uppermost graph 25.     In the middle graph, 22.        And

11:54:18    6   in the bottom-most graph 24.

11:54:20    7    Q     So the highest number's in the top graph?

11:54:24    8    A     Yes.

11:54:24    9    Q     And of the 25 subjects whose triglyceride levels are

11:54:30   10   reported in the top graph, is it -- based on your review there

11:54:36   11   is none that exceed 500.      How many exceed 400?

11:54:43   12    A     In the topmost graph one exceeds 400.      And no one exceeds

11:54:49   13   400 in the middle or the bottom graph.

11:54:51   14    Q     And in terms of the plot points, the dots that are

11:54:55   15   listed, how many of the values in the top graph exceed 350?

11:55:01   16    A     It appears to be two, in the middle graph, one, and in

11:55:07   17   the bottom graph one.

11:55:10   18    Q     And where are most of the triglyceride values for the

11:55:16   19   subjects in these three graphs concentrated?

11:55:19   20    A     It would be between 150 and 300 or so.       Yeah.   Some are

11:55:31   21   above.   But in terms of were they concentrated, 150 to may be

11:55:38   22   350.

11:55:40   23    Q     Now, earlier you said that Hayashi studied 28 subjects.

11:55:44   24   But in Figure 2 the largest number was 25.

11:55:47   25    A     Yes.
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11:55:48    1    Q    Does Hayashi identify what the baseline triglyceride

11:55:53    2   levels were of the remaining three subjects?

11:55:55    3    A    No, counsel.

11:55:57    4    Q    Does Hayashi provide any discussion of why the three

11:56:03    5   triglyceride values aren't reported in this figure?

11:56:05    6    A    No.

11:56:06    7    Q    Does Hayashi report that the three missing triglyceride

11:56:11    8   values exceeded 500?

11:56:14    9    A    No.

11:56:14   10    Q    Let's go back to Table 1 on page 5.

11:56:25   11                Do you recall that -- I think I already asked you

11:56:28   12   this but I'm going to ask you again.

11:56:31   13                Do you recall that Dr. Heinecke testified that at

11:56:33   14   least one subject would have had triglyceride levels over 500

11:56:38   15   given that the reported triglyceride mean in Hayashi was 300

11:56:44   16   plus or minus 233 milligrams per deciliter?

11:56:48   17    A    Yes.

11:56:49   18    Q    And do you agree with him?

11:56:52   19    A    No.

11:56:54   20    Q    Why not?

11:56:56   21    A    Well, where are these patients over 500?        A POSA is not

11:57:02   22   going to sit down and begin imputing where that patient is.

11:57:07   23   They're not shown in any of the figures, and, moreover,

11:57:13   24   Hayashi used the Friedewald equation --

11:57:16   25    Q    We'll get to the Friedewald equation in a minute, Doctor.
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11:57:20    1               Let me ask you this.     Even if Hayashi enrolled a few

11:57:25    2   subjects with triglyceride levels of at least 500, would it

11:57:28    3   have provided the person of ordinary skill in the art in 2008

11:57:33    4   with meaningful information about the LDL-C effects of EPA in

11:57:38    5   a population with very high triglycerides?

11:57:41    6    A    No.

11:57:41    7    Q    I want to direct your attention and highlight the last

11:57:47    8   sentence of the first paragraph on page 5.

11:57:55    9               Does this sentence reference the Friedewald method

11:57:59   10   that you just testified about?

11:58:01   11    A    It does, counsel.

11:58:02   12    Q    And what does it say?

11:58:03   13    A    It states LDL cholesterol concentration was calculated by

11:58:08   14   the Friedewald equation.

11:58:10   15    Q    What's the Friedewald equation in general terms?

11:58:13   16    A    Well, the Friedewald equation is used to estimate LDL

11:58:18   17   cholesterol levels because they're typically not measured in a

11:58:21   18   lot of these studies directly through an assay.

11:58:24   19               So you basically use the total cholesterol, the HDL

11:58:28   20   cholesterol and triglycerides divided by five to estimate the

11:58:31   21   LDL cholesterol.

11:58:33   22               But the Friedewald is invalid --

11:58:35   23    Q    Let me ask you this.     Do you recall that Dr. Heinecke

11:58:39   24   testified that the Friedewald equation is not a useful tool

11:58:42   25   for measuring LDL-C in patients with triglyceride levels of
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11:58:47    1   400 milligrams per deciliter or greater?

11:58:50    2    A      Yes.

11:58:51    3    Q      Do you agree with Dr. Heinecke?

11:58:54    4    A      Yes, he's correct.

11:58:56    5    Q      As of March 2008, was it widely recognized that this

11:59:00    6   Friedewald equation was not a reliable way to estimate LDL-C

11:59:05    7   in patients with very high triglycerides?

11:59:07    8    A      Yes, Dr. Friedewald himself pointed it out in the mid

11:59:11    9   '70s.

11:59:12   10                    MR. ELIKAN:   I want to look at DX 1546, the 1998

11:59:18   11   Saito reference that Dr. Heinecke testified about.         And I want

11:59:21   12   to go to page 7.

11:59:22   13                    Can we zoom in on the title Serum Lipid

11:59:28   14   Examination, and bring up the second paragraph under that

11:59:32   15   heading, and can we highlight the third sentence.

11:59:35   16                    Just the third sentence, Mr. Brooks.

11:59:35   17   BY MR. ELIKAN:

11:59:56   18    Q      What does Saito in this 1998 article report about the use

12:00:00   19   of the Friedewald equation?

12:00:02   20    A      Dr. Saito notes that serum LDL cholesterol was calculated

12:00:06   21   by the below listed formula of Friedewald, although this

12:00:11   22   formula can't be applied when the triglyceride value is

12:00:14   23   greater than or equal to 400 milligrams per deciliter, and

12:00:18   24   such instances were treated as missing data without performing

12:00:22   25   the calculation.
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12:00:25    1    Q    Returning to Hayashi, as of March 2008, would it have

12:00:30    2   provided a reasonable expectation that using highly purified

12:00:35    3   EPA with substantially no DHA would lower triglycerides

12:00:40    4   without a substantial increase in LDL-C in patients with very

12:00:45    5   high triglycerides?

12:00:46    6    A    No.

12:00:47    7    Q    And why?

12:00:53    8    A    Because he has no demonstrable patients or participants

12:00:59    9   in the study who had triglycerides of 500 or more and

12:01:04   10   moreover, even if he did, the LDL that he would have estimated

12:01:09   11   with the lipid profile in such a patient would be invalid.

12:01:12   12    Q    And stepping back did Hayashi study a population were

12:01:19   13   very high triglycerides?

12:01:21   14    A    No.

12:01:22   15    Q    And what bearing, if any, does that have on the answer to

12:01:25   16   my question about what one would reasonably expect?

12:01:29   17    A    The bearing is very simple, it doesn't answer the

12:01:33   18   question.    It has no means by which to answer the question.

12:01:38   19    Q    And based on Hayashi, if EPA had been given to patients

12:01:47   20   with severe hypertriglyceridemia, a patient population based

12:01:51   21   on the other literature that you've reviewed, looking at it in

12:01:57   22   March 2008, what would they have expected to see in a patient

12:02:01   23   population with very high triglycerides?

12:02:03   24    A    That the LDL would have shot up.

12:02:06   25                    MR. ELIKAN:   Let's go to Kurabayashi.      That's
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12:02:07    1   the final reference in Dr. Heinecke's key prior art

12:02:12    2   combination.    And I want to go to page 1 and put on the screen

12:02:18    3   the first paragraph of the method section in the left-hand

12:02:21    4   column.

12:02:21    5   BY MR. ELIKAN:

12:02:25    6    Q      What does Kurabayashi have it say about the design of the

12:02:28    7   study?

12:02:29    8    A      Dr. Kurabayashi notes that they performed a prospective

12:02:34    9   observational 48-week study in hyperlipidemic menopausal

12:02:40   10   women.    They randomly assigned 141 women whose levels of serum

12:02:44   11   total cholesterol would 220 to 280 milligrams per deciliter or

12:02:48   12   whose serum triglycerides were 150 to 400 milligrams per

12:02:53   13   deciliter.

12:02:54   14    Q      Let me stop you right there.    I've got a question.

12:02:57   15                So this is the way that hyperlipidemic is defined

12:03:04   16   here?

12:03:04   17    A      Yes, in Japan.

12:03:05   18    Q      And what were the study groups treated with?

12:03:10   19    A      There were two arms.   The patients could be treated with

12:03:15   20   either estriol which is an estrogen derivative at two

12:03:20   21   milligrams daily.     72 women were in that group.      Or, they

12:03:25   22   could be treated with a combination of ethyl icosapentate

12:03:32   23   which is EPA, at 1.2 grams with two milligrams of estriol, and

12:03:37   24   that group had 69 women.

12:03:40   25    Q      So do both of arms get the estriol?
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                                                                                    1662



12:03:43    1    A    Yes.

12:03:43    2    Q    Then turning to page 4, Table 2, what did Kurabayashi

12:03:47    3   report was the mean triglyceride level at baseline of the

12:03:53    4   group that received the EPA and estriol?

12:03:56    5    A    135.6, plus or minus 56.9 milligrams per deciliter.

12:04:04    6    Q    Would a person of ordinary skill in the art in March 2008

12:04:07    7   have understood 135 to represent even an elevated triglyceride

12:04:13    8   level?

12:04:14    9    A    No.    That would have been considered a normal

12:04:17   10   triglyceride level.

12:04:18   11    Q    Would a person of ordinary skill in the art in March 2008

12:04:22   12   have expected that LDL-C effects reported in patients with

12:04:27   13   mean triglycerides of 135 would apply, be translatable to

12:04:36   14   patients with at least 500?

12:04:38   15    A    No.

12:04:38   16    Q    Why not?

12:04:40   17    A    Because they would have known that a group of patients

12:04:44   18   with normal triglycerides would not behave in the same way as

12:04:52   19   a group of patients with very high triglycerides.         They would

12:04:55   20   have anticipated a very large rise in LDL but with normal

12:04:59   21   triglyceride as in this range perhaps they would have even

12:05:03   22   seen a drop in LDL.

12:05:04   23    Q    Was there an arm in Kurabayashi that studied DHA?

12:05:09   24    A    No.

12:05:10   25    Q    Now, we've established that the arms in the study
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                                                                                    1663



12:05:17    1   received estriol.     What is estriol?

12:05:20    2    A    Estriol is a downstream metabolite of estrogen.         And

12:05:26    3   estriol is bioactive and it has effects on lipids, all

12:05:32    4   estrogens do.

12:05:34    5    Q    Would the person of ordinary skill in the art in

12:05:38    6   March 2008 have known that estriol would have an effect on

12:05:42    7   lipid levels?

12:05:42    8    A    Yes.

12:05:43    9    Q    Given that belief, would the person of ordinary skill in

12:05:53   10   the art, reading Kurabayashi in March 2008, have drawn any

12:05:59   11   conclusions about the lipid effects of EPA alone?

12:06:04   12    A    No.    Because there was no EPA mono therapy arm of the

12:06:08   13   study.

12:06:09   14    Q    Do you recall that Dr. Heinecke testified that estriol

12:06:13   15   does not interact with EPA and that therefore the presence of

12:06:17   16   estriol in both arms of the study did not confound the effects

12:06:21   17   of EPA?

12:06:22   18    A    You can't draw that conclusion --

12:06:22   19    Q    I know --

12:06:24   20    A    -- from these data.

12:06:25   21    Q    Okay.   So you disagree with his testimony?

12:06:29   22    A    I do.

12:06:29   23    Q    And why do you disagree with Dr. Heinecke?

12:06:37   24    A    Because the cleanest way to determine that would be to

12:06:40   25   also have included an EPA monotherapy arm.
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                                                                                    1664



12:06:44    1    Q    Is estrogen something that you've studied or had to deal

12:06:48    2   with during your ob-gyn training?

12:06:53    3    A    Of course.

12:06:53    4    Q    Is it a complex or a simple molecule?

12:06:56    5    A    It's a complex molecule.

12:06:58    6    Q    And how would that affect the analysis of how much this

12:07:04    7   Kurabayashi study tells us, if anything, about the effects of

12:07:08    8   EPA alone?

12:07:09    9    A    Yeah, I don't think it tells you much of anything about

12:07:12   10   EPA alone.

12:07:13   11    Q    Did Dr. Heinecke cite any prior art or any literature to

12:07:18   12   support his position?

12:07:19   13    A    No.

12:07:19   14    Q    So we've now addressed Dr. Heinecke's key prior art.          I

12:07:24   15   want to turn to your opinion that the asserted claims were not

12:07:28   16   obvious, and I want to turn to claim 1 of the '728 patent.

12:07:33   17                Have you prepared a slide that summarizes the

12:07:35   18   general reasons for your opinion that claim 1 would not have

12:07:38   19   been obvious?

12:07:39   20    A    Yes, counsel.

12:07:40   21                    MR. ELIKAN:   Can we have PDX 6-16.

12:07:40   22   BY MR. ELIKAN:

12:07:44   23    Q    And can you identify the general bases for your opinion.

12:07:47   24    A    There was no reasonable expectation that high purity EPA

12:07:53   25   would avoid substantial increases in LDL cholesterol in
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12:07:57    1   patients with very high triglycerides.

12:07:59    2                 DHA was thought to be better for lipid and

12:08:02    3   cardiovascular effects than EPA, and a POSA therefore would

12:08:07    4   not have been led to use high purity EPA and substantially no

12:08:12    5   DHA.

12:08:12    6                 There was not a finite number of predictable options

12:08:18    7   to pursue if seeking to lower triglycerides without

12:08:20    8   substantially increasing LDL cholesterol in patients with

12:08:24    9   severe hypertriglyceridemia and no reasonable expectation of

12:08:27   10   success, and then there were objective indicia of

12:08:32   11   nonobviousness.

12:08:33   12    Q     When you said POSA is that an acronym for person of

12:08:38   13   ordinary skill in the art?

12:08:38   14    A     Yes.

12:08:38   15    Q     I want to explore each of these points more fully.           Let's

12:08:43   16   start with the first.

12:08:44   17                 Do you recall that Dr. Heinecke testified that a

12:08:47   18   person of ordinary skill in the art would have reasonably

12:08:50   19   expected that one could avoid the large LDL-C increases

12:08:55   20   reported in the Lovaza PDR by replacing the EPA, DHA, omega-3

12:09:06   21   fatty oil mixture with a more highly purity EPA formulation?

12:09:10   22    A     Yes, I recall.

12:09:10   23    Q     I'm sorry?

12:09:11   24    A     I recall.

12:09:12   25    Q     Do you agree with him?
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                                                                                    1666



12:09:16    1    A    No.

12:09:16    2    Q    Why not?

12:09:17    3    A    Because we have seen no evidence that it's DHA as opposed

12:09:22    4   to EPA that is responsible for the elevation in LDL.

12:09:28    5               And moreover, in Lovaza, it's not just a simple

12:09:31    6   mixture of EPA and DHA, it's actually a much more complex

12:09:36    7   mixture which they call omega-3 acid ethyl esters.         There's 80

12:09:44    8   milligrams worth of other omegas in that preparation.

12:09:45    9               So, no, it was not obvious.

12:09:47   10    Q    And would the person of ordinary skill in the art looking

12:09:52   11   at Lovaza have blamed the LDL-C rise observed in treating

12:09:57   12   patients with very high triglycerides on the particular drug

12:10:00   13   or, instead, on what happens when you lower triglycerides in

12:10:04   14   that population?

12:10:06   15    A    The mechanism for lowering triglycerides in that

12:10:11   16   population.

12:10:12   17    Q    Explain.

12:10:13   18    A    Well, all of the drugs that had been approved for the

12:10:17   19   management of severe hypertriglyceridemia had a common theme

12:10:21   20   for patients in that boat.      All of the drugs reduced the LDL

12:10:30   21   triglycerides and induced a triglyceride elevation that was

12:10:34   22   proportional to the baseline triglyceride.

12:10:36   23               I believe -- did I say LDL elevation?

12:10:36   24                    THE COURT:   Yes.

12:10:38   25                    THE WITNESS:   LDL -- excuse me, court reporter.
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12:10:43    1   That would induce an LDL-C elevation that was proportional to

12:10:48    2   the magnitude of the baseline triglyceride.         So they would

12:10:51    3   have believed it was actually a physiologic mechanism by which

12:10:56    4   VLDL is converted to LDL.

12:10:56    5   BY MR. ELIKAN:

12:11:00    6    Q     Was there suggestion in the prior art that one could

12:11:03    7   avoid large LDL increases in patients with very high

12:11:07    8   triglycerides by changing the composition of Lovaza to include

12:11:11    9   substantially all the omega-3 fatty acids except EPA?

12:11:16   10    A     No.

12:11:17   11    Q     Do you recall that Dr. Heinecke testified that he doesn't

12:11:21   12   think there's any evidence in the prior literature about what

12:11:24   13   the impact of EPA would be on LDL cholesterol in patients with

12:11:29   14   triglycerides above 500 milligrams per deciliter?

12:11:32   15    A     Yes.

12:11:33   16    Q     Without such evidence, was there any basis for a person

12:11:39   17   of ordinary skill in the art to expect to see no LDL-C effect

12:11:45   18   when EPA is given to patients with very high triglycerides?

12:11:49   19    A     Of course not.

12:11:52   20                    MR. ELIKAN:   I want to look again at PDX 6-7 and

12:11:55   21   6-8.   Can we put those side by side on the screen, Mr. Brooks?

12:11:55   22   BY MR. ELIKAN:

12:12:05   23    Q     So you testified earlier about these -- the experience

12:12:09   24   with Lovaza and Tricor, triglyceride lowering agents when

12:12:15   25   given to patients with severe hypertriglyceridemia, right?
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12:12:18    1    A     Yes.

12:12:18    2    Q     Based on that information, would the person of ordinary

12:12:23    3   skill in the art have reasonably expected that you would see

12:12:26    4   the same effects with patients having triglyceride levels

12:12:30    5   above 500 as you would with patients with triglyceride levels

12:12:35    6   below 500?

12:12:36    7    A     No.

12:12:37    8    Q     Now, you testified earlier that the mean triglycerides in

12:12:41    9   the mildly hyperlipidemic men studied by Mori was 178 in the

12:12:49   10   EPA arm.

12:12:50   11    A     Yes.

12:12:51   12    Q     Looking at these slides, with which group would the

12:12:55   13   population of mildly hyperlipidemic men studied in Mori best

12:13:02   14   fit?

12:13:02   15    A     That would be the one to the far left.

12:13:04   16    Q     Of which of the --

12:13:06   17    A     Of the left plot.    So that would be the Tricor group with

12:13:11   18   mixed dyslipidemia with triglycerides over 150 but mean of

12:13:18   19   231.9.

12:13:18   20    Q     Are you aware of any prior art that taught EPA would

12:13:22   21   perform differently from DHA in terms of LDL-C effects in

12:13:27   22   patients with triglyceride levels of at least 500?

12:13:33   23    A     Counsel, please repeat that.

12:13:34   24    Q     Are you aware of any prior art -- so before March 2008 --

12:13:40   25   that taught EPA would perform differently from DHA in terms of
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12:13:45    1   LDL-C effects in patients with triglyceride levels of at least

12:13:50    2   500?

12:13:51    3    A     No.

12:13:51    4    Q     As of March 2008, was there any prior art demonstrating

12:14:00    5   that EPA had a different mechanism of action than DHA for

12:14:05    6   lowering triglycerides?

12:14:06    7    A     No.

12:14:07    8    Q     You've testified that the fatty acid mixture in Lovaza

12:14:15    9   substantially raised LDL-C in patients with very high

12:14:19   10   triglycerides, right?

12:14:19   11    A     Yes.

12:14:21   12    Q     As of March 2008 would the person of ordinary skill in

12:14:24   13   the art have had any reason related to mechanism of action to

12:14:29   14   expect that administering EPA by itself to such a population

12:14:35   15   would avoid substantially raising LDL-C?

12:14:38   16    A     No.

12:14:39   17                    MR. ELIKAN:   I want to pull up DDX 6.70 from the

12:14:43   18   slide deck of Dr. Heinecke.

12:14:43   19   BY MR. ELIKAN:

12:14:48   20    Q     Now, in his testimony Dr. Heinecke cited add discussed

12:14:53   21   some other references, Saito, 1998, Takaku 1991, Matsuzawa

12:15:05   22   1991 and Nakamura 1999, in which a single subject or a few

12:15:10   23   subjects receiving high purity EPA had triglyceride levels of

12:15:15   24   at least 500.    Do you recall that testimony?

12:15:17   25    A     Yes.
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12:15:17    1    Q    Did those references report the LDL-C effects of high

12:15:22    2   purity EPA in such subjects?

12:15:25    3    A    No.

12:15:25    4    Q    Did any of these references study the effect of a 4-gram

12:15:30    5   dose of EPA?

12:15:31    6    A    No.

12:15:31    7    Q    I'm sorry?

12:15:32    8    A    No.

12:15:33    9    Q    Would any of these references have provided the person of

12:15:41   10   ordinary skill in the art in March 2008 with a reasonable

12:15:43   11   expectation of avoiding substantial increases in LDL-C in

12:15:47   12   patients with very high triglycerides?

12:15:49   13    A    No, counsel.

12:15:50   14                    MR. ELIKAN:   Let's look at the Takaku reference

12:15:54   15   that Dr. Heinecke relied upon.       That's DX 1550, Mr. Brooks.

12:15:59   16   And can we turn to page 12, Figure 3.

12:16:03   17                    In the lower right-hand corner of the chart, if

12:16:06   18   we could highlight that, Mr. Brooks.

12:16:08   19   BY MR. ELIKAN:

12:16:08   20    Q    That addresses preadministration serum triglycerides.

12:16:14   21   How many patients were studied when you add up the numbers?

12:16:18   22    A    Thirty-three.

12:16:20   23    Q    That's the 13 plus six plus four plus two?

12:16:23   24    A    Yes, I think my math is correct there, it's 33.

12:16:28   25    Q    And looking at the bottom line, what was the mean
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12:16:31    1   triglyceride levels studied?

12:16:33    2    A     245 plus or minus 41.

12:16:36    3    Q     Do you recall that Dr. Heinecke testified that three of

12:16:39    4   these subjects had triglyceride levels that exceeded 500?

12:16:42    5    A     Yes.

12:16:43    6    Q     Does the Takaku paper anywhere provide information about

12:16:47    7   the effect of the medication that was administered on LDL-C

12:16:53    8   for those particular subjects?

12:16:54    9    A     No.

12:16:55   10    Q     I want going to go to page 21 and the paragraph with the

12:16:59   11   heading shift in serum LDL cholesterol.

12:17:05   12                 Highlighting the parenthetical in the first

12:17:10   13   sentence, do you see that it indicates that LDL-C results were

12:17:13   14   not obtained -- I'm sorry, that it says -- I'm paraphrasing,

12:17:20   15   but that LDL-C results were not obtained for six subjects.

12:17:25   16    A     I see that.

12:17:26   17    Q     Did Takaku provide any information about the triglyceride

12:17:33   18   levels of the subjects that were excluded?

12:17:36   19    A     No.

12:17:38   20    Q     Could they have included the subjects reported to have

12:17:41   21   triglycerides over 500?

12:17:43   22    A     I think it would have been scientifically responsible,

12:17:46   23   yes.

12:17:47   24    Q     I'm not sure I followed your answer.      Let me --

12:17:53   25    A     It's very -- I believe it would have been scientifically
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12:17:57    1   responsible to provide that information so that you can read

12:18:00    2   the paper and understand which patients were included, which

12:18:04    3   ones weren't.

12:18:05    4    Q    Okay.    So I'm asking about the six excluded subjects.

12:18:08    5    A    Yes.

12:18:08    6    Q    Could they have included the subjects reported to have

12:18:11    7   triglycerides over 500?

12:18:13    8    A    Absolutely.

12:18:14    9    Q    Does Takaku anywhere disclose clearly what method was

12:18:19   10   used to measure LDL-C in any of the patients studied?

12:18:23   11    A    No.

12:18:24   12    Q    We talked about Takaku.     Did you prepare a slide based on

12:18:29   13   Dr. Heinecke's slide, 6.70, but that gives the rest of the

12:18:34   14   story for Takaku and the other references?

12:18:37   15    A    Yes.

12:18:38   16                     MR. ELIKAN:   Can we have PDX 6-18.

12:18:38   17   BY MR. ELIKAN:

12:18:43   18    Q    Can you tell us what you believed were the -- was the

12:18:46   19   takeaway message from Takaku 1991 that tells the rest of the

12:18:51   20   story.

12:18:53   21    A    Three of 33 subjects had triglycerides that exceeded 500.

12:18:57   22   Mean triglyceride for the study was 245.

12:19:01   23                 No LDL cholesterol results provided for patients

12:19:05   24   with triglycerides over 500, and no method for measuring LDL-C

12:19:10   25   was clearly disclosed.
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12:19:12    1    Q     Let's turn to Nakamura, on 1439.      Can you walk us through

12:19:18    2   what the rest of the story is.

12:19:20    3    A     One of 14 subjects had triglycerides that exceeded 500.

12:19:23    4                 The mean triglyceride in the study was 183.        No

12:19:26    5   LDL-C measurements provided.

12:19:30    6    Q     Matsuzawa 1991, the rest of the story.

12:19:33    7    A     One of 26 subjects had a triglyceride that exceeded 500.

12:19:37    8   The mean triglyceride for participants was 308.         No LDL

12:19:44    9   cholesterol results provided for patients with triglycerides

12:19:46   10   over 500.     And fine there were, they used the Friedewald

12:19:51   11   equation to calculate or estimate LDL, which is invalid over

12:19:55   12   400.

12:19:57   13    Q     Saito, what's the rest of the story?

12:19:59   14    A     One of 12 subjects had a triglyceride that exceeded 500.

12:20:04   15   Mean triglyceride was 295.

12:20:06   16                 No LDL cholesterol results for patients with

12:20:10   17   triglycerides over 500, and even they again used the

12:20:12   18   Friedewald equation to estimate LDL-C.

12:20:15   19    Q     Taken together, do you any of these studies -- are any of

12:20:23   20   these studies directed to a patient population with very high

12:20:28   21   triglycerides?

12:20:28   22    A     No.

12:20:29   23    Q     Do you recall that Dr. Heinecke also discussed the Epadel

12:20:37   24   prescribing information from 2007?

12:20:40   25    A     Yes.
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12:20:41    1                    MR. ELIKAN:   Can we have DX 1528.     And I want to

12:20:45    2   go to page 1.

12:20:45    3   BY MR. ELIKAN:

12:20:48    4    Q    Looking in the upper left-hand corner, what version of

12:20:51    5   the Epadel prescribing information was the 2007?

12:20:55    6    A    Version 5 released in January of 2007.

12:20:58    7    Q    And turning to the second page, I want to turn to the

12:21:02    8   section indications efficacy?

12:21:05    9    A    Yes.

12:21:06   10    Q    What's the first indication listed here?

12:21:10   11    A    Arteriosclerotic ulceration, alleviation of pain, and

12:21:16   12   feeling of cold.

12:21:18   13    Q    Does that have anything to do with elevated

12:21:21   14   triglycerides, that indication?

12:21:22   15    A    The feeling of cold or all three?

12:21:25   16    Q    Okay.   Put together, it's one indication, is that

12:21:30   17   indication about hypertriglyceridemia or severe

12:21:35   18   hypertriglyceridemia or anything of the sort?

12:21:37   19    A    Arteriosclerotic ulceration could be, but that's not easy

12:21:45   20   to establish or diagnose.      So I would have to say on balance,

12:21:49   21   no.

12:21:50   22    Q    And what's the second indication listed there?

12:21:54   23    A    Well, it's this nebulous hyperlipidemia.

12:22:03   24    Q    Any definition provided in the Epadel document that we're

12:22:06   25   looking at about what precisely hyperlipidemia means?
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12:22:12    1    A    No, it's a little bit of a garbage basket term here, and

12:22:15    2   I'm puzzled by that because by now it would have been routine

12:22:19    3   to provide very specific classifications and definitions of

12:22:22    4   what type of hyperlipidemia you're talking about because there

12:22:27    5   was no single drug available anywhere on earth that would

12:22:31    6   treat all forms of hyperlipidemia.

12:22:33    7    Q    Looking to the right of hyperlipidemia, do you see the

12:22:37    8   second paragraph states that when an excess of triglycerides

12:22:42    9   are presented, depend on the extent of it, the dosage may be

12:22:47   10   increased to 900 milligrams per time and three times daily.

12:22:52   11    A    Yes.

12:22:52   12    Q    Does this provide any information about the level of

12:22:56   13   triglycerides that were constitute an excess of triglycerides?

12:22:59   14    A    It provides no guidance, and, by this time, ATP III was

12:23:04   15   available, and certainly if you are marketing a drug like

12:23:07   16   this, you would want people to understand what it is you're

12:23:11   17   treating and what the clinical trial data are to support the

12:23:15   18   use of this in that setting.

12:23:18   19    Q    Is there anything in this passage that clearly indicates

12:23:22   20   that in obtaining this indication, EPA was administered to

12:23:26   21   patients with triglyceride levels of at least 500?

12:23:29   22    A    No.

12:23:30   23    Q    Have you seen anything in this document, as a whole, that

12:23:36   24   shows that in obtaining this indication, EPA was administered

12:23:42   25   to patients with triglyceride levels of at least 500?
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12:23:45    1    A    There's nothing here to indicate that.

12:23:47    2    Q    Does the label report any LDL-C effects resulting from

12:24:09    3   the administration of EPA?

12:24:12    4    A    No, counsel, there is no reference to LDL-C change.

12:24:16    5    Q    Does it even mention LDL-C?

12:24:19    6    A    No.

12:24:20    7    Q    Does the Epadel prescribing information from 2007

12:24:25    8   describe the effects of EPA on apo B?

12:24:30    9    A    No, sir.

12:24:31   10    Q    In any population.

12:24:32   11    A    No.

12:24:33   12    Q    Does it even mention apo B?

12:24:36   13    A    No.

12:24:38   14                    MR. ELIKAN:   Let's go back to the indication

12:24:39   15   section on the second page, we're already there.

12:24:39   16   BY MR. ELIKAN:

12:24:43   17    Q    What did the Epadel prescribing information describe as

12:24:46   18   the dosing for hyperlipidemia?       We walked through this a

12:24:51   19   moment ago but I'm going ask you again and I've got a question

12:24:54   20   about this.

12:24:55   21    A    There are two recommendations here, 600 milligrams, 3

12:25:04   22   times daily, which would be 1.8 grams total daily.         Dosage can

12:25:09   23   be increased depending upon age and condition.         Which, again,

12:25:14   24   what is someone supposed to make of that?

12:25:17   25               And then another dose would be the 2.7 grams dose
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12:25:23    1   900 milligrams 3 times daily for an excess of triglycerides

12:25:28    2   which of course is not defined.

12:25:30    3    Q    Do you read this as pointing to a 4-gram dose of EPA?

12:25:35    4    A    No.

12:25:35    5    Q    Let's turn back to PDX 6-19, your summary slide.         I'm

12:25:43    6   going to go to the second reason now that claim 1 in your

12:25:46    7   opinion was not obvious.

12:25:51    8               I would like to begin with the references that we

12:25:53    9   looked at before, starting with the Lovaza PDR.         So did the

12:25:58   10   Lovaza PDR, DX 1535, suggest there were advantages to using

12:26:05   11   high purity EPA over using DHA?

12:26:09   12    A    No.

12:26:09   13    Q    Did it suggest there were advantages in using high purity

12:26:14   14   EPA over an EPA-DHA mixture?

12:26:18   15    A    No.

12:26:19   16    Q    Did the Lovaza PDR draw any comparisons whatsoever

12:26:24   17   between the individual effects of EPA and of DHA?

12:26:29   18    A    No.

12:26:32   19    Q    Would it have motivated the person of ordinary skill in

12:26:36   20   the art in March 2008, to eliminate substantially all the DHA

12:26:42   21   and instead use only high purity EPA to treat severe

12:26:48   22   hypertriglyceridemia?

12:26:50   23    A    Of course not.

12:26:52   24    Q    Let's turn to Hayashi.

12:26:56   25               Would Hayashi have led a person of ordinary skill in
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12:27:01    1   the art in March 2008 to use high purity EPA instead of DHA or

12:27:06    2   a DHA-EPA mixture in patients with very high triglycerides?

12:27:10    3    A     It offered no basis for such an approach.

12:27:14    4    Q     Did it state that high purity EPA had any advantages over

12:27:19    5   DHA?

12:27:19    6    A     No.

12:27:20    7    Q     Did it compare the effects of high purity EPA to high

12:27:23    8   DHA?

12:27:24    9    A     No.

12:27:24   10    Q     Let's turn to Kurabayashi.

12:27:26   11                Would Kurabayashi have led the person of ordinary

12:27:29   12   skill in the art in March 2008, to use high purity EPA instead

12:27:35   13   of DHA to treat severe hypertriglyceridemia?

12:27:39   14    A     No.   There was no one enrolled in the study with a

12:27:43   15   triglyceride over 400.

12:27:45   16    Q     Would it have led the person of ordinary skill in the art

12:27:52   17   in March 2008, to use high purity EPA instead of a DHA-EPA

12:27:59   18   mixture to treat severe hypertriglyceridemia?

12:28:01   19    A     No, there was no EPA monotherapy arm and there was also

12:28:05   20   no comparison between EPA and DHA within the study.

12:28:10   21    Q     Is there somewhere in Kurabayashi that Kurabayashi states

12:28:13   22   that high purity EPA has advantages over DHA?

12:28:17   23    A     No.

12:28:17   24    Q     I think we've already been through this.       There's no

12:28:22   25   comparison of high purity EPA to DHA in Kurabayashi, right?
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12:28:26    1    A      No, counsel.

12:28:27    2    Q      Let's turn to Mori.

12:28:41    3                  Would Mori, PX 1538, have led a person of ordinary

12:28:47    4   skill in the art in March 2008 to use high purity EPA instead

12:28:52    5   of DHA or a DHA-EPA mixture to treat patients with severe

12:28:57    6   hypertriglyceridemia?

12:28:58    7    A      No, because even the authors of the paper suggested that

12:29:02    8   there were so many advantages to DHA you wouldn't want to

12:29:06    9   leave it out.

12:29:07   10    Q      In view of those advantages, would the person of ordinary

12:29:11   11   skill in the art have wanted to pursue a treatment that avoids

12:29:15   12   DHA?

12:29:16   13    A      No.

12:29:17   14    Q      In your work on this case, did you consider whether

12:29:22   15   Mori's suggestion that DHA has advantages over EPA was

12:29:28   16   reflected in the prior art as a whole as of March 2008?

12:29:33   17    A      Yes.

12:29:34   18    Q      And what, as a whole, did the prior art have it say about

12:29:37   19   that?

12:29:38   20    A      That there were distinct advantages to the use of DHA

12:29:42   21   over EPA.

12:29:43   22    Q      Have you prepared a demonstrative that illustrates

12:29:50   23   different ways in which the prior art suggested DHA may have

12:29:54   24   advantages over EPA in terms of cardiovascular health?

12:29:57   25    A      Yes, counsel.
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12:29:58    1                     MR. ELIKAN:    Can we have PDX 6-20.

12:29:58    2   BY MR. ELIKAN:

12:30:02    3    Q    And what does this slide illustrate?

12:30:04    4    A    This is just a summary schematic showing HDL in the left

12:30:11    5   sphere, and HDL cholesterol at the time was believed to be

12:30:15    6   beneficial if you raised it.

12:30:16    7                 In the middle sphere you see LDL particle size which

12:30:21    8   we've discussed, and in the right, most sphere blood pressure.

12:30:26    9    Q    And what is the title above?

12:30:28   10    A               "Prior Art Suggested DHA Had Advantages Over

12:30:30   11         EPA With Respect to These Factors."

12:30:33   12    Q    Okay.    I want to discuss these considerations one at a

12:30:36   13   time starting with HDL-C. What is that again?

12:30:41   14    A    High density lipoprotein cholesterol, believed to be the

12:30:45   15   good cholesterol.

12:30:46   16                 Okay.   Pickup truck, so the LDL would be viewed as

12:30:49   17   the dump truck leaving cholesterol and other lipids proximate

12:30:53   18   the blood vessel wall.      The HDL particle would be seen as the

12:30:57   19   pickup truck because it could pick up the excess lipid and

12:30:57   20   take it back to the liver for disposal, which would be seen as

12:30:57   21   beneficial.

12:31:04   22    Q    You previously testified that Mori reported that DHA but

12:31:09   23   not EPA increased HDL-C.        Was there other prior art as of

12:31:15   24   March 2008 saying that DHA raised HDL-C?

12:31:20   25    A    Yes.
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12:31:20    1    Q    I want to turn to --

12:31:22    2                   THE COURT:    Before you turn to the prior art.

12:31:25    3                   MR. ELIKAN:    Yes.

12:31:26    4                   THE COURT:    Counsel, could I have the doctor

12:31:28    5   explain again about this idea of the dump truck and the pickup

12:31:32    6   truck in explaining this diagram.       I'm trying to understand.

12:31:35    7   I don't quite understand.

12:31:38    8                   MR. ELIKAN:    Okay.    Would it help, Your Honor,

12:31:39    9   if we went back to the demonstrative that we were looking at

12:31:42   10   earlier about the metabolism of VLDL to LDL?

12:31:47   11                   THE COURT:    I doubt -- I remember that --

12:31:50   12                   THE WITNESS:    I can --

12:31:52   13                   THE COURT:    -- demonstrative.     I think I

12:31:53   14   understand that.     I just want to understand this one.

12:31:55   15                   THE WITNESS:    Okay.   Your Honor, the HDL

12:31:58   16   lipoprotein is seen as the good cholesterol-bearing

12:32:04   17   lipoprotein because --

12:32:05   18                   THE COURT:    That's all -- that's usually how I

12:32:08   19   try to remember.     H is good, you want high.      L is bad, you

12:32:14   20   want low.

12:32:15   21                   THE WITNESS:    Yeah, yeah.

12:32:15   22                   And what the HDL particle can do is it can

12:32:19   23   interact with cell components in the blood vessel wall that

12:32:24   24   are taking up excess cholesterol leading to the formation of

12:32:28   25   an atherosclerotic plaque.
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12:32:29    1                    Well, this is the one lipoprotein that can

12:32:31    2   actually interact with that, draw cholesterol out, get back

12:32:37    3   into the bloodstream, and take it back to the liver for

12:32:40    4   elimination.

12:32:40    5                    THE COURT:    Oh, that's what you analogized HDL

12:32:43    6   as a dump truck taking that back --

12:32:44    7                    THE WITNESS:   The pickup truck.

12:32:46    8                    THE COURT:    Thank you.

12:32:46    9                    THE WITNESS:   And it was shown in studies that

12:32:51   10   people with higher HDL had lower risk for the development of

12:32:55   11   heart disease.

12:32:57   12                    So at the time, in March 2008, if you increased

12:33:01   13   HDL, it would have been seen as a good thing.

12:33:05   14                    THE COURT:    Got it.   Thank you.

12:33:06   15                    Is it still seen as a good thing now?

12:33:09   16                    THE WITNESS:   It is, but some studies have been

12:33:12   17   negative, but effort is still being made to investigate it

12:33:15   18   further because it's very complicated.

12:33:18   19                    THE COURT:    Thank you.

12:33:19   20                    MR. ELIKAN:    I want to turn to DX 1933.     This is

12:33:25   21   a pre-admitted article, Your Honor, by Dr. Agren, titled "Fish

12:33:31   22   Diet, Fish Oil, and Docosahexanoic Acid Rich Oil Lower Fasting

12:33:39   23   and Postprandial Plasma Lipid Levels" from 1996, and the

12:33:46   24   parties have stipulated that it's prior art, and that's in

12:33:51   25   paragraph 65.
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12:33:51    1                      THE COURT:    Thank you.

12:33:51    2   BY MR. ELIKAN:

12:33:57    3    Q      I want to look at the objective.      What did this

12:34:01    4   publication concern?

12:34:03    5    A      The present study was carried out to clarify the effects

12:34:07    6   of fish diet, fish oil, and DHA-rich oil on fasting and

12:34:14    7   postprandial lipid levels in healthy male students.

12:34:18    8    Q      What's postprandial?

12:34:20    9    A      That's after a meal.

12:34:23   10                      MR. ELIKAN:   Let's turn to page 6 in the second

12:34:24   11   paragraph under discussion.        I want to highlight the two

12:34:32   12   sentences starting Sanders and Hinds.

12:34:32   13   BY MR. ELIKAN:

12:34:37   14    Q      What did the authors have to say about DHA here in the

12:34:43   15   Agren article?

12:34:43   16    A      Sanders and Hinds found increased HDL and HDL-2

12:34:49   17   cholesterol concentrations after DHA-rich fish oil intake and

12:34:54   18   proposed that DHA is responsible for these changes.

12:34:57   19                  The greatest increase of total HDL and HDL-2

12:35:02   20   cholesterol in the DHA oil group in the present study supports

12:35:06   21   this idea.

12:35:09   22    Q      So are those results and the observation made here about

12:35:14   23   Sanders and Hinds, is that consistent with what we saw in

12:35:19   24   Mori?

12:35:20   25    A      Yes.
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12:35:22    1                    MR. ELIKAN:   Let's go back to PDX 620, and I

12:35:27    2   want to turn now to LDL particle size.

12:35:27    3   BY MR. ELIKAN:

12:35:32    4    Q    Did you review other prior art that suggested as Mori did

12:35:37    5   that DHA, but not EPA, increased LDL particle size?

12:35:42    6    A    Yes.

12:35:43    7                    MR. ELIKAN:   Can we have PX 563, please.

12:35:48    8                    And, Your Honor, this has been pre-admitted it's

12:35:51    9   article by Woodman, and it's titled "Docosahexanoic Acid But

12:35:59   10   Not Icosapentaenoic Acid Increases LDL Particle Size in

12:36:05   11   Treated Hypertensive Type 2 Diabetic Patients," and the

12:36:12   12   parties have stipulated to it as prior in paragraph 74.

12:36:16   13                    THE COURT:    74?

12:36:19   14                    MR. ELIKAN:   Yes.

12:36:19   15                    THE COURT:    Thank you.

12:36:19   16   BY MR. ELIKAN:

12:36:22   17    Q    Now, is Dr. Mori a coauthor of this article?

12:36:28   18    A    Yes, he's a second author.

12:36:34   19                    MR. ELIKAN:   I want to go to highlight the first

12:36:37   20   sentence in the last paragraph in the left-hand column

12:36:43   21   beginning with "these data."

12:36:43   22   BY MR. ELIKAN:

12:36:48   23    Q    What do the authors report here about the relative

12:36:51   24   effects of EPA and DHA on LDL particle size?

12:36:56   25    A    They note that the data that they're reporting in this
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12:36:59    1   paper supports their previous study in overweight

12:37:03    2   hypercholesterolemic subjects which is the Mori paper from the

12:37:11    3   American Journal of Clinical Nutrition which is the Mori that

12:37:11    4   we had been discussing, in whom LDL particle size increased

12:37:16    5   after supplementation with DHA but not EPA.

12:37:19    6    Q    And you were referring to the citation two in the

12:37:24    7   references, Doctor?

12:37:25    8    A    Yes, counsel.

12:37:26    9    Q    And is that the same Mori article that Dr. Heinecke

12:37:32   10   testified about from 2000?

12:37:34   11    A    Yes.

12:37:34   12    Q    Let's look at the last paragraph of the article.         So it's

12:37:39   13   in the middle column.

12:37:41   14                What do the authors conclude about the therapeutic

12:37:46   15   value of DHA as compared to EPA?

12:37:49   16    A    They conclude that supplementation with purified DHA

12:37:54   17   increases LDL particle size, reduces serum triglycerides and

12:38:00   18   increases HDL-2 cholesterol as well as improves vascular

12:38:06   19   function and blood pressure.      Therefore, for subjects with

12:38:09   20   type 2 diabetes, DHA may have more therapeutic value than EPA

12:38:16   21   as food additive --

12:38:17   22    Q    So -- oh, I'm sorry.

12:38:19   23    A    -- but longer term prospective studies are needed to

12:38:23   24   address the issue.

12:38:24   25    Q    And were the findings about LDL particle size -- I take
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12:38:27    1   it they're fully consistent with Mori 2000 based on your

12:38:31    2   analysis of reference to in the citation to?

12:38:35    3    A     They are.

12:38:35    4    Q     All right.    I want to go back to PDX 6-20 and move to the

12:38:40    5   next factor, blood pressure.

12:38:42    6               As of March 2008, would the person of ordinary skill

12:38:47    7   in the art have understood that blood pressure was related to

12:38:50    8   cardiovascular health?

12:38:51    9    A     Oh, yes, all over the world.

12:38:55   10    Q     And why is that?    What's the relationship between the

12:39:00   11   two?

12:39:00   12    A     As blood pressure increases, risk for cardiovascular

12:39:04   13   disease increases, and in patients with elevated blood

12:39:08   14   pressure, it's important to reduce the blood pressure to

12:39:11   15   reduce risk.

12:39:12   16    Q     And what did the prior art have to say about the relative

12:39:15   17   effects of EPA and DHA on blood pressure?

12:39:19   18    A     That DHA had more favorable effects on blood pressure

12:39:23   19   than EPA.

12:39:24   20                      MR. ELIKAN:   Let's turn to PX 565, which has

12:39:32   21   been pre-admitted, Your Honor, and the parties have stipulated

12:39:35   22   to it as prior art and that's in paragraph 76.

12:39:40   23                      THE COURT:    Thank you.

12:39:40   24   BY MR. ELIKAN:

12:39:42   25    Q     And what is PX 565?
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12:39:44    1    A    This is a paper published in the journal Hypertension in

12:39:49    2   1999, another paper by Trevor Mori entitled, "DHA But Not EPA

12:39:55    3   Lowers Ambulatory Blood Pressure in Heart Rate in Humans."

12:40:00    4                    MR. ELIKAN:   And can we highlight the second

12:40:02    5   sentence of the abstract on page 2, Mr. Brooks.

12:40:02    6   BY MR. ELIKAN:

12:40:13    7    Q    What was the stated aim of the study?

12:40:15    8    A    The aim of the study was to determine whether there were

12:40:18    9   significant differences in the effects of purified EPA or DHA

12:40:22   10   on ambulatory blood pressure and heart rate in humans.

12:40:28   11                    MR. ELIKAN:   And can we highlight the sentence

12:40:30   12   beginning with purified DHA further down this paragraph.

12:40:30   13   BY MR. ELIKAN:

12:40:38   14    Q    What does Mori report here about the relative effects of

12:40:43   15   DHA and EPA on blood pressure?

12:40:45   16    A    That purified DHA but not EPA reduced ambulatory blood

12:40:50   17   pressure and heart rate in mildly hyperlipidemic men.          The

12:40:59   18   results of this study suggest that DHA is the principal

12:40:59   19   omega-3 fatty acid in fish and fish oils that is responsible

12:41:03   20   for their blood pressure and heart lowering effects in humans.

12:41:10   21    Q    You said heart lowering --

12:41:11   22    A    Heart rate lowering, I'm sorry.

12:41:12   23    Q    We haven't' spent much time with heart rate.        Is heart

12:41:16   24   rate connected to cardiovascular health?

12:41:19   25    A    Yes, there are study to show that for patients who have
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12:41:22    1   elevated baseline heart rates, they live in something of a

12:41:26    2   hyperdynamic state, and over time this does incur injuries to

12:41:35    3   heart muscle as well as blood vessels.

12:41:36    4                    MR. ELIKAN:   I want to turn now PX 386.      This is

12:41:39    5   article by Dr. McLennan that the parties have stipulated to as

12:41:44    6   prior art in paragraph 68.

12:41:47    7                    THE COURT:    Thank you.

12:41:47    8   BY MR. ELIKAN:

12:41:54    9    Q    What's the title?

12:41:55   10    A    This paper was published in the European Journal of

12:42:00   11   Pharmacology in 1996.     It is entitled "The Cardiovascular

12:42:02   12   Protective Role of DHA."

12:42:05   13                    MR. ELIKAN:   And can we highlight the second

12:42:07   14   sentence of the abstract.

12:42:07   15   BY MR. ELIKAN:

12:42:08   16    Q    What did the author state was the goal of this study?

12:42:13   17    A    They examined the roles of EPA and DHA which are the

12:42:17   18   principal omega-3 polyunsaturated fatty acids regarded as

12:42:27   19   candidates for cardio-protected actions.

12:42:27   20    Q    I want to look at the last sentence of the abstract.

12:42:29   21               What did the authors conclude from the study?

12:42:35   22    A    They conclude that purified omega-3 polyunsaturated fatty

12:42:44   23   acids mimic the cardiovascular actions of fish oils and

12:42:44   24   implied that DHA may be the principal active component

12:42:49   25   conferring cardiovascular protection.
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12:42:52    1                    MR. ELIKAN:   Now, turning to page 6, I want to

12:42:56    2   highlight a sentence in the left-hand column about nine lines

12:43:02    3   down beginning with "nevertheless."

12:43:02    4   BY MR. ELIKAN:

12:43:06    5    Q    What did the authors state here about the relative

12:43:08    6   effects of EPA and DHA on blood pressure?

12:43:11    7    A    That the DHA reduced blood pressure more than a

12:43:16    8   combination of EPA and DHA, which in turn reduced blood

12:43:21    9   pressure better than EPA by itself.

12:43:30   10    Q    And what's the clear order?

12:43:34   11    A    The order is DHA was better than EPA plus DHA, and that

12:43:39   12   EPA plus DHA was better than the EPA by itself.

12:43:44   13    Q    Do you recall that Dr. Heinecke testified that LDL-C was

12:43:48   14   the major determinate of cardiovascular risk that a person of

12:43:54   15   ordinary skill in the art would have taken into account when

12:43:57   16   deciding which particular omega-3 fatty acid formulation to

12:44:03   17   pursue?

12:44:03   18    A    Yes.

12:44:04   19    Q    Do you agree that in evaluating the overall profile of

12:44:09   20   DHA and EPA, a person of ordinary skill in the art would have

12:44:13   21   considered only LDL-C effects and not the other factors

12:44:18   22   related to cardiovascular health that we've been discussing?

12:44:21   23    A    Well, as I mentioned, it's very important to perform a

12:44:26   24   comprehensive inventory of all risk factors in patients at

12:44:28   25   risk for cardiovascular disease, and so the more comprehensive
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12:44:33    1   approach would argue that the DHA would be beneficial for

12:44:37    2   multiple things, you would want to keep it.

12:44:39    3    Q    And would that have been the view of the person of

12:44:43    4   ordinary skill in the art, keep the DHA?

12:44:44    5    A    Yes.

12:44:48    6    Q    And on factors other than LDL-C, which I'm setting aside

12:44:53    7   for the moment, what did the prior art suggest as far as

12:44:56    8   whether DHA or EPA had advantages?

12:45:00    9    A    That the DHA still had outweighing advantages compared to

12:45:04   10   the EPA.

12:45:05   11    Q    Now, let's focus on LDL-C.      Do you recall that

12:45:09   12   Dr. Heinecke testified that as of 2008, EPA would offer an

12:45:14   13   advantage over DHA in terms of LDL-C?

12:45:18   14    A    Yes.

12:45:19   15    Q    Do you agree with that opinion?

12:45:20   16    A    No.

12:45:22   17    Q    Did any of the prior art that Dr. Heinecke relied upon

12:45:27   18   suggest that EPA would offer an advantage over DHA in terms of

12:45:32   19   LDL-C in patients with very high triglycerides?

12:45:36   20    A    No.

12:45:37   21    Q    Now, let's talk about patients with triglycerides below

12:45:42   22   500, those who are not severely hypertriglyceridemic.          For

12:45:47   23   those patients, did the prior art as a whole suggest that EPA

12:45:52   24   had advantages over DHA in terms of LDL-C effects?

12:45:56   25    A    No.
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12:45:56    1    Q      Do you recall that Dr. Heinecke testified that in Mori

12:46:05    2   and Kurabayashi LDL-C did not increase in the patients to whom

12:46:10    3   EPA was given?

12:46:11    4    A      Yes.

12:46:11    5    Q      Taking the prior art as a whole, and again focusing on

12:46:16    6   the patients with triglycerides below 500, did the prior art

12:46:22    7   consistently report that EPA did not raise LDL-C?

12:46:26    8    A      It did not.

12:46:27    9    Q      Did you review prior art reporting that EPA raised LDL-C

12:46:33   10   in patients with triglycerides less than 500?

12:46:36   11    A      Yes.

12:46:38   12                    MR. ELIKAN:    Let's look at an example.     Can we

12:46:40   13   have DX 1961.    And this will be -- we can skip to the front

12:46:49   14   page.    I'm sorry, the page with the title, page 3.

12:46:54   15                    This is 1996 article about Dr. Rambjør that

12:46:58   16   Dr. Heinecke discussed.       It's already been admitted, Your

12:47:01   17   Honor, and the parties have stipulated that it is prior art,

12:47:04   18   and that's in paragraph 72.

12:47:07   19                    THE COURT:    Thank you.

12:47:07   20   BY MR. ELIKAN:

12:47:09   21    Q      Let's turn to page 3, which is where we are now, and the

12:47:13   22   first sentence of the abstract.       What was the aim of the

12:47:17   23   study?

12:47:18   24    A      It was to determine whether EPA or DHA or both were

12:47:23   25   responsible for the triglyceride lowering effects of fish oil.
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12:47:28    1    Q     Let's highlight the second sentence.

12:47:30    2                 What formulations did Dr. Rambjør test in the

12:47:36    3   different arms in this study?

12:47:38    4    A     91 percent pure EPA, 83 percent pure DHA, and a fish oil

12:47:45    5   concentrate that was comprised of 41 percent EPA and

12:47:50    6   23 percent DHA, and then they used an olive oil placebo.

12:47:58    7                     MR. ELIKAN:   I'm going to go now to page 5 and

12:48:00    8   pull up Table 3.     And let's look at the EPA arm.      Can we

12:48:06    9   highlight the --

12:48:06   10   BY MR. ELIKAN:

12:48:08   11    Q     What is -- what are the number of subjects in the EPA

12:48:12   12   arm?

12:48:13   13    A     The EPA arm had 25 persons.

12:48:17   14    Q     That's indicated by the N equals 25?

12:48:20   15    A     Yes.

12:48:21   16    Q     And what was the LDL-C effect on the EPA arm?

12:48:25   17    A     In the EPA arm the LDL increased in a statistically

12:48:31   18   significant way from 2.81 millimoles per liter to

12:48:36   19   2.97 millimoles per liter.

12:48:42   20    Q     You testified that the EPA arm in Mori had 19 subjects?

12:48:46   21    A     Yes.

12:48:47   22    Q     How does the sample size in Mori compare to the number of

12:48:52   23   subjects in the EPA arm in this study?

12:48:56   24    A     There are slightly more persons in this at 25 here

12:49:02   25   compared to 19 in Trevor Mori's paper.
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12:49:05    1    Q    Does this reference suggest, as Dr. Heinecke contends,

12:49:12    2   that it was understood as of March 2008, that DHA, but not

12:49:18    3   EPA, was responsible for raising LDL-C?

12:49:22    4    A    No.    The results were decidedly mixed.

12:49:26    5    Q    Was there prior art that also reported that DHA did not

12:49:31    6   raise LDL-C in patients with triglycerides below 500?

12:49:36    7    A    Yes.

12:49:39    8                    MR. ELIKAN:   I want to go back to DX 1933, the

12:49:44    9   Agren article and to page 8, and I want to highlight the

12:49:48   10   sentence in the left hand column, five lines down from the

12:49:52   11   top, beginning with "no tendency."

12:49:52   12   BY MR. ELIKAN:

12:49:59   13    Q    What did Agren report about the effect of LDL-C in the

12:50:06   14   DHA oil group?

12:50:06   15    A    That there was no tendency to increase the LDL

12:50:09   16   cholesterol in the DHA oil group in the present study.

12:50:12   17    Q    Do you recall that Dr. Heinecke testified that the person

12:50:17   18   of ordinary skill in the art would not have relied on this

12:50:21   19   paper to determine how LDL-C effects are affected by -- I'm

12:50:26   20   sorry.   Let me try that again.

12:50:28   21                Do you recall that Dr. Heinecke testified that the

12:50:30   22   person of ordinary skill would not have relied on this paper

12:50:34   23   to determine how LDL-C levels are affected by administering

12:50:40   24   EPA and DHA because it doesn't compare EPA and DHA, and would

12:50:45   25   have instead looked to the Mori paper which did compare them?
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12:50:49    1    A    Yes.

12:50:50    2    Q    Did Hayashi compare EPA and DHA?

12:50:56    3    A    No.

12:50:56    4    Q    Did Kurabayashi?

12:50:57    5    A    No.

12:51:06    6                    MR. ELIKAN:   One moment, Your Honor.      The

12:51:08    7   Court's indulgence.

12:51:20    8                    THE COURT:    Yes.

12:51:22    9                    MR. ELIKAN:   Can we go back to the table, please

12:51:24   10   in Rambjør that we were looking at before.        It's Table 3 on

12:51:34   11   page 5.

12:51:34   12   BY MR. ELIKAN:

12:51:39   13    Q    Was the rise that you mentioned in LDL-C in EPA

12:51:46   14   statistically significant?

12:51:48   15    A    Yes.

12:51:49   16    Q    I want to turn now DX 1949.      It's the 1996 Conquer

12:52:04   17   reference that Dr. Heinecke discussed.

12:52:08   18                And, Your Honor, it's been preadmit, and the parties

12:52:10   19   have stipulated that it's prior art in paragraph 84.

12:52:13   20                    THE COURT:    Thank you.

12:52:13   21   BY MR. ELIKAN:

12:52:17   22    Q    Turning to the left-hand column of page 4, the second

12:52:20   23   sentence of the last paragraph, how did Conquer characterize

12:52:27   24   the effect of DHA supplementation on LDL-C?

12:52:32   25    A    They note that,
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12:52:34    1                  "Although no significant alteration was found

12:52:37    2         in the total and LDL cholesterols with DHA

12:52:41    3         supplementation" --

12:52:42    4    Q    What was that again?     Can you say that in plain English?

12:52:45    5    A    They did not find that DHA increased either LDL or total

12:52:54    6   cholesterol.

12:52:58    7    Q    And do these references that we've looked at now Conquer

12:53:05    8   and Rambjør, do they suggest that even in patients who aren't

12:53:16    9   severely hypertriglyceridemic, it was understood that DHA but

12:53:22   10   not EPA was responsible for raising LDL-C?

12:53:25   11    A    No.

12:53:27   12    Q    In your work on this case, did you review prior art that

12:53:31   13   observed that there was inconsistency in the reported LDL-C

12:53:35   14   effects of omega-3 fatty acids?

12:53:37   15    A    Yes, counsel.

12:53:38   16                    MR. ELIKAN:   Let's go back to DX 1532, Hayashi,

12:53:44   17   and I want to look at the sentence on the third page under

12:53:49   18   Introduction beginning on the 7th line.        The sentence begins

12:53:53   19   with the word "data."

12:53:53   20   BY MR. ELIKAN:

12:53:57   21    Q    And what did Hayashi observe about the data on the effect

12:54:02   22   of fish oils on LDL-C?

12:54:04   23    A    Dr. Hayashi notes that data on the effects fish oils,

12:54:08   24   rich in omega-3 fatty acids, plasma LDL and HDL levels were

12:54:08   25   contradictory in some cases.
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12:54:15    1                     MR. ELIKAN:   And I would like to go now to

12:54:21    2   PX 909.   This is an article by Dr. Geppert, it's been

12:54:25    3   pre-admitted, and the parties have stipulated to it as prior

12:54:30    4   art in paragraph 55.

12:54:33    5                     THE COURT:    Thank you.

12:54:33    6   BY MR. ELIKAN:

12:54:41    7    Q    Can we turn to page 3.      What's the title of the article?

12:54:44    8    A    This is paper published in the British Journal of

12:54:47    9   Nutrition in 2006 entitled "Microalgal DHA Decreases Plasma

12:54:47   10   Triacylglycerol Glycerol in Normolipidemic Vegetarians:             A

12:54:47   11   Randomized Trial."

12:55:00   12    Q    So this is 2006, two years before the priority date.

12:55:03   13    A    Yes.

12:55:04   14                     MR. ELIKAN:   Let's go to page 8, the first full

12:55:08   15   paragraph in the left-hand column, and can we highlight the

12:55:12   16   sentence beginning in the 6th line with the words

12:55:15   17   "inconsistent effects."

12:55:15   18   BY MR. ELIKAN:

12:55:21   19    Q    What did the authors observe here about the reported

12:55:24   20   LDL-C effects of DHA?

12:55:28   21    A               "Inconsistent effects of DHA on LDL

12:55:32   22         cholesterol levels were reported in previous studies.

12:55:35   23         Some investigators found that LDL cholesterol raising

12:55:39   24         effect of DHA or no effect on LDL cholesterol

12:55:44   25         levels."
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12:55:45    1    Q    So it was inconsistent?

12:55:45    2    A    Yes.

12:55:47    3    Q    As you said?

12:55:47    4    A    Yes.

12:55:47    5    Q    Do you recall that Dr. Heinecke testified that the person

12:55:51    6   of ordinary skill in the art would have disregarded Rambjør

12:55:53    7   and Conquer after Dr. Mori published his article in 2000?

12:55:59    8    A    Yes.

12:56:01    9    Q    Did this 2006 article, six years after Mori, two years

12:56:06   10   before the priority date, cite to both Conquer and Rambjør as

12:56:10   11   well as Mori?

12:56:12   12    A    It sure did.

12:56:13   13    Q    Is that in the paragraph or the sentence, the long

12:56:16   14   sentence that we were just looking at?

12:56:18   15    A    They are.

12:56:24   16    Q    Would a person of ordinary skill in the art have looked

12:56:29   17   only at Mori's 2000 paper or instead the prior art as a whole

12:56:35   18   when assessing the relative LDL-C effects of DHA and EPA?

12:56:39   19    A    The prior art as a whole.

12:56:41   20    Q    In your work on this case, did you review any prior art

12:56:45   21   that surveyed the literature as a whole and drew conclusions

12:56:50   22   about the relative effects of EPA and DHA on lipid effects and

12:56:56   23   other parameters including LDL-C?

12:56:59   24    A    Yes, counsel.

12:57:00   25    Q    And what was that?     What reference?
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12:57:03    1    A    It's a reference by Clemmons von Schacky.

12:57:09    2                    MR. ELIKAN:   Let's go DX 1605.     This has been

12:57:14    3   pre-admitted, and the parties have stipulated, Your Honor,

12:57:18    4   that it's prior art.     That's in paragraph 82.

12:57:18    5   BY MR. ELIKAN:

12:57:22    6    Q    Do you recall that Dr. Heinecke testified that von

12:57:26    7   Schacky's a review and a -- I'm quoting now, summary of the

12:57:31    8   author's interpretation of what the literature showed?

12:57:35    9    A    Yes.

12:57:35   10    Q    Do you agree with him that von Schacky is a review

12:57:39   11   article?

12:57:40   12    A    Yes, and review articles do reflect the opinions and the

12:57:45   13   insights of the author.

12:57:46   14    Q    And do you agree with him that it is a summary of what

12:57:50   15   the literature showed?

12:57:51   16    A    Yes.

12:57:53   17                    MR. ELIKAN:   An we have page 1, and can we blow

12:57:57   18   up the bottom of the page.

12:57:57   19   BY MR. ELIKAN:

12:58:01   20    Q    What was this summary of what the literature showed

12:58:04   21   compiled?

12:58:04   22    A    This was published in 2006.

12:58:06   23    Q    And I want to direct your attention to Table 1 on page 9.

12:58:13   24                What did the authors provide as a description of

12:58:16   25   Table 1?
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12:58:17    1    A    This is a summary of the effects of purified EPA and DHA

12:58:22    2   as observed in human studies on a variety of risk factors and

12:58:29    3   only significant differences were considered for the

12:58:31    4   inclusion.

12:58:32    5    Q    And the authors note that the table includes arrows?

12:58:36    6    A    Yes.

12:58:36    7    Q    What do they say the arrows denote?

12:58:39    8    A    Well, they are semi-quantitative reflections of the

12:58:44    9   findings from the literature.

12:58:45   10    Q    At the bottom of the table under Note, what generally

12:58:50   11   does von Schacky identify as the source of information for the

12:58:53   12   contents of the table?

12:58:55   13    A    There are 14 manuscripts noted there, including

12:58:59   14   manuscripts that we have been discussing here at trial today.

12:59:02   15    Q    I want to look at what's reported in the table.

12:59:05   16                Based on their review of the literature, what did

12:59:08   17   the authors of this von Schacky reference conclude about the

12:59:12   18   relative LDL-C effects of EPA and DHA?

12:59:17   19    A    Both EPA and DHA received a single upward going arrow,

12:59:24   20   meaning that on balance both omega-3 fish oils EPA and DHA

12:59:32   21   increased LDL cholesterol.

12:59:35   22    Q    Is there anything in this table that indicates that

12:59:39   23   different effects on LDL-C were obtained with EPA and DHA?

12:59:44   24    A    No.

12:59:45   25    Q    And looking again at the Note, below Table 1, do the
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12:59:50    1   authors include among the references they considered Mori?

12:59:56    2    A    Yes.

12:59:56    3    Q    The reference that Dr. Heinecke relied upon?

12:59:59    4    A    Yes.

01:00:00    5    Q    And did Dr. Von Schacky and his co-authors also consider

01:00:06    6   the Rambjør reference?

01:00:07    7    A    Yes.

01:00:07    8    Q    I want to ask you about some other parameters in this

01:00:11    9   table starring with triglycerides.       What did von Schacky

01:00:17   10   conclude about the relatives effects of EPA and DHA on

01:00:22   11   triglycerides?

01:00:23   12    A    Dr. Von Schacky concluded that they both exerted a robust

01:00:27   13   effect on triglyceride reduction as indicated by two down

01:00:31   14   going arrows.

01:00:33   15    Q    Does von Schacky suggest that EPA offers some advantage

01:00:38   16   over DHA in terms of triglyceride lowering?

01:00:40   17    A    No, they have each two down going arrows.

01:00:45   18    Q    And does this table suggest that the only consideration

01:00:49   19   for assessing cardiovascular and lipid effects is LDL?

01:00:55   20    A    No.

01:00:57   21    Q    Let's look at some of the other factors.

01:01:01   22                You mentioned that HDL was viewed as --

01:01:07   23    A    Beneficial.

01:01:07   24    Q    -- beneficial.    Could we call that cardio-protective?

01:01:11   25    A    Yes, that's good.
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01:01:12    1    Q    Did the authors of von Schacky conclude that EPA would

01:01:17    2   offer an advantage over DHA in terms of effects on HDL?

01:01:22    3    A    A little bit open-ended here.      He put a question mark

01:01:26    4   next to a horizontal arrow for EPA, which would denote

01:01:31    5   neutrality.     He put an upward going single arrow for DHA.        But

01:01:37    6   it looks like on balance he agreed with the literature that

01:01:42    7   DHA would increase HDL with something of an equivocal neutral

01:01:49    8   effect with EPA.

01:01:51    9    Q    What about in terms of blood pressure?

01:01:53   10    A    EPA, neutral.    DHA, reduced blood pressure as evinced by

01:01:59   11   a single down going arrow.

01:02:08   12    Q    And would the person of ordinary skill in the art in

01:02:12   13   March 2008 reviewing von Schacky and the prior art as a whole,

01:02:18   14   would that person have concluded that EPA offered an advantage

01:02:22   15   over DHA with regard to blood pressure?

01:02:25   16    A    No, a POSA would have find a semi-quantitative evaluation

01:02:30   17   of the available evidence very helpful because you can tell by

01:02:34   18   looking, based on number of arrows, directionality of the

01:02:39   19   arrows, what's happening here.

01:02:41   20                 And almost at a glance can you look down at this

01:02:45   21   table and go point by point by point, and you would not think

01:02:49   22   that EPA was superior to DHA in terms of the whole package.

01:02:55   23    Q    Okay.    We talked about some of these factors.       In terms

01:02:58   24   of heart rate, what did von Schacky conclude about the

01:03:02   25   relative effects of EPA and DHA on heart rate after surveying
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01:03:07    1   the literature?

01:03:08    2    A    That DHA had a more pronounced effect than did EPA.

01:03:13    3    Q    And in terms of endothelial function, what did von

01:03:21    4   Schacky conclude by about the relative effects of DHA and EPA

01:03:25    5   after surveying the literature?

01:03:27    6    A    Yeah, endothelial function is an area of great interest

01:03:33    7   and this is because if the endothelium is getting sick -- and

01:03:36    8   the endothelium is the cell type that lines the inner aspect

01:03:40    9   of all of our arteries.

01:03:42   10                If that cell is getting sick, that patient's

01:03:46   11   cardiovascular system is getting sick, and this would be

01:03:49   12   reflected by, say, capacity to induce dilatation of a blood

01:03:54   13   vessel, just by way of example, cranking down, the expression

01:03:58   14   of inflammatory mediators on the cell type, and actually DHA

01:04:02   15   appears to improve endothelial function neutral with EPA.

01:04:07   16    Q    Is that because of the one arrow up for DHA and the

01:04:10   17   sideways arrow for EPA?

01:04:13   18    A    Yes.

01:04:16   19    Q    I just want to make sure I understand.

01:04:19   20                After reviewing the literature, did von Schacky

01:04:22   21   report that EPA offered an advantage over DHA in any of the

01:04:27   22   parameters considered here?

01:04:31   23    A    No, it did not offer an advantage for anything.         It was

01:04:34   24   on par for triglycerides, cholesterol and LDL.

01:04:42   25                But for blood pressure, for heart rate, endothelial
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01:04:47    1   function, and possibly for HDL, DHA appeared to get better --

01:04:52    2   a better semi-quantitative evaluation.

01:04:52    3    Q      And if the person of ordinary skill in the art read von

01:04:59    4   Schacky, would that person have been led to get rid of the DHA

01:05:03    5   from Lovaza and use high purity EPA instead?

01:05:09    6    A      No, that would not have been a logical conclusion from

01:05:12    7   this.

01:05:16    8                    THE COURT:    I think it's good time for our lunch

01:05:18    9   break.    Is that why you were looking at your watch?

01:05:22   10                    MR. ELIKAN:    I figured I was about to start

01:05:24   11   something new, and I --

01:05:26   12                    THE COURT:    Yes.   As I note, I have a hearing at

01:05:27   13   1:30.    I'm going to try to limit that hearing to 30 minutes,

01:05:31   14   but, to be safe, let's plan to resume at about 2:15.

01:05:38   15                    I inform you of the emergency issue that we have

01:05:40   16   in the Las Vegas courthouse.      I may have to schedule a call

01:05:43   17   this afternoon with the unit executives to see what that

01:05:47   18   situation is.    So I'll let you know if I need to recess even

01:05:51   19   earlier than I planned at 4:30.

01:05:54   20                    MR. ELIKAN:    Thank you, Your Honor.

01:05:54   21                           (The noon recess was taken.)

01:05:54   22                                  --o0o--

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01:05:54    2                                  ---o0o---

02:24:57    3

02:24:57    4                   THE COURT:    Please be seated.

02:24:58    5                   Counsel, before you resume, I do have to recess

02:25:05    6   today at 3:30 to allow me to address continued court

02:25:09    7   operations at our Las Vegas courthouse, and because I'm

02:25:14    8   cutting two hours short for today, if I need to extend the

02:25:19    9   length of trial for the next two days so that you finish as

02:25:23   10   you expected, I would consider that.        I just don't know where

02:25:27   11   we will be at the end of today.       But, let's resume for now and

02:25:31   12   I do need to break at 3:30.

02:25:34   13                   MR. ELIKAN:    Understood, Your Honor.

02:25:36   14                   MR. SIPES:    Your Honor, this is Christopher

02:25:37   15   Sipes for Amarin.     Mr. Klein -- and I believe Ms. Huttner is

02:25:43   16   the court too -- even with this, I think we would certainly

02:25:46   17   anticipate finishing by Wednesday.         And there's a possibility,

02:25:49   18   maybe if we extend, that we could finish on Tuesday, which I

02:25:52   19   think would make no one unhappy.

02:25:54   20                   THE COURT:    That's good.

02:25:54   21                   MR. KLEIN:    This is your last witness?

02:25:56   22                   MR. SIPES:    This is our last witness.

02:25:58   23                   THE COURT:    But will you have witnesses?

02:26:00   24                   MR. KLEIN:    Uh, we have two rebuttal witnesses

02:26:03   25   who may or may not testify depending on how the rest of this
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02:26:07    1   testimony goes.

02:26:09    2                   THE COURT:    Ms. Huttner, do you agree with that.

02:26:13    3                   MS. HUTTNER:    Yeah.   That's fine.    There were

02:26:14    4   some other witnesses that had been pulled, so we're fine with

02:26:17    5   that.

02:26:17    6                   THE COURT:    Thank you.    And if we finish

02:26:19    7   Tuesday, then that's great.      I just don't want to

02:26:21    8   inconvenience you all because you thought you were finishing

02:26:24    9   by Wednesday, if the result of me recessing earlier today will

02:26:28   10   affect anyone's schedule.      So, that's available it we need to

02:26:32   11   go longer tomorrow or Wednesday.

02:26:35   12                   MR. SIPES:    Thank you.

02:26:35   13                   THE COURT:    Thank you.

02:26:41   14                   MR. ELIKAN:    Your Honor, may I proceed?

02:26:42   15                   THE COURT:    Yes.

02:26:48   16                   MR. ELIKAN:    A housekeeping issue before I

02:26:50   17   resume.

02:26:50   18                   We were -- at the beginning of my examination I

02:26:52   19   mentioned ATP III, and Your Honor referenced paragraph 41,

02:26:56   20   which is the paragraph in the stipulation which, in the -- of

02:27:02   21   the paragraph addressing, actually, whether the executive

02:27:05   22   summary was prior art.      The paragraph relating to ATP III is

02:27:10   23   actually paragraph 64.

02:27:12   24                   THE COURT:    Thank you.

02:27:15   25                   THE COURT:    That's paragraph 64 for the record
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02:27:18    1   in ECF 324, the Joint Stipulation.

02:27:22    2                    MR. ELIKAN:   Yes, Your Honor.

02:27:22    3                    THE COURT:    Thank you.

02:27:22    4                        DIRECT EXAMINATION RESUMED

02:27:22    5   BY MR. ELIKAN:

02:27:31    6    Q    Let's turn back to PDX 6-21.      I want to focus now on the

02:27:31    7   third point.

02:27:37    8                In 2008, was there a finite or limited number of

02:27:37    9   potential options to try to solve the problem with developing

02:27:40   10   an improved treatment for severe hypertriglyceridemia?

02:27:46   11    A    No.

02:27:49   12    Q    Would there have been two or three options?

02:27:52   13    A    No.    There could have been hundreds of options.

02:27:57   14    Q    And irrespective of the number of options, was it

02:28:01   15   predictable that you could avoid substantial LDL-C increases

02:28:06   16   by following any of those options?

02:28:09   17    A    No, counsel.

02:28:11   18    Q    And why is that?

02:28:12   19    A    Because, again, the group below 500 behaved differently

02:28:20   20   than the group above 500, and there was no evidence to suggest

02:28:24   21   that any available agent behaved differently when administered

02:28:31   22   to a patient.

02:28:32   23    Q    Is that relating to the mechanism of action of the

02:28:35   24   metabolism that you described earlier?

02:28:37   25    A    Yes.
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02:28:37    1    Q    Let's turn now to the number of options.

02:28:40    2                 Would a potential option for a new treatment for

02:28:44    3   severe hypertriglyceridemia have been a new type of fibrate

02:28:49    4   products?

02:28:51    5    A    Sure.

02:28:52    6    Q    Could the person of ordinary skill in the art have

02:28:57    7   pursued a new type of niacin product?

02:28:57    8    A    Sure.

02:28:58    9    Q    An entirely new type of triglyceride lowering agent?

02:29:02   10    A    Yes.

02:29:02   11    Q    Combination of existing agents?

02:29:04   12    A    Yes.

02:29:05   13    Q    Let's talk now about omega-3 fatty acids.

02:29:09   14                 Do you recall that Dr. Heinecke testified that as of

02:29:11   15   March 2008, there were not many options for potential new

02:29:17   16   omega-3 fatty acid formulations?

02:29:19   17    A    Yes.

02:29:20   18    Q    Do you agree with him?

02:29:21   19    A    No.

02:29:21   20    Q    What types of options would there have been in terms of

02:29:27   21   composition for a treatment made of omega-3 fatty acids,

02:29:33   22   potentially useful in lowering triglycerides in patients with

02:29:37   23   severe hypertriglyceridemia?

02:29:39   24    A    You could have varied the ratio between the two principal

02:29:45   25   omega-3s.     You could have varied the dose.     You could have
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02:29:48    1   also introduced, as some people did, alpha-Linolenic acid.

02:29:53    2   You could have considered adding Omega-6s and Omega-9s.             The

02:30:00    3   list was potentially infinite.

02:30:01    4    Q    In turning to dose, would there have been a variety of

02:30:05    5   doses that a person of ordinary skill in the art might have

02:30:08    6   considered had that person wanted to develop a new omega-3

02:30:14    7   fatty acids formulation for treating patients with severe

02:30:17    8   hypertriglyceridemia?

02:30:17    9    A    Absolutely.

02:30:19   10    Q    As of March 2008, did the medical literature provide a

02:30:24   11   reason not to use a 4-gram dose of an omega-3 fatty acid?

02:30:31   12    A    Yes.

02:30:31   13    Q    Let's turn to PX 567.     This is the Nilsen article,

02:30:38   14   "Effect of a High Dose Concentrate of n-3 Fatty Acids or Corn

02:30:44   15   Oil Introduced Early After an Acute Myocardial Infarction on

02:30:50   16   Serum Triacylglycerol and HDL Cholesterol."

02:30:53   17                It's pre-admitted.    And, Your Honor, the parties

02:30:55   18   have stipulated that its prior art in paragraph 77.

02:31:01   19                    THE COURT:   Thank you.

02:31:05   20   BY MR. ELIKAN

02:31:05   21    Q    And in the left-hand column under the heading, Abstract,

02:31:09   22   what does Dr. Nilsen state as the objective of the study?

02:31:14   23    A    He notes the objective was to evaluate the effect of a

02:31:18   24   high dose ethylester concentrate of omega-3 fatty acids

02:31:23   25   administered early after an acute MI or heart attack on
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02:31:28    1   subsequent cardiac events and serum lipids.

02:31:33    2    Q    And looking at the paragraph labeled Design, right below,

02:31:38    3   what does this publication state was the dose of omega-3 fatty

02:31:41    4   acids that was studied?

02:31:43    5    A    Um, they took 300 patients with an acute MI, and randomly

02:31:51    6   assigned them to either 4 grams of highly concentrated omega-3

02:31:55    7   fatty acids or corn oil, administered in a double-blind manner

02:31:59    8   over one to two years.

02:32:00    9    Q    So was the dose of the omega-3 fatty acids               4

02:32:04   10   grams?

02:32:04   11    A    Yes.

02:32:05   12    Q    And do the 4 grams offer any benefit, in terms of cardiac

02:32:10   13   events, as compared to placebo?

02:32:12   14    A    No.

02:32:13   15    Q    And later in the article do the authors offer some

02:32:17   16   possible reasons for why a clinical benefit was not observed

02:32:21   17   with the 4-gram dose?

02:32:23   18    A    Yes.

02:32:24   19                    MR. ELIKAN:   Let's go to page 5, and I want to

02:32:27   20   turn to the second to last paragraph on the right-hand side,

02:32:30   21   which is in Discussion.      And can we highlight, Mr. Brooks, the

02:32:35   22   first sentence.

02:32:35   23   BY MR. ELIKAN:

02:32:38   24    Q    In that sentence, what do the authors suggest as one

02:32:41   25   possible reason that the omega-3 fatty acid formulation that
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02:32:45    1   they studied did not show a benefit?

02:32:49    2    A    They state,

02:32:50    3                   "It is also possible that the high doses of

02:32:53    4         concentrated omega-3 fatty acids applied in this

02:32:56    5         study exceeded some optimal threshold level,

02:33:01    6         outweighing the beneficial effect, or even leading to

02:33:04    7         an apparent adverse event."

02:33:06    8    Q    Can you break that down and explain that in plain

02:33:10    9   English?

02:33:10   10    A    Sure.    So they were surmising that possibly they had

02:33:16   11   exceeded some therapeutic threshold, and now exposed patients

02:33:22   12   to hazard because, perhaps, the dose of fatty acid was toxic

02:33:28   13   in some way.

02:33:29   14    Q    Was this a study of a population with very high

02:33:32   15   triglycerides?

02:33:32   16    A    No.

02:33:32   17    Q    Would the person of ordinary skill in the art, let's say

02:33:37   18   that person wants to develop a new formulation for very high

02:33:42   19   triglycerides, would they have disregarded this warning about

02:33:46   20   passing an of optimal threshold, or would they still want to

02:33:50   21   make sure the drug wasn't causing problems?

02:33:52   22    A    No.   They would want to make sure they haven't exceeded

02:33:56   23   some optimal threshold.

02:33:57   24    Q    Let's turn back to PDX 6-22.      And the last reason you

02:34:04   25   have on PDX 6-22 is "Objective Indicia of Nonobviousness."
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02:34:11    1                Do some of the objective indicia you have opinions

02:34:14    2   on, relate to the findings of the MARINE trial?

02:34:17    3    A    Yes.

02:34:18    4    Q    And do others relate to the findings of the REDUCE-IT

02:34:20    5   trial?

02:34:21    6    A    Yes.

02:34:21    7                    MR. ELIKAN:   And before we address the objective

02:34:24    8   indicia, I want to discuss the legal standards you used.

02:34:28    9                    Can we have PDX 6-23.

02:34:28   10   BY MR. ELIKAN:

02:34:32   11    Q    What was the legal standard that you applied?

02:34:35   12    A    That a nexus or relationship must exist between the

02:34:39   13   evidence of objective indicia of non-obviousness and the

02:34:42   14   asserted claims.

02:34:45   15                A rebuttable presumption of nexus exists when the

02:34:49   16   objective indicia are tied to a specific product whose use

02:34:53   17   embodies the invention disclosed and claimed in the patent.

02:34:57   18                And finally, objective evidence must be reasonably

02:35:00   19   commensurate with the scope of the patent claims.

02:35:04   20    Q    Let's talk about objective indicia that relates to the

02:35:08   21   MARINE trial.

02:35:10   22                Have you prepared a slide summarizing that

02:35:13   23   information?

02:35:13   24    A    Yes.

02:35:14   25    Q    Can we have PDX 6-24.
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02:35:19    1                So is the first of these objective indicia relating

02:35:22    2   to the MARINE trial in satisfaction of the long-felt need?

02:35:26    3    A    Yes.

02:35:27    4    Q    Can you briefly explain how, in your opinion, Vascepa

02:35:30    5   satisfied and met the long-felt need?

02:35:33    6    A    Well, the national health and nutrition examination

02:35:37    7   survey found that there are about three-and-a-half million

02:35:40    8   people with severe hypertriglyceridemia in the United States.

02:35:44    9   We were in desperate need of a treatment that could lower the

02:35:48   10   triglycerides safely, without raising the LDL cholesterol.

02:35:54   11    Q    As of March 2008, had this issue of LDL-C increases been

02:36:02   12   long recognized as a problem?

02:36:05   13    A    Yes, counsel.

02:36:05   14    Q    And with triglyceride-lowering agents in patients with

02:36:10   15   very high triglycerides?

02:36:11   16    A    Yes, sir.

02:36:11   17    Q    And did the prior art reflect that concern?

02:36:14   18    A    Oh, yes.

02:36:15   19    Q    Let's turn back to PDX 1026, the Carlson reference.           And

02:36:20   20   could we go to page 7, and the sentence we looked at earlier.

02:36:26   21                And Dr. Toth, am I correct that you pointed out this

02:36:33   22   sentence before,

02:36:35   23                    "The finding of major clinical concern in

02:36:38   24         this report is the sometimes quite substantial rise

02:36:41   25         in LDL cholesterol"?
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02:36:42    1    A    Yes.   We did highlight that sentence earlier.

02:36:45    2                    MR. ELIKAN:   Can we go to the first page, Mr.

02:36:47    3   Brooks, and if we blow-up the top.

02:36:47    4   BY MR. ELIKAN:

02:36:56    5    Q    And this article is from 1977?

02:36:58    6    A    Yes.

02:36:59    7    Q    So that's more than 30 years before March 2008, right?

02:37:03    8    A    Yes.

02:37:04    9    Q    Is there other prior art published after 1977 that

02:37:09   10   reflects the concern about the effect of triglyceride-lowering

02:37:13   11   agents on LDL-C and patients with triglycerides?

02:37:17   12    A    Yes.

02:37:18   13    Q    Let's turn to PX 964.

02:37:23   14                And, Your Honor, this is a the Lopid PDR entry.

02:37:28   15   It's been pre-admitted and the parties have stipulated to it

02:37:31   16   as prior art.    And that's in paragraph 103.

02:37:35   17                    THE COURT:    Thank you.

02:37:37   18                    MR. ELIKAN:   Can we pull up page 2 of the Lopid

02:37:40   19   PDR, and I want to look in the right-hand column, item number

02:37:45   20   2, under Indications and Usage.       And I want to zero in on that

02:37:51   21   paragraph, if we can.

02:37:52   22                    Can we make it larger?

02:37:53   23                    Can we highlight the two sentences about midway

02:37:57   24   down the paragraph, starting with "patients with significantly

02:38:01   25   elevated triglycerides."
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02:38:01    1   BY MR. ELIKAN:

02:38:07    2    Q    What does the Lopid labeling say?       What does it report in

02:38:14    3   that sentence?

02:38:14    4    A    It states,

02:38:15    5                  "Patients with significantly elevated

02:38:17    6         triglycerides should be closely observed when treated

02:38:20    7         with gemfibrozil.     In some patients with high

02:38:23    8         triglyceride levels, treatment with gemfibrozil is

02:38:26    9         associated with a significant increase in LDL

02:38:29   10         cholesterol."

02:38:31   11    Q    So am I correct that this is talking about patients with

02:38:38   12   high triglyceride levels in that second sentence?

02:38:41   13    A    Yes, sir.

02:38:41   14    Q    Would a person of ordinary skill in the art             in 2008

02:38:47   15   have understood that LDL-C increases would              be of greater

02:38:51   16   concern in patients with very high triglycerides, or lesser?

02:38:55   17    A    Please state that again.

02:38:58   18    Q    Would a person of ordinary skill in the art understood

02:39:04   19   that LDL-C increases would be an even greater concern in

02:39:08   20   patients with very high triglycerides?

02:39:11   21    A    It would be a greater concern in patients with very high

02:39:15   22   triglycerides.

02:39:15   23    Q    Let's turn to DX1531.

02:39:20   24               And, Your Honor, this also has been pre-admitted.

02:39:23   25   It's a Harris article.      "Safety and Efficacy of Omacor in
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02:39:27    1   Severe Hypertriglyceridemia."       And it's also been stipulated

02:39:33    2   to as prior art in paragraph 42.

02:39:37    3                    THE COURT:   Thank you.

02:39:37    4   BY MR. ELIKAN:

02:39:41    5    Q    Do you recall Dr. Heinecke's testimony that this article

02:39:44    6   studied Lovaza -- here called Omacor -- and reported that

02:39:50    7   administering it to patients with very high triglycerides

02:39:53    8   resulted in an increase of LDL-C of 31 percent and this -- and

02:39:58    9   that this represented a very significant increase in LDL-C?

02:40:03   10    A    Yes.

02:40:03   11    Q    Do you agree with him?

02:40:05   12    A    Yes.

02:40:05   13    Q    Is Harris 1997 another example of LDL-C increases

02:40:12   14   associated with triglyceride-lowering agents in patients with

02:40:16   15   very high triglycerides?

02:40:18   16    A    Yes.

02:40:18   17    Q    Now, we looked at publications from 1977, 1990, and 1997,

02:40:28   18   all reporting issues with increased LDL-C associated with

02:40:33   19   treatment of very high triglycerides.        Did this remain a

02:40:37   20   concern as of March 2008?

02:40:39   21    A    Yes, because the issue wasn't solved.

02:40:41   22    Q    In your opinion, did Vascepa address those concerns and,

02:40:46   23   in the process, meet a long-felt need?

02:40:48   24    A    Yes.

02:40:49   25    Q    And why is that?
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02:40:50    1    A    Because it finally solved the issue of reducing

02:40:54    2   triglycerides in a clinically meaningful way in patients with

02:40:59    3   very high triglycerides, without increasing LDL cholesterol.

02:41:03    4    Q    Earlier you testified that beyond increases in LDL-C,

02:41:11    5   niacin had severe tolerability issues, and you mentioned

02:41:15    6   flushing and pruritus.

02:41:18    7    A    Yes.

02:41:18    8    Q    Does Vascepa have those limitations?

02:41:21    9    A    No.

02:41:21   10    Q    And you mentioned, also, fibrates causing safety

02:41:28   11   concerns.

02:41:29   12    A    Yes.

02:41:29   13    Q    Does Vascepa raise similar concerns?

02:41:32   14    A    No, it does not.

02:41:33   15    Q    Do you recall that Dr. Heinecke testified             that Mori

02:41:44   16   had already met the need for a triglyceride-lowering agent

02:41:48   17   that did not lead to a substantial increase in LDL-C?

02:41:52   18    A    Yes, counsel.

02:41:53   19    Q    Remind me, did Mori study severely hypertriglyceridemic

02:42:00   20   patients or mildly hyperlipidemic?

02:42:04   21    A    Mildly hyperlipidemic, because the EPA group had a mean

02:42:09   22   baseline triglyceride of 178, while the DHA group had a mean

02:42:13   23   baseline triglyceride of 199.

02:42:17   24    Q    And did Mori then meet the need for a

02:42:20   25   triglyceride-lowering agent for severely hypertriglyceridemic
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02:42:24    1   patients that doesn't substantially increase LDL-C?

02:42:27    2    A    No.

02:42:32    3    Q    You previously testified you're going -- you're relying

02:42:36    4   on Dr. Budoff's testimony that use of Vascepa, according to --

02:42:42    5   that use of Vascepa according to the labeling satisfies each

02:42:47    6   claim element of the asserted claims, right?

02:42:49    7    A    That's correct, counsel.

02:42:50    8    Q    And that's -- are you relying on Dr. Budoff's testimony

02:42:53    9   in that regard?

02:42:54   10    A    Yes, sir.

02:42:54   11    Q    And with that understanding, do you believe there's a

02:42:57   12   nexus between the objective indicia of non-obviousness and the

02:43:01   13   asserted claims, including the meeting of a long-felt need?

02:43:05   14    A    Most certainly ly.

02:43:07   15    Q    Do you recall did Fisher saying that no drugs have a

02:43:10   16   uniform response?

02:43:10   17    A    Yes.

02:43:11   18    Q    Do you agree with him?

02:43:13   19    A    Oh, yes.

02:43:13   20    Q    Were you also in the courtroom when Dr. Fisher testified

02:43:16   21   that to show nexus in this case, you don't need to show that

02:43:20   22   every single patient benefitted from the drug?

02:43:24   23    A    Yes.   I was here when Dr. Fisher said that.

02:43:26   24    Q    If that's the case, does it matter, for your opinions,

02:43:29   25   that some patients in MARINE saw their LDL-C levels rise?
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02:43:34    1    A      No.

02:43:35    2    Q      Or that some patients saw their apo B go up?

02:43:40    3    A      No.

02:43:40    4    Q      On average, how did patients with triglyceride levels

02:43:45    5   above a 500 respond in terms of their LDL-C?         Did the levels

02:43:50    6   go up or down?

02:43:51    7    A      On average, they went down just a little bit.       And I

02:43:54    8   would say they remained neutral.

02:43:57    9    Q      On average, how did patients with triglyceride levels

02:44:01   10   above 500 respond in terms of their apo B?        Did it go up or

02:44:06   11   down?

02:44:06   12    A      It went down.

02:44:07   13    Q      Let's turn back to PDX 6-26, your summary slide on

02:44:12   14   objective indicia relating to MARINE.        I want to discuss now

02:44:16   15   unexpected benefits.

02:44:18   16                 In your work on this case, have you reviewed any

02:44:21   17   publications expressing the view that Vascepa's ability to

02:44:25   18   lower triglycerides and avoid LDL-C increases in patients with

02:44:31   19   very high triglycerides was unexpected?

02:44:34   20    A      Yes, counsel.

02:44:34   21    Q      Let's turn to PX 833.

02:44:38   22                 What is it?

02:44:39   23    A      This is an editor's roundtable on hypertriglyceridemia,

02:44:44   24   published in the American Journal of Cardiology.

02:44:46   25    Q      And when was it published?
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02:44:52    1    A    I believe 2013.

02:44:54    2                 If we could scroll down.

02:44:58    3                 2013.

02:44:59    4    Q    And what topic did this publication concern?

02:45:02    5    A    Hypertriglyceridemia.

02:45:06    6    Q    At the top of the publication, do you see the names of

02:45:09    7   the participants are listed?

02:45:11    8    A    I do.

02:45:12    9    Q    Who were these people?

02:45:14   10    A    Dr. Vincent Friedewald, of the Friedewald Equation;

02:45:19   11   Christie Ballantyne; Harold Bays; and Peter Jones.

02:45:24   12    Q    Are they prominent, well-respected doctors?

02:45:26   13    A    They are.

02:45:27   14    Q    And did you review this article in forming your opinions

02:45:30   15   in this case?

02:45:30   16    A    I did.

02:45:32   17                     MR. ELIKAN:   We'd move for admission of

02:45:32   18   admission of PX 833.

02:45:37   19                     MR. KLEIN:    No objection.

02:45:37   20                     THE COURT:    833 is admitted.

02:45:37   21                            (Plaintiffs' Exhibit 833 received in
02:45:37                                  evidence.)
02:45:39   22                     MR. ELIKAN: Can we pull up the left-hand column

02:45:41   23   of page 6.

02:45:41   24   BY MR. ELIKAN:

02:45:42   25    Q    Do you see a statement by Mr. Harold Bays?
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02:45:45    1    A    Yes.

02:45:46    2                    MR. ELIKAN:   Can we highlight the last sentence.

02:45:46    3   BY MR. ELIKAN:

02:45:49    4    Q    What does Dr. Bays have to say there?

02:45:52    5    A    He states,

02:45:53    6                   "Two surprising results of MARINE were a

02:45:55    7         reduction in serum apo B, and failure of LDL-C to

02:46:01    8         rise."

02:46:01    9    Q    And in a subsequent response to a question posed by

02:46:05   10   Dr. Friedewald, "why were the apo B and LDL-C results a

02:46:09   11   surprise," how did Dr. Bays explain why he felt there was a

02:46:13   12   surprise?

02:46:13   13    A    He notes they were a surprise because prior studies of

02:46:17   14   EPA plus DHA showed little change in apo B.         And in patients

02:46:22   15   with very high triglycerides at baseline, EPA and DHA

02:46:27   16   increased LDL-C by as much as 45 percent.

02:46:32   17    Q    Do you recall that Dr. Heinecke testified that it was

02:46:35   18   expected that you could lower triglycerides without increasing

02:46:38   19   LDL-C?

02:46:39   20    A    Yes.

02:46:39   21    Q    I'd like to pose a similar question to the one that Dr.

02:46:43   22   Heinecke addressed, but I need you to listen carefully because

02:46:49   23   I'm going to add a clarification at the end the question.

02:46:52   24                Was it unexpected that you could lower triglycerides

02:46:56   25   without increasing LDL-C, in patients with very high
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02:47:00    1   triglycerides?

02:47:01    2    A    Absolutely.

02:47:02    3    Q    In March of 2008, was there a preparation of omega-3

02:47:11    4   fatty acids that had been approved by FDA for severe

02:47:16    5   hypertriglyceridemia?

02:47:16    6    A    Yes, counsel.

02:47:17    7    Q    And what was that?

02:47:22    8    A    That was Lovaza.

02:47:23    9    Q    In your opinion, would the person of ordinary skill in

02:47:26   10   the art have formed an expectation about the LDL-C effects in

02:47:33   11   patients with very high triglycerides based on Lovaza or based

02:47:34   12   on Mori?

02:47:35   13    A    Based on Lovaza.

02:47:38   14    Q    In your opinion, what was the closest prior art to the

02:47:42   15   claimed invention as of March 2008?

02:47:45   16    A    It would have been Lovaza.

02:47:46   17    Q    And why is that?

02:47:47   18    A    Because it, too, was an omega-3 fatty acid formulation,

02:47:51   19   and it was the only omega-3 fatty acid formulation that had

02:47:55   20   been studied in patients with severe hypertriglyceridemia or

02:47:59   21   very high triglycerides.

02:48:01   22    Q    Was it also the only omega-3 that had been approved for

02:48:06   23   treatment of severe hypertriglyceridemia, or were there

02:48:10   24   others?

02:48:10   25    A    There were no others.     It was the only approved
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02:48:13    1   formulation of omega-3s.

02:48:15    2    Q    And compared to Lovaza, would a person of ordinary skill

02:48:20    3   in the art, in March 2008, have found it unexpected that

02:48:25    4   Vascepa could avoid substantial increases in LDL-C in patients

02:48:31    5   with very high triglycerides?

02:48:33    6    A    Yes, indeed.

02:48:35    7    Q    And would you characterize the avoidance of LDL-C

02:48:41    8   increases with the claimed invention as a mere difference in

02:48:46    9   degree over Lovaza or, instead, as a difference in kind?

02:48:50   10    A    It is right down the middle a difference in kind.

02:48:53   11    Q    And why is that?

02:48:54   12    A    Because it solved the problem.      Lovaza did not solve the

02:49:00   13   problem.     Lovaza allowed for, in some cases a massive

02:49:05   14   elevation LDL cholesterol.      Vascepa neutralized the problem.

02:49:10   15                    MR. ELIKAN:   Let's turn back to PDX 6-27.         I

02:49:15   16   want to discuss "Praise."

02:49:16   17                    Can we pull up PDX 6-9.

02:49:16   18   BY MR. ELIKAN:

02:49:21   19    Q    And you'll recall earlier we discussed these references,

02:49:24   20   the Fialkow and Castaldo references?

02:49:27   21    A    Yes.

02:49:27   22    Q    In your opinion, are these references examples of praise

02:49:31   23   for Vascepa's ability to lower triglycerides in patients with

02:49:35   24   very high triglycerides without substantially increasing

02:49:39   25   LDL-C?
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02:49:40    1    A     Yes.

02:49:41    2    Q     And we discussed the O'Riordan article earlier, in which

02:49:47    3   doctors Nissen, McGuire and Bays all expressed enthusiasm for

02:49:53    4   the MARINE trial results, right?

02:49:54    5    A     Yes.

02:49:55    6    Q     Now, Dr. Heinecke disputes that this is praise for

02:49:58    7   Vascepa.      Do you agree with Dr. Heinecke?

02:50:00    8    A     No.

02:50:00    9    Q     Do you believe that the initial caveats that Dr. Nissen

02:50:05   10   expressed, eliminate his statement that Vascepa gives you all

02:50:10   11   the benefits -- all the benefit without the downside?

02:50:16   12    A     Dr. Nissen would never say that if he didn't mean it.

02:50:21   13   Yes, he meant it irrespective of the caveats.

02:50:25   14    Q     Let's turn now to apo B.

02:50:28   15                 Earlier we were looking, a couple minutes ago, at PX

02:50:32   16   833.   And I want to turn back to the statement we were looking

02:50:35   17   at.    And I want to highlight again           Dr. Bays' answer, the

02:50:42   18   first answers, "two surprising results."

02:50:49   19                 And Dr. Toth, is he also expressing surprise about

02:50:52   20   the reduction in serum apo B?

02:50:55   21    A     Yes.

02:50:55   22    Q     And did he explain in the subsequent response why

02:50:59   23   Vascepa's reduction in apo B was a surprise?

02:51:03   24    A     Because prior studies looking at EPA plus DHA showed

02:51:11   25   little change in apo B.
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02:51:13    1    Q    In your opinion, would the person of ordinary skill in

02:51:20    2   the art, in March 2008, have found it unexpected that EPA

02:51:24    3   would reduce apo B?

02:51:27    4    A    Yes.

02:51:27    5    Q    As of March 2008, did the prior art report that Lovaza

02:51:36    6   decreased apo B in patients with very high triglycerides?

02:51:41    7    A    No, counsel.

02:51:42    8                    MR. ELIKAN:   Let's turn to PX 939.

02:51:47    9                    And this is the Lovaza statistical review that

02:51:51   10   we looked at before.

02:51:52   11                    Can we pull up page 25, Figure 7.

02:51:52   12   BY MR. ELIKAN:

02:51:59   13    Q    What data is displayed in this figure?

02:52:01   14    A    Counsel, you're looking at the studies from Europe, as we

02:52:06   15   described earlier during testimony, as well as the two studies

02:52:11   16   from the United States.      In the European studies, the

02:52:16   17   triglycerides were under 500.       In the United States, the mean

02:52:23   18   was, I believe, 812.     And we are looking at box plot displays

02:52:30   19   of the data.

02:52:34   20    Q    What are box plots?

02:52:35   21    A    Box plots allow you to see all of the data in a study.

02:52:42   22   It shows you the dispersion of your patient findings.          And the

02:52:49   23   box shows you the so-called interquartile range, the patients

02:52:55   24   who fall between the 25th and 75th percentile of the results.

02:53:01   25    Q    I want to focus on what happened in the US studies.
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02:53:06    1   Those which concern patients with very high triglycerides.

02:53:09    2               Mr. Brooks, will you blow that up.

02:53:15    3               Do you these box plots on the right, that we've now

02:53:20    4   blown up, show that Lovaza decreased apo B compared to

02:53:25    5   placebo?

02:53:25    6    A    No, counsel.    What you're looking at on the Y axis is

02:53:30    7   percent change in apo B.      And the mean apo B increased between

02:53:35    8   the placebo and the Lovaza treatment arm.

02:53:40    9    Q    And how can you tell that?

02:53:42   10    A    Because you see a line with a positive slope extending

02:53:46   11   between the mean of the two groups.

02:53:50   12                   MR. ELIKAN:    Your Honor, it had been my

02:53:52   13   intention that he would show where that is using his device,

02:53:58   14   which I understand is not fully functional.

02:54:00   15                   Would it be okay for him to walk over to this

02:54:03   16   screen, perhaps, and show you?

02:54:06   17                   THE COURT:    Yes.   I didn't realize that the

02:54:08   18   device is not functional.

02:54:11   19                   THE CLERK:    As soon as they turn it on, it turns

02:54:14   20   off the television.

02:54:15   21                   THE COURT:    All right.

02:54:16   22                   Dr. Toth, would you like to show us on --

02:54:20   23                   THE WITNESS:    Sure.   Of course.

02:54:23   24                   MR. ELIKAN:    Could I turn the screen slightly so

02:54:26   25   that -- unless Your Honor can already see.        Whatever you'd
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02:54:28    1   prefer.

02:54:29    2                    THE COURT:    I can see.   And if anyone in the

02:54:31    3   courtroom would like to see and they need to move from where

02:54:34    4   they're seated, then they should feel free to do so.

02:54:38    5                    THE WITNESS:   Can you see?

02:54:38    6                    THE COURT:    Miss Clerk, is going to give you the

02:54:40    7   handheld microphone.

02:54:43    8                    THE WITNESS:   Can you see?

02:54:44    9                    THE COURT:    Yes.

02:54:45   10                    THE WITNESS:   Okay.

02:54:47   11                    So what is happening here is you're looking at

02:54:48   12   percent change in apoprotein B.       And you see that the mean

02:54:53   13   value of apoprotein B increased in the Lovaza treated group.

02:54:53   14   BY MR. ELIKAN:

02:55:00   15    Q    And can you point out the line that you mentioned with

02:55:03   16   the slope?

02:55:03   17                    THE WITNESS:   It's right here (indicating).

02:55:04   18                    THE COURT:    I'm sorry.   Let me move over.

02:55:07   19                    Could you show that again.

02:55:08   20                    MR. ELIKAN:    Could you maybe --

02:55:09   21                    THE WITNESS:   It's this line --

02:55:11   22                    MR. ELIKAN:    Dr. Toth, if you'd step over the

02:55:14   23   other side.

02:55:15   24                    THE COURT:    I think I'm just not able to see

02:55:16   25   because you were blocking the view.
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02:55:17    1                     THE WITNESS:   Yeah.   This line (indicating).

02:55:19    2   It's upward sloping.

02:55:20    3                     THE COURT:   Thank you.   That's what I thought.

02:55:22    4                     Thank you.

02:55:22    5   BY MR. ELIKAN:

02:55:40    6    Q    So, am I correct in understanding then that the K85 arm,

02:55:46    7   Lovaza, there's a reduction in apo B?

02:55:50    8    A    No.    It's an increase.   Apo B increased.

02:55:54    9    Q    I'm sorry.

02:55:56   10                 Dr. Toth, in which arm did it increase?

02:55:59   11    A    In the K85.

02:56:00   12    Q    Okay.    K85 is the --

02:56:03   13    A    Lovaza.

02:56:04   14    Q    Okay.    And in your opinion, is this difference between

02:56:25   15   Lovaza and Vascepa one of degree or one of kind?

02:56:29   16    A    One of kind.

02:56:30   17    Q    And why does apo B matter?

02:56:33   18    A    Because it, too, is a predictor of cardiovascular risk.

02:56:40   19    Q    Why?    What does it indicate?

02:56:43   20    A    It represents the total burden of what we call

02:56:47   21   atherogenic lipoprotein in serum.

02:56:52   22    Q    Do you recall that Dr. Heinecke testified that the

02:56:57   23   Vascepa results would have been expected over Kurabayashi and

02:57:05   24   Grimsgaard, which administered EPA to patients with mean

02:57:09   25   triglyceride levels below 150.
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02:57:12    1                 Do you recall that testimony?

02:57:13    2    A    I do.

02:57:13    3    Q    Do you agree with him that a person of ordinary skill in

02:57:19    4   the art would have looked to those studies in forming an

02:57:21    5   expectation of -- about the effect of EPA in persons with very

02:57:27    6   high triglycerides?

02:57:28    7    A    They could not possibly have done that.

02:57:32    8    Q    Would they have looked, instead, to approved treatments?

02:57:36    9    A    Sure.

02:57:37   10    Q    Like that?

02:57:39   11    A    Yes.

02:57:44   12    Q    Does -- I want to turn now to the REDUCE-IT trial.

02:57:52   13                 In your opinion, do the findings of REDUCE-IT give

02:57:56   14   rise to additional objective indicia of non-obviousness?

02:58:00   15    A    Oh my, yes.

02:58:02   16                     MR. ELIKAN:   Okay.   Can we have slide PDX 6-28.

02:58:02   17   BY MR. ELIKAN:

02:58:09   18    Q    In your view, was there a long-felt need for a

02:58:12   19   triglyceride- lowering agent that could lower residual

02:58:16   20   cardiovascular risk beyond the reduction and risk provided by

02:58:20   21   statins?

02:58:21   22    A    Absolutely.

02:58:22   23    Q    And why is that?

02:58:26   24    A    Because we know from studies from around the world that

02:58:31   25   elevated triglycerides increase risk for cardiovascular
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02:58:34    1   events.   We also know from some post-hoc analyses from

02:58:40    2   prospective randomized trials -- but let's take the example of

02:58:44    3   the PROVE-IT trial, that even if a patient is aggressively

02:58:47    4   treated with a statin, if their triglyceride is still high,

02:58:51    5   their risk is substantially higher than a patient who is

02:58:54    6   treated with a statin, but their triglyceride is normal.

02:58:57    7    Q    So would you still want to get the risk down a good bit

02:59:01    8   lower?

02:59:01    9    A    Oh, yes.   Always.

02:59:02   10    Q    As of March 2008, had the prior art recognized that

02:59:06   11   patients with elevated triglycerides were at increased risk of

02:59:11   12   cardiovascular disease?

02:59:13   13    A    Yes.

02:59:14   14                    MR. ELIKAN:   Can we have PX 846.

02:59:17   15                    And, Your Honor, this is a 1998 article by

02:59:20   16   Austin and co-authors, "Hypertriglyceridemia as a

02:59:26   17   Cardiovascular Risk Factor."      It's been pre-admitted.      And the

02:59:29   18   parties have stipulated to it as prior art in paragraph 79.

02:59:35   19                    THE COURT:    Thank you.

02:59:35   20   BY MR. ELIKAN:

02:59:37   21    Q    Looking at the first sentence of the body of the article,

02:59:42   22   in the left-hand column on page 1, what does this report about

02:59:46   23   the relationship between elevated triglycerides and the risk

02:59:51   24   of cardiovascular disease?

02:59:53   25    A    The paper notes elevated levels of plasma triglyceride
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02:59:58    1   have long been associated with an increased risk of

03:00:01    2   cardiovascular disease.

03:00:03    3    Q    So even in 1998, it was long -- it had long been

03:00:07    4   associated with an elevated risk of cardiovascular disease?

03:00:10    5    A    Yeah.   This would go back into the '60s.       Yes.

03:00:14    6    Q    As of March 2008, for how long had researchers been

03:00:21    7   studying whether triglyceride-lowering agents could lower

03:00:24    8   cardiovascular risk?

03:00:25    9    A    At least 30 years.

03:00:30   10    Q    To 1978?

03:00:32   11    A    Sure.

03:00:37   12    Q    In your opinion, why had the question of whether

03:00:40   13   triglyceride-lowering agents could lower cardiovascular risk

03:00:44   14   been studied for so long?

03:00:46   15    A    Because people were unable to demonstrate reductions in

03:00:52   16   risk against a statin background, with drugs that impact

03:00:58   17   triglycerides.

03:00:58   18    Q    And they still would have been interested in getting

03:01:01   19   cardiovascular risk lower?

03:01:03   20    A    Oh, they were desperate for a solution.        Yes.

03:01:07   21    Q    Prior to REDUCE-IT, had any triglyceride-lowering agent

03:01:13   22   been demonstrated to substantially reduce cardiovascular risk

03:01:18   23   over and above statin therapy?

03:01:21   24    A    No.

03:01:21   25    Q    Let's talk about some of the cardiovascular studies that
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03:01:25    1   had been done with different types of triglyceride-lowering

03:01:28    2   agents before REDUCE-IT.      I want to start with fibrates.

03:01:33    3                Prior to REDUCE-IT, had researchers studied whether

03:01:38    4   fenofibrate reduced residual risk over and above statin

03:01:42    5   therapy?

03:01:43    6    A    Yes.

03:01:43    7    Q    And with what results?

03:01:46    8    A    This was in the ACCORD trial, looking at patients with

03:01:49    9   diabetes.    And patients were on a statin background with

03:01:56   10   Simvastatin.    And half the group received fenofibrate.        The

03:01:59   11   other group received placebo.       And they were unable to

03:02:02   12   demonstrate incremental benefit with the addition of

03:02:06   13   fenofibrate on top of the statin.

03:02:08   14    Q    And before REDUCE-IT, had anyone studied whether

03:02:11   15   fenofibrate reduced cardiovascular risk in patients who

03:02:15   16   weren't on a statin therapy?

03:02:17   17    A    Yes.

03:02:18   18    Q    What trial?

03:02:19   19    A    That was the FIELD trial.      And in the FIELD trial, once

03:02:24   20   again, diabetics were treated with fenofibrate versus placebo.

03:02:29   21   And the FIELD trial failed to meet its primary composite

03:02:34   22   endpoint.

03:02:34   23    Q    I want to turn to the gemfibrozil fibrate.

03:02:38   24    A    Yes.

03:02:38   25    Q    Prior to REDUCE-IT had researchers studied whether
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                                                                                    1732



03:02:43    1   gemfibrozil would reduce residual cardiovascular risk over and

03:02:49    2   above statin therapy?

03:02:50    3    A    No, because it was deemed to be too unsafe.

03:02:53    4    Q    Let's talk about niacin.

03:02:55    5                Before REDUCE-IT, had the question of whether niacin

03:03:02    6   reduces cardiovascular risk been investigated?

03:03:08    7    A    Yes.

03:03:09    8    Q    Did any of those trials report a cardiovascular benefit?

03:03:12    9    A    They did not.    There were two.    One was called Aim High,

03:03:15   10   which looked at patients with established cardiovascular

03:03:18   11   disease.     Everyone was on a statin background.      They were

03:03:21   12   treated with niacin.

03:03:22   13                The study was discontinued because of futility;

03:03:25   14   meaning, the Data Safety Monitoring Board felt that no amount

03:03:29   15   of additional time of treatment would have led to a separation

03:03:35   16   in the survival curves for the study.        So, was shutdown.

03:03:40   17                Then HPS2THRIVE was done in high risk patients

03:03:45   18   against a statin background.      And it, too, was negative for

03:03:49   19   its primary composite endpoint.

03:03:52   20                And in fact, it was unable to demonstrate efficacy

03:03:55   21   for any individual endpoints either.        And, moreover, they

03:03:59   22   found that the addition of niacin led to heightened risk for

03:04:03   23   pulmonary and urinary tract infections, as well as increased

03:04:08   24   risk for gastrointestinal hemorrhage.

03:04:12   25    Q    Do you recall that earlier we looked at an editorial by
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03:04:16    1   Dr. Kastelein?

03:04:17    2    A    Yes.

03:04:18    3    Q    That referenced a "parade of failed cardiovascular

03:04:22    4   outcome trials of fish oils" before REDUCE-IT with omega-3

03:04:22    5   fatty acids"?

03:04:25    6    A    Yes.

03:04:26    7    Q    I want to turn now to that parade.

03:04:28    8                 Can you turn to PX 936, either in your binder or on

03:04:33    9   the screen?

03:04:33   10    A    Yes.

03:04:34   11    Q    What is it?

03:04:34   12    A    This the final report of the OMEGA trial, which was a

03:04:41   13   randomized placebo-controlled trial to test the effect of

03:04:43   14   highly purified omega-3 fatty acids on top of modern guideline

03:04:47   15   adjusted therapy after myocardial infarction, or heart attack.

03:04:52   16   And it was published in the journal Circulation.

03:04:56   17    Q    Okay.    Can you identify PX 961.

03:05:00   18    A    This is the results of the ASCEND trial, published in the

03:05:08   19   New England Journal of Medicine, entitled "Effects of omega-3

03:05:13   20   Fatty Acid Supplements in Diabetes Mellitus."

03:05:15   21                     MR. ELIKAN:   And can we have PX 948.

03:05:15   22   BY MR. ELIKAN:

03:05:18   23    Q    I'm going to ask you to identify that as well, Dr. Toth.

03:05:21   24    A    This is the report of the ORIGIN trial, published in the

03:05:25   25   New England Journal of Medicine.       Omega-3 Fatty Acids and
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03:05:29    1   Cardiovascular Outcomes in Patients with dysglycemia.

03:05:34    2    Q    PX 949, could you identify that please, Dr. Toth.

03:05:40    3    A    This is the report of the Risk and Prevention Study.          And

03:05:45    4   this, too, was published in the New England Journal of

03:05:49    5   Medicine.    And it's entitled, "Omega-3 Fatty Acids in Patients

03:05:52    6   With Multiple Cardiovascular Risk Factors."

03:05:55    7    Q    Can you identify PX 492.

03:06:02    8    A    This is another report entitled, "Omega-3 Fatty Acids and

03:06:11    9   Cardiovascular Events After Myocardial Infarction," which is

03:06:15   10   the report of the Alpha Omega trial.

03:06:18   11    Q    Published where?

03:06:19   12    A    In the New England Journal of Medicine.

03:06:22   13    Q    PX 956, what is that?

03:06:27   14    A    This is the results paper of the Su.Fol.Om3 trial,

03:06:34   15   published in the International Journal of Cardiology in 2013.

03:06:38   16   And its title is, "Cardiovascular Effects of B Vitamins and/or

03:06:43   17   omega-3 Fatty Acids."

03:06:46   18                    MR. ELIKAN:   Can we turn to PX 938.

03:06:46   19   BY MR. ELIKAN:

03:06:47   20    Q    What is that?

03:06:48   21    A    This is the DO-IT trial, "A Randomized Clinical Trial on

03:06:56   22   Omega-3 Polyunsaturated Fatty Acids Supplementation and

03:06:59   23   All-Cause Mortality in Elderly Men At High Cardiovascular

03:07:05   24   Risk."

03:07:05   25               And I -- if we could scroll up, it was -- excuse me
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03:07:10    1   -- down.     Sorry.   It was published in the European Journal of

03:07:16    2   Cardiovascular Prevention and Rehabilitation in 2010.

03:07:20    3                    MR. ELIKAN:   Can we turn to PX 930.

03:07:20    4   BY MR. ELIKAN:

03:07:27    5    Q    What is this?

03:07:28    6    A    This is the results of the AREDS2, or age-related eye

03:07:37    7   disease study.    It was published in the Journal of the

03:07:41    8   American Medical Association.       And it's entitled, "Effects of

03:07:44    9   Long-Chain Omega-3 Fatty Acids and Lutein and Zeaxanthin

03:07:47   10   Supplements on Cardiovascular Outcomes."

03:07:50   11    Q    Do all of these publications describe trials on omega-3

03:07:54   12   fatty acids that were underway as of March 2008?

03:07:58   13    A    Yes.

03:07:58   14    Q    And is that reflected in information in these

03:08:01   15   publications about the study design, and the timing of patient

03:08:05   16   enrollment?

03:08:06   17    A    Yes.

03:08:07   18    Q    Did you consider all of these publications in your work

03:08:09   19   in this case?

03:08:10   20    A    Yes.

03:08:12   21                    MR. ELIKAN:   Your Honor, we move to admit PX

03:08:15   22   936, 961, 948, 949, 492, 956, 938 and 930.

03:08:29   23                    MR. KLEIN:    No objections.

03:08:29   24   BY MR. ELIKAN:

03:08:31   25    Q    Have you prepared a summary slide with pertinent
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03:08:34    1   information from each of these documents?

03:08:37    2    A    Yes.   We have a summary slide.

03:08:40    3                    MR. ELIKAN:   Can we have PDX 639, please.

03:08:44    4                    THE CLERK:    Your Honor, have you ruled

03:08:46    5   evidentiary on the admission of these?

03:08:47    6                    THE COURT:    The motion is granted since there's

03:08:49    7   no objection.

03:08:49    8                    THE CLERK:    Thank you.

03:08:15    9                           (Plaintiffs' Exhibits 936, 961, 948, 949,
03:08:21                                 492, 956, 938 and 930 received in
03:08:21   10                            evidence.)

03:08:21   11   BY MR. ELIKAN:

03:08:54   12    Q    By referring to the titles at the top of each column can

03:08:57   13   you explain what information you have on this slide in each

03:09:02   14   column.

03:09:03   15    A    Yes.   We have eight prospective randomized clinical

03:09:10   16   trials involving various formulations of EPA and DHA.

03:09:14   17    Q    And you're looking OM3 study publication column?

03:09:18   18    A    Yes the acronym appears with the date -- the year of

03:09:23   19   publication.

03:09:24   20                In the second column is the date of initiation of

03:09:28   21   trial, and these varied from 1997 to 2006.

03:09:32   22                Then you have the omega-3 formulation studied in

03:09:36   23   terms of dose and the variation in the ratio of EPA, DHA study

03:09:42   24   to study to study.

03:09:44   25                You see in the fourth column primary endpoint, none
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03:09:47    1   the trials were able to achieve statistical significance for

03:09:52    2   their primary composite endpoint.

03:09:55    3                  Then in the final column in the most rightward

03:09:58    4   column is percentage of patients on statins.

03:10:10    5    Q      Now, the demonstrative identifies the omega-3

03:10:14    6   formulations studied in these different outcome trials right?

03:10:19    7    A      Yes.

03:10:20    8    Q      In general terms what did these treatments consist of

03:10:23    9   this terms of composition and dose.       Are they all EPA and DHA

03:10:28   10   or are there also other things in there?

03:10:30   11    A      There are.   Every one of these studies used a different

03:10:34   12   dose and formulation.      So the dose is very -- anywhere from

03:10:38   13   400 milligrams to 2.4 grams.      But you'll also notice

03:10:42   14   significant variability in the ratio of EPA to DHA.

03:10:47   15    Q      We'll get to that in a moment.    You had mentioned another

03:10:52   16   omega-3 fatty acid about hour ago, an hour-and-a-half ago.

03:10:55   17    A      Yes.

03:10:55   18    Q      Might have been a little bit less.     Is that listed here.

03:11:00   19    A      Yes, ALA which is Alpha-linolenic acid.

03:11:06   20    Q      And aside from that one formulation do the others all

03:11:10   21   have substantial amounts of both EPA and DHA?

03:11:15   22    A      Yes.   Variably so, but, yes.

03:11:18   23    Q      I want to look at some of these examples of the

03:11:20   24   formulations that were in these studies underway as of March

03:11:25   25   2008.
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03:11:28    1                What were the relative amounts of EPA and DHA in the

03:11:31    2   formulation studied in the 400-milligram formulation in the

03:11:37    3   Alpha Omega trial?

03:11:38    4    A      It was comprised of 226 milligrams of EPA plus

03:11:43    5   150 milligrams of DHA versus two grams of Alpha-linolenic acid

03:11:50    6   versus EPA-DHA at 400 milligrams plus Alpha-linolenic acid at

03:11:58    7   2 grams combined.

03:11:58    8    Q      And what were the relative amounts of EPA and DHA studied

03:12:03    9   in the SUE FALL OM 3 study, five down?

03:12:09   10    A      It was a 2-to-1 ratio between EPA and DHA at

03:12:14   11   600 milligrams daily versus folic acid plus B vitamins 6 and

03:12:20   12   12.

03:12:20   13    Q      What were the relative amounts of EPA and DHA in the

03:12:24   14   omega 3 intervention studied in R and P?

03:12:29   15    A      It was one gram of EPA-DHA with the ratio ranging from

03:12:34   16   .9-to-1 to 1.5-to-1.

03:12:37   17    Q      On your chart you have R and P.     Is that the same or

03:12:42   18   different from risk and prevention which you mentioned a few

03:12:47   19   minutes ago?

03:12:48   20    A      That's the same.

03:12:51   21    Q      Does this demonstrative indicate that there were only

03:12:54   22   three options, pure EPA, pure DHA and one mixture contained in

03:13:00   23   both?

03:13:00   24    A      No, people were struggling to find a formulation that

03:13:05   25   worked.    They were varying the amount of EPA to DHA, that
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03:13:10    1   ratio.   They were varying the total dosage daily.        People were

03:13:15    2   trying to find their way in the dark.

03:13:17    3    Q    To find a better cardiovascular risk reducing agent?

03:13:22    4    A    Yes.

03:13:24    5                    MR. ELIKAN:   Your Honor, we move for admission

03:13:29    6   of PDX 6-29 under Federal Rule of Evidence 10006.

03:13:31    7                    MR. KLEIN:    No objection.

03:13:32    8                    THE COURT:    PDX 6-29 is admitted.

03:13:32    9                           (Plaintiffs' Exhibit 6-29 received in
03:13:32                                 evidence.)
03:13:32   10   BY MR. ELIKAN:

03:13:38   11    Q    Now, each of these results were published after March of

03:13:42   12   2008, right?

03:13:43   13    A    Yes.

03:13:45   14    Q    Did literature published before March of 2008 assess the

03:13:50   15   question of whether omega-3 fatty acids demonstrate

03:13:55   16   cardiovascular benefits?

03:13:56   17    A    Yes.

03:13:57   18                    MR. ELIKAN:   Can we turn to PX 848.

03:14:02   19                    And, Your Honor, this has been pre-admitted.

03:14:05   20   It's an article by Dr. Hooper and others, "Risks and Benefits

03:14:09   21   of Omega-3 Fats For Mortality, Cardiovascular Disease and

03:14:15   22   Cancer, Systematic Review," and the parties have stipulated

03:14:19   23   that it's prior art.     It's in paragraph 80.

03:14:23   24                    THE COURT:    Thank you.

03:14:25   25                    MR. ELIKAN:   Can we pull up in the top of the
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03:14:28    1   page and blow it up.

03:14:28    2   BY MR. ELIKAN:

03:14:31    3    Q    When was this article published?

03:14:34    4    A    This article was published in the British Medical Journal

03:14:39    5   in March of 2006.

03:14:40    6    Q    So that's just two years before the priority date?

03:14:44    7    A    Yes.

03:14:44    8    Q    And very briefly and in general terms what did this

03:14:47    9   publication concern?

03:14:49   10    A    This is "A Systematic Review on the Risks and Benefits of

03:14:56   11   Omega-3 Fats For Mortality, Cardiovascular Disease, and

03:15:00   12   Cancer."

03:15:00   13    Q    Are you reading from the objective field?

03:15:05   14    A    I read from the title.     But I can read from the objective

03:15:08   15   field.

03:15:08   16    Q    What did the authors state is their objective?

03:15:12   17    A               "To review systematically the evidence for an

03:15:14   18         effect of long chain and shorter chain omega-3 fatty

03:15:18   19         acids on total mortality, cardiovascular events, and

03:15:22   20         cancer."

03:15:22   21                     MR. ELIKAN:   Can we turn to the results section

03:15:25   22   in the left-hand column of the first page and highlight the

03:15:29   23   first sentence.

03:15:29   24   BY MR. ELIKAN:

03:15:31   25    Q    How many studies did the authors say they reviewed for
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03:15:35    1   their analysis?

03:15:37    2    A    Well, they did a comprehensive literature search and

03:15:45    3   identified 15,159 potential studies to include.         But based on

03:15:54    4   their inclusion criteria, they whittled it down to 48

03:15:59    5   randomized controlled trials including, 36,913 persons and 41

03:16:04    6   cohort studies.

03:16:05    7    Q    What's a cohort study?

03:16:06    8    A    A cohort study is a study like the Framingham study in

03:16:11    9   Massachusetts where you identify a group of people and then

03:16:15   10   you follow them out over time and you investigate various

03:16:19   11   issues relevant to health and see how certain features,

03:16:25   12   demographic features, physiologic features et cetera impact

03:16:30   13   risk for specific diseases.

03:16:31   14    Q    And how far back in time did some of these 89 trials go?

03:16:36   15    A    To 1966.

03:16:41   16    Q    In the second sentence of this results paragraph, what

03:16:44   17   did the authors report about the findings of these trials?

03:16:48   18    A    That they were inconsistent.

03:16:50   19    Q    And then in the following three sentences, what overall

03:16:54   20   observation did the authors draw about the trials on the

03:16:58   21   whole?

03:16:59   22    A    They say,

03:17:00   23                    "The pooled estimate showed no strong

03:17:03   24         evidence of reduced risk of total mortality or

03:17:07   25         combined cardiovascular events in participants taking
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03:17:11    1         additional omega-3 fats.      The few studies at low risk

03:17:16    2         of bias were more consistent but they showed no

03:17:19    3         effect of omega-3 total mortality or cardiovascular

03:17:24    4         events."

03:17:24    5    Q    And what in a nutshell does all that mean?

03:17:27    6    A    That omega-3s were not found to be beneficial or helpful

03:17:32    7   in terms of reducing your risk of dying, of sustaining

03:17:35    8   cardiovascular events or of developing cancer.

03:17:39    9    Q    Let's look at the conclusion field below.        What do the

03:17:43   10   authors announce as their conclusion?

03:17:45   11    A    That long chain and shorter chain omega-3 fats do not

03:17:49   12   have a clear effect on total mortality, combined

03:17:52   13   cardiovascular events, or cancer.

03:17:55   14    Q    The results section that we looked at before, said that

03:18:05   15   studies on cardiovascular benefit had shown inconsistent

03:18:10   16   results?

03:18:11   17    A    Yes.

03:18:11   18    Q    Before REDUCE-IT were there any studies that reported a

03:18:15   19   possible cardiovascular benefit?

03:18:17   20    A    Yes.

03:18:18   21    Q    Had any of the trials that reported positive outcomes

03:18:23   22   studied mixtures of EPA and DHA?

03:18:28   23    A    Yes.

03:18:29   24    Q    Which one?

03:18:29   25    A    It would have been just E 3.
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03:18:33    1    Q    And did those cardiovascular outcome trials that did

03:18:36    2   report in reductions in cardiovascular events lead the medical

03:18:40    3   community generally to conclude that omega-3 fatty acids were

03:18:45    4   in fact effective to reduce cardiovascular risk?

03:18:49    5    A    It did not induce a shift in practice, no.

03:18:53    6    Q    Do you recall that Dr. Heinecke testified that in light

03:18:59    7   of JELIS, there was no unmet need for triglyceride lowering

03:19:03    8   agent that reduced cardiovascular risk?

03:19:05    9    A    Do I agree with that?

03:19:07   10    Q    No, I'm asking whether you recall that?

03:19:10   11    A    Yes, I do.

03:19:10   12    Q    Was the JELIS study widely embraced by the medical

03:19:15   13   community as establishing that Epadel was effective to reduce

03:19:21   14   cardiovascular events either alone or on top of statin

03:19:25   15   therapy?

03:19:25   16    A    No, and it did not get approved for that indication here

03:19:29   17   in the United States based on JELIS.

03:19:31   18    Q    Let's discuss JELIS.     Very briefly what did JELIS study?

03:19:36   19    A    JELIS studied Japanese patients who some did not have

03:19:42   20   established cardiovascular disease, they were primary

03:19:46   21   prevention and then there were patients who had established

03:19:49   22   cardiovascular disease and they were in the secondary

03:19:52   23   prevention group.

03:19:54   24               The patients were on very low doses of statins and

03:19:58   25   they were randomized to receive either EPA or placebo and then
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03:20:05    1   followed for just under five years.

03:20:07    2    Q    Let's turn to DX 1553.     And this is the 2007 Yokoyama

03:20:18    3   article which has been pre-admitted.

03:20:21    4                Looking at the tile what the patient group that was

03:20:24    5   studied?

03:20:25    6    A    What was the patient group that was studied?

03:20:27    7    Q    What type of patients?

03:20:29    8    A    As I said both primary and secondary prevention.

03:20:33    9    Q    I'm looking at the title I see a long word

03:20:36   10   hypercholesterolemic.

03:20:39   11    A    I see.   I see what you mean.

03:20:40   12    Q    What are hypercholesterolemic patients?

03:20:45   13    A    I'm sorry, counsel.     Hypercholesterolemic patients have

03:20:45   14   high levels of cholesterol and typically high LDL.

03:20:51   15    Q    Now, could we pull up the methods paragraph.

03:20:54   16    A    Yes.

03:20:54   17    Q    And I want to highlight the second sentence.

03:20:57   18                What did Yokoyama state about what pharmaceutical

03:21:01   19   treatments the patients received?

03:21:03   20    A    They were randomly assigned to receive either 1.8 grams

03:21:08   21   of EPA daily with a statin or a statin only.         And they were

03:21:12   22   about evenly divided at 9300 patients per group with just

03:21:17   23   under a five-year follow up.

03:21:19   24    Q    I want to go to page 3 and zoom in on Table 1.         Do you

03:21:23   25   see the table reports mean serum lipid values including
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03:21:28    1   triglyceride levels for the population studied?

03:21:31    2    A    Yes.

03:21:31    3    Q    And are these reported in millimoles per liter?

03:21:37    4    A    Well, the Lancet is a British journal so it's in

03:21:42    5   millimoles per liter.

03:21:43    6    Q    Do you have a slide that converts the millimoles per

03:21:47    7   liter reported in Yokoyama into the milligrams per deciliter

03:21:52    8   unit of measurement we've been discussing?

03:21:52    9    A    Yes, counsel.

03:21:53   10                    MR. ELIKAN:   Can we have PDX 630.

03:21:53   11   BY MR. ELIKAN:

03:21:57   12    Q    So converted to milligrams per deciliter, what was the

03:22:01   13   mean triglyceride level of the population administered EPA in

03:22:06   14   JELIS?

03:22:06   15    A    153 milligrams per deciliter.

03:22:13   16    Q    Was this a study population with severe

03:22:17   17   hypertriglyceridemia?

03:22:17   18    A    No.

03:22:18   19    Q    How would you characterize the mean level of 153?

03:22:25   20    A    A mean level of 153 is just over normal.        ATP III defined

03:22:30   21   normal as less than or equal to 150.

03:22:34   22    Q    Converted from millimoles to milligrams per deciliter,

03:22:37   23   what were the baseline LDL-C levels of patients receiving EPA

03:22:46   24   in JELIS?

03:22:46   25    A    It was remarkably high at 181 milligrams per deciliter.
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03:22:50    1    Q    I want to look the summary section on page 1.         In the

03:22:56    2   first sentence of the paragraph labeled findings, what result

03:23:01    3   did Yokoyama report with respect to the primary endpoint?

03:23:06    4    A    A 19 percent relative reduction of major coronary events.

03:23:10    5    Q    Have you reviewed subsequent publications that indicate

03:23:14    6   that the JELIS trial did not establish that EPA reduced

03:23:18    7   cardiovascular risk?

03:23:19    8    A    Yes.

03:23:20    9    Q    Let's turn to PX 953.     Can you identify that?

03:23:25   10    A    Yes.   This is a Cochrane analysis of the impact of

03:23:33   11   omega-3 fatty acids for the primary and secondary prevention

03:23:36   12   of cardiovascular disease.

03:23:39   13    Q    What's Cochrane?

03:23:40   14    A    Well, that is a very, very respected group of

03:23:46   15   investigators in England who perform meta analyses on a broad

03:23:53   16   range of health related issues.

03:23:54   17    Q    Is this a meta analysis?

03:23:57   18    A    This is.

03:24:00   19    Q    And did you review it in this case?

03:24:03   20    A    Yes counsel.

03:24:04   21                    MR. ELIKAN:   We move for admission PX 953.

03:24:07   22                    MR. KLEIN:    To objection.

03:24:08   23                    THE COURT:    953 is admitted.

03:24:08   24                            (Plaintiffs' Exhibit 953 received in
03:24:08                                  evidence.)
03:24:08   25
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03:24:08    1   BY MR. ELIKAN:

03:24:12    2    Q    Please turn to page 66.     I want to look at the right-hand

03:24:15    3   column and the section implications for practice.

03:24:20    4                In the first sentence of the third paragraph, what

03:24:24    5   do the authors of the publication generally conclude about the

03:24:29    6   efficacy of omega-3 fats for preventing or treating

03:24:34    7   cardiovascular disease?

03:24:35    8    A    "That supplemental long chain omega-3 fats are probably

03:24:41    9   not useful for preventing or treating cardiovascular disease

03:24:44   10   although long chain omega-3 fats can help to reduce serum

03:24:48   11   triglycerides and raise HDL a little."

03:24:52   12    Q    This talks about omega-3 fats.      Is that the same thing as

03:24:56   13   the omega-3 fatty acids we've been discussing?

03:24:59   14    A    Yes.

03:25:02   15    Q    Did the authors of this publication qualify their

03:25:06   16   statement and say they believed high purity EPA was an

03:25:10   17   exception to the overall assessment of probably not useful?

03:25:14   18    A    They don't.

03:25:15   19                    MR. ELIKAN:   Let's turn to page 33 and I want to

03:25:19   20   look in the left hand column.       Can we highlight the third

03:25:23   21   sentence.

03:25:23   22   BY MR. ELIKAN:

03:25:26   23    Q    What does this indicate about whether the meta-analysis

03:25:29   24   included the JELIS trial?

03:25:32   25    A    Well, it shows that it included the JELIS trial.
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03:25:37    1    Q    Did the included studies here, do they include REDUCE-IT?

03:25:43    2    A    No.

03:25:43    3    Q    Was the meta-analysis that we're looking at published

03:25:48    4   before or after the REDUCE-IT results were announced?

03:25:52    5    A    Before.

03:25:53    6                    MR. ELIKAN:   Let's turn to PX 954.

03:25:53    7   BY MR. ELIKAN:

03:26:02    8    Q    What is this?

03:26:03    9    A    This is another meta-analysis by Aung and co workers

03:26:11   10   published in the fall of 2018 in JAMA cardiology and it's

03:26:11   11   entitled, "Associations of Omega-3 Fatty Acid Supplement Use

03:26:12   12   With Cardiovascular Disease Risks Meta-Analysis of 10 Trials

03:26:17   13   Involving 77,917 Individuals."

03:26:21   14                    MR. ELIKAN:   We move for admission of PX 954.

03:26:24   15                    MR. KLEIN:    No objection.

03:26:25   16                    THE COURT:    954 is admitted.

03:26:25   17                           (Plaintiffs' Exhibit 954 received in
03:26:25                                 evidence.)
03:26:29   18                    MR. ELIKAN: Can we have the conclusions and

03:26:31   19   relevance paragraph from page 1 on the screen.

03:26:31   20   BY MR. ELIKAN:

03:26:37   21    Q    What did the authors report in their conclusions and

03:26:40   22   relevance section?

03:26:42   23    A    They conclude,

03:26:43   24                   "This meta-analysis demonstrated that omega-3

03:26:47   25         fatty acids had no significant association with fatal
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03:26:49    1         or nonfatal coronary heart disease or any major

03:26:54    2         vascular events.    It provides no support for current

03:26:58    3         recommendations for the use of such supplements in

03:27:01    4         people with a history of coronary heart disease."

03:27:05    5    Q    Did the authors somewhere qualify this statement and say

03:27:10    6   they believed EPA was effective in preventing or treating

03:27:15    7   cardiovascular disease?

03:27:17    8    A    No, counsel.

03:27:18    9                     MR. ELIKAN:   Let's go to page 3.    And I want to

03:27:20   10   pull up the table titled Characteristics of Included Trials.

03:27:20   11   BY MR. ELIKAN:

03:27:27   12    Q    And looking at this list, does it include the JELIS

03:27:30   13   trial?

03:27:30   14    A    It does.

03:27:39   15    Q    Did the Yokoyama paper identify how the primary endpoint

03:27:44   16   was defined?

03:27:45   17    A    Yes.

03:27:46   18                     MR. ELIKAN:   Let's go back to DX 1553, and I

03:27:51   19   want to pull up the second to last paragraph in the left-hand

03:27:54   20   column on the second page.

03:27:54   21   BY MR. ELIKAN:

03:27:59   22    Q    How did the JELIS trial define the primary endpoint?

03:28:02   23    A    The primary endpoint was,

03:28:04   24                    "Any major coronary event including sudden

03:28:07   25         cardiac death, fatal and nonfatal myocardial
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03:28:12    1         infarction and other nonfatal events including

03:28:14    2         unstable angina pectoris, angioplasty, stenting, or

03:28:21    3         coronary artery bypass grafting."

03:28:24    4    Q    Does the data in Yokoyama indicate that the overall

03:28:28    5   19 percent risk reduction was driven by any particular

03:28:32    6   component of the primary endpoint?

03:28:34    7    A    Yes.

03:28:34    8    Q    Which one?

03:28:35    9    A    Unstable angina pectoris.

03:28:39   10                     MR. ELIKAN:   Let's look at that.    Can we have

03:28:42   11   Figure 3 on page 5.

03:28:42   12   BY MR. ELIKAN:

03:28:43   13    Q    What's represented in Figure 3, generally?

03:28:46   14    A    Figure 3, like we saw with the REDUCE-IT trial, is

03:28:51   15   showing you graphically how individual endpoints, including

03:28:58   16   the primary composite endpoint fared in terms of statistical

03:28:58   17   significance.

03:29:05   18                 They're showing you the number of events in both the

03:29:07   19   control and EPA group.      The P value for significance, the

03:29:11   20   hazard ratio and then the graph shows you how wide the

03:29:16   21   confidence intervals are and where the individual endpoint

03:29:21   22   wound up relative to unity.

03:29:24   23    Q    And what do you mean by unity?

03:29:26   24    A    Okay.    That's the vertical line.     That's the number 1.

03:29:33   25   If a point falls right on 1, it means it was neither harmful
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03:29:38    1   nor beneficial.

03:29:38    2                 If it's to the left of that vertical line, it

03:29:42    3   implies something that is beneficial as long as the horizontal

03:29:48    4   line doesn't cross 1, and then if it's to the right of unity

03:29:52    5   that means it's harmful.

03:29:54    6    Q    Do you see at the top there's reference to major coronary

03:29:58    7   events?

03:29:58    8    A    I do.

03:29:58    9    Q    Was that the primary endpoint?

03:30:01   10    A    Yes.

03:30:01   11    Q    And to the right of that listing, for major coronary

03:30:06   12   events, what information is displayed here?

03:30:08   13    A    You see the number of people who sustained a major

03:30:12   14   coronary event on the EPA treatment arm which is 262.          The

03:30:16   15   number who sustained an event in the control arm, which was

03:30:21   16   placebo, at 324.     The P value of .01 which is significant and

03:30:28   17   then the hazard ratio of .81.

03:30:31   18    Q    And what does that mean in terms of relative risk

03:30:33   19   reduction?

03:30:34   20    A    That means a 19 percent relative risk reduction.

03:30:38   21    Q    And you do you see under the label major coronary events

03:30:42   22   there's a line for items of account?

03:30:44   23    A    Yes.

03:30:44   24    Q    And then five different categories are indented?

03:30:48   25    A    Yes.
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03:30:48    1    Q    And what do those five categories underneath items of

03:30:55    2   account, how are those related to items of account?

03:30:59    3    A    Well, sudden cardiac death is where you would --

03:31:03    4    Q    I'm sorry, I'm not asking what they are, but what's the

03:31:05    5   relationship, if any between those five items and the heading

03:31:10    6   items of account?

03:31:11    7    A    Well, they are the individual constituents of the primary

03:31:17    8   composite endpoint.

03:31:20    9    Q    And looking at this figure, what, if anything does this

03:31:25   10   data show about the role of unstable angina as a driver of the

03:31:30   11   overall 19 percent risk reduction for major coronary events?

03:31:35   12    A    Well, it was the only component of the five constituents

03:31:40   13   that was statistically significant.

03:31:48   14    Q    Is unstable angina more or less subjective than other

03:31:53   15   endpoints like heart attack, stroke, cardiovascular death?

03:31:58   16    A    It's more subjective.

03:32:00   17    Q    Do you recall that Dr. Fisher testified that JELIS was an

03:32:05   18   open label study?

03:32:07   19    A    Yes.

03:32:07   20    Q    Do you agree with him?

03:32:09   21    A    Do you agree that it was open label study, yes.

03:32:13   22    Q    Would it have been of concern in an open label study --

03:32:18   23   maybe before going further, what's an open label study?

03:32:21   24    A    Open label is where both the investigator and the

03:32:23   25   participant in the trial know which arm that they've been
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03:32:28    1   assigned to.      It's unblinded.

03:32:30    2    Q      Would it have been of concern that in an open label study

03:32:34    3   all the more objective components of the primary endpoint

03:32:39    4   don't show statistically significant outcome difference while

03:32:44    5   the more subjective endpoint did?

03:32:47    6    A      Yes, that's concerning.

03:32:48    7    Q      And why is that?

03:32:50    8    A      Because if a study is not blinded, that does introduce

03:32:57    9   bias.    And unstable angina is the most subjective because you

03:33:02   10   don't have a lot of objective features, objective measures to

03:33:07   11   tell you, oh, this patient has unstable angina.         They may come

03:33:12   12   in with chest pain but the chest pain isn't necessarily

03:33:15   13   attributable to heart pain or angina.        It could be lots of

03:33:20   14   things.    And it's up to the physician evaluating the patient

03:33:24   15   as to whether or not they're going to diagnose unstable

03:33:27   16   angina.

03:33:28   17                  But if you know that they are or are not on therapy,

03:33:31   18   that could influence your decision to call it one way or the

03:33:34   19   other.

03:33:34   20    Q      Would a person of ordinary skill in the art as of March

03:33:39   21   2008 reviewing the data in Yokoyama, have concluded that bias

03:33:44   22   may have played a role?

03:33:46   23    A      Yes.   It's been estimated that when you have an unblinded

03:33:50   24   study, you can actually inflate the benefit by up to

03:33:55   25   17 percent.
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03:33:58    1    Q    I want to turn back to PX 272 -- I'm sorry, Your Honor.

03:34:02    2                   THE COURT:    I'm trying to find a good time to

03:34:04    3   break because we're past 3:30.       But I don't want to interrupt

03:34:08    4   your flow because I know you wanted to go back to the prior

03:34:11    5   document.

03:34:14    6                   MR. ELIKAN:    Your Honor, I'm happy to stop now,

03:34:16    7   if that's your preference.      I'm going to otherwise be going

03:34:20    8   for a good bit before I'm finished with this piece.

03:34:23    9                   THE COURT:    Then why don't take a break for

03:34:26   10   today.   I have a lot of people waiting for me, and I don't

03:34:28   11   want keep them waiting.

03:34:30   12                   I do have one curiosity question.       And I realize

03:34:33   13   that this is not -- that it may not be relevant and it doesn't

03:34:37   14   appear to be in dispute because none of the experts have

03:34:41   15   pointed this out but I've heard extensive testimony about

03:34:45   16   available therapy before Vascepa including niacin, and one of

03:34:51   17   the adverse effects of niacin is this flushing effect, but I

03:34:55   18   thought that that's been resolved through the no flush niacin,

03:34:58   19   but perhaps one the experts can satisfied my curiosity when we

03:35:03   20   resume tomorrow.

03:35:04   21                   MR. ELIKAN:    That's fine or perhaps Dr. Toth

03:35:07   22   could allay your curiosity right now if it's okay with you.

03:35:11   23                   THE WITNESS:    I could do it very quickly.

03:35:13   24                   THE COURT:    Yes.

03:35:13   25                   THE WITNESS:    The no flush niacin did not solve
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03:35:16    1   that issue, it merely substituted what we call NAD or

03:35:16    2   nicotinamide adenine dinucleotide which is related to niacin,

03:35:27    3   it can be converted to niacin, but the problem is it wound up

03:35:29    4   having a lot of liver toxicity so it really never took off.

03:35:33    5                   THE COURT:    Thank you.    That explains it.

03:35:36    6                   Thank you.    We'll resume tomorrow.

            7                                    -o0o-

            8

            9              I certify that the foregoing is a correct
                           transcript from the record of proceedings
           10              in the above-entitled matter.

           11              /s/Kathryn M. French           2/3/2020
                            Kathryn M. French, CCR #392, RPR
           12               Official Reporter

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